                                                  Filed 02/07/2022
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22         Supreme
                                                                Page  1 of Court
                                                                           228 Middle District
                                                                                 7 MM 2022

                                                       Filed 02/07/2022 Commonwealth Court

           IN THE COMMONWEALTH COURT OF PENNSYLVANIA


Carol Ann Carter, Monica Parrilla,       :             CASES CONSOLIDATED
Rebecca Poyourow, William Tung,          :
Roseanne Milazzo, Burt Siegel,           :
Susan Cassanelli, Lee Cassanelli,        :
Lynn Wachman, Michael Guttman,           :
Maya Fonkeu, Brady Hill, Mary Ellen      :
Balchunis, Tom DeWall,                   :
Stephanie McNulty and Janet Temin,       :
                   Petitioners           :
                                         :
                   v.                    :             No. 464 M.D. 2021
                                         :
Leigh M. Chapman, in her official        :
capacity as the Acting Secretary of the :
Commonwealth of Pennsylvania;            :
Jessica Mathis, in her official capacity :
as Director for the Pennsylvania Bureau :
of Election Services and Notaries,       :
                    Respondents          :


Philip T. Gressman; Ron Y. Donagi;       :
Kristopher R. Tapp; Pamela Gorkin;       :
David P. Marsh; James L. Rosenberger;    :
Amy Myers; Eugene Boman;                 :
Gary Gordon; Liz McMahon;                :
Timothy G. Feeman; and Garth Isaak,      :
                   Petitioners           :
                                         :
                    v.                   :             No. 465 M.D. 2021
                                         :
Leigh M. Chapman, in her official        :
capacity as the Acting Secretary of the :
Commonwealth of Pennsylvania;            :
Jessica Mathis, in her official capacity :
as Director for the Pennsylvania Bureau :
of Election Services and Notaries,       :
                     Respondents         :
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 2 of 228




   REPORT CONTAINING PROPOSED FINDINGS OF FACT AND
  CONCLUSIONS OF LAW SUPPORTING RECOMMENDATION OF
CONGRESSIONAL REDISTRICTING PLAN AND PROPOSED REVISION
       TO THE 2022 ELECTION CALENDAR/SCHEDULE

                       By Judge Patricia A. McCullough
                     Commonwealth Court of Pennsylvania

                            Filed: February 7, 2022

I.     INTRODUCTION

II.    PROCEDURAL HISTORY

III.   THE CONTROLLING CONSTITUTIONAL AND LEGAL PRINCIPLES
       A. Brief History
       B. State Constitutional Principles
           1. LWV (Free and Equal Elections Clause)
           2. Mellow (one person, one vote; VRA)
       C. Other Considerations
           1. VRA
           2. Deference to Legislature

IV.     COMMONWEALTH                COURT           PROCEEDINGS          AND
        RECOMMENDED FINDINGS OF FACT AND CONCLUSIONS OF
        LAW
        A. The Plans Presented by the Parties and Amicus Participants.
           1. Carter Petitioners’ Map
           2. Gressman Petitioners’ Map
           3. Governor Wolf’s Map
           4. Republican Legislative Intervenors’ Map (House and Senate)
           5. Senate Democratic Caucus Intervenors’ Maps
              a. Costa et al.’s Maps
                   i. Senate Map 1
                  ii. Senate Map 2
              b. House Democratic Caucus Intervenor McClinton’s Map
Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 3 of 228




   6. Congressional Intervenors’ Maps
       a. Reschenthaler 1
       b. Reschenthaler 2
   7. Voters of the Commonwealth’s Map
   8. Draw the Lines PA’s Map
   9. Khalif Ali et al.’s Map
   10. Citizen Voters’ Map
B. Evidentiary Hearing
   1. Procedure
   2. Objections
C. Expert Reports and Testimony
   1. Johnathan Rodden, Ph.D. (Carter Ps)
   2. Professor Daryl DeFord (Gressman Petitioners)
   3. Dr. Moon Duchin (Gov. Wolf)
   4. Michael Barber, Ph.D. (Cutler & Benninghoff)
   5. Dr. Keith Naughton (Congressional Intervenors)
   6. Dr. Devin Caughey & Michael Lamb (Senate Dem. Caucus
       Intervenors)
   7. John M. Memmi, Ph.D. (Corman & Ward)
   8. Thomas L. Brunell (Congressional Intervenors)
   9. Sarah Andre (Khalif Ali et al.)
   10. Sean Trende (Voters of the Commonwealth)
   11. Justin Villere (Draw the Lines PA)
D. Evidentiary Objections
E. Parties and Amicus Participants’ Arguments
   1. Carter Petitioners
   2. Gressman Petitioners
   3. Governor Wolf
   4. Republican Legislative Intervenors (Senate and House Leaders)
       a. Senate Republican Intervenors (Corman & Ward)
       b. House Republican Intervenors (Cutler & Benninghoff)
   5. Congressional Intervenors
   6. House Democratic Caucus Intervenor (McClinton)
   7. Senate Democratic Caucus Intervenors (Costa et al.)
   8. Khalif Ali et al.
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 4 of 228




          9. Voters of the Commonwealth
          10. Draw the Lines PA
          11. Citizen Voters

V.   ANALYSIS AND FINDNGS OF FACT AND CONCLUSIONS OF LAW
      A. Traditional Neutral Criteria
          1. Contiguity
          2. Population Equality
          3. Comparison of Remaining Maps
          4. Political Subdivision Splits
              a. Carter Plan
              b. Gressman Plan
              c. Governor’s Plan
              d. HB 2146
              e. Senate Democratic Caucus Plan 1
              f. Senate Democratic Caucus Plan 2
              g. House Democratic Caucus Plan
              h. Reschenthaler 1 Plan
              i. Reschenthaler 2 Plan
              j. Draw the Lines PA Plan
              k. Ali Plan
              l. Citizen Voters Plan
              m. Voters of PA Plan
              n. Summary
           5. Compactness
           6. Splitting of Pittsburgh into Two Congressional Districts
           7. Communities of Interest

       B. Extra-Constitutional Considerations
          1. Partisan Fairness
             a. Political Geography
             b. Simulations
             c. Mean-median scores
                         i. Carter
                        ii. Gressman
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 5 of 228




                        iii. Governor’s
                         iv. HB 2146
                          v. Senate Democratic Caucus Plan 1
                         vi. Senate Democratic Caucus Plan 2
                        vii. House Democratic Caucus Plan
                       viii. Reschenthaler 1 Plan
                         ix. Reschenthaler 2 Plan
                          x. Draw the Lines PA
                         xi. Ali Plan
                        xii. Citizen Voters Plan
                       xiii. Voters of PA Plan
           2. Efficiency Gap
              a. Carter Plan
              b. Gressman Plan
              c. Governor’s Plan
              d. HB 2146
              e. Senate Democratic Caucus Plan 1
              f. Senate Democratic Caucus Plan 2
              g. House Democratic Caucus Plan
              h. Reschenthaler 1 Plan
              i. Reschenthaler 2 Plan
              j. Draw the Lines PA Plan
              k. Ali Plan
              l. Citizen Voters Plan
              o. Voters of PA Plan
           3. Other Considerations in Evaluating Partisan Fairness
              a. Proportionality Is Not a Requirement or Goal of Redistricting
              b. Protection of Incumbents
              c. VRA Concerns
              d. The Carter Plan’s Least Change Approach


VI.   RECOMMENDATION
       A. Proposed Findings of Fact, Conclusions of Law, and Adoption of Map
          Recommendation
Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 6 of 228




  B. Revised 2022 Primary Election Calendar Recommendation
     1. Parties’ Positions on Revisions to 2022 General Primary Election
         Calendar
     2. Current 2022 General Primary Election Schedule
     3. Proposed REVISED 2022 General Primary Election Schedule
  C. Recommendation of 2022 Redistricting Map
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 7 of 228




                             PREFATORY STATEMENT
               By definition, the act of “judging” entails a comparative evaluation of
opposing viewpoints and a determination, based upon the particular role of the court,
as to which view prevails in the legal sense. Under Pennsylvania law, there are, in
general, unique responsibilities and roles that are bestowed upon a court given the
manner in which the court entertains and rules upon a case. For example, there are
varying legal duties for a “trial court” who disposes of pre-trial motions and other
matters and is the recipient of evidence at a trial, an intermediate appellate court that
reviews the trial court’s decision under the applicable standard of review, or a court
exercising both roles simultaneously, as in the situations where statutes have vested
the power in certain secretaries of administrative agencies or our Supreme Court in
exercising its King’s Bench power.
               That stated, this case involves some “feats of modern computer
technology,” Mellow v. Mitchell, 607 A.2d 204, 211 (Pa. 1992), by which parties
have attempted to constitutionally reapportion Pennsylvania’s 2020 population in
their proposed plans. The Court is astounded by the parties’ fortitude, collegiality,
vigorous advocacy, and the overall metrics and characteristics of the maps they
provided in pursuing these cases, and it has no doubt that everyone involved is in
genuine pursuit of the overarching goals and ideals that promote and uphold the
sustainability and functionality of our glorious Constitutional Republic, “a
government of the people, by the people, and for the people.”1 At the end of the day,
however, the Court, is faced with the challenging task of recommending one map to
indicate the boundary lines for the Congressional seats that represent the great and
colonial Commonwealth of Pennsylvania in the United States House of

      1
          Abraham Lincoln, The Gettysburg Address (November 19, 1863)
                                             1
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 8 of 228




Representatives. Pursuant to Pennsylvania law, the Court must articulate the reasons
and rationale for making its credibility and weight determinations and explain how
those determinations result in its penultimate conclusion and respectful
recommendation to our Supreme Court as to which map is the most suitable and
appropriate because it is most aligned with the text and spirt of the Pennsylvania
Constitution and the precedent of the High Court of Pennsylvania.
                In the report and recommendation that follows, the Court, after
detailing the factual and procedure nature of the cases, provides those reasons,
rationales, and explanations.

      I.    INTRODUCTION2
                This case involves the redistricting3 of the Commonwealth of
Pennsylvania’s (Commonwealth) seats in the United States (U.S.) House of
Representatives based on the 2020 Decennial Census (2020 Census). Article I,
Section 2 of the U.S. Constitution4 dictates that congressional districts be redrawn
every 10 years to ensure equal populations between districts. In 2020, the U.S.
Census Bureau conducted, for the 24th time in this country’s history, the decennial

        2
           This Court has attempted to convert what was a 188-page trial court opinion, which it
intended to file on February 3, 2022, into a Special Master’s Report with findings of fact and
conclusions of law to the extent that it was able given the time constraints. Throughout the Report,
“FF” denotes a finding of fact and “CL” denotes a conclusion of law. “FFs” and “CLs” are
numbered consecutively under each heading, where appropriate. The Stipulations of the Parties,
which are part of this Court’s record, are adopted as recommended findings of fact.
         3
           “Redistricting” is the process of drawing a new map following a reapportionment where
a state gains or loses a seat in Congress. Hon. P. Kevin Brobson, Of Free and Equal Elections and
Fair Districts-How the Pennsylvania Supreme Court Slayed (or Hobbled?) the Partisan
Gerrymander, 30 Widener Commonwealth L. Rev. 53, n.11 (2020).
         4
           U.S. Const. art. I, §2 (“Representatives and direct Taxes shall be apportioned among the
several States . . . according to their respective Numbers . . . .”). The provision of Article I, Section
2 relating to the method of apportionment was amended by the Fourteenth Amendment to the U.S.
Constitution. See U.S. Const. amend. XIV, §2.


                                                   2
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 9 of 228




census for the purpose of, inter alia, apportioning5 by population the 435 voting
members of the U.S. House of Representatives among the several States. On August
12, 2021, the U.S. Secretary of Commerce delivered census-block results of the 2020
Census to the Governor and legislative leaders.6 Although the Commonwealth’s
population increased from the last decennial census, the 2020 Census shows that the
Commonwealth will lose a seat in the U.S. House of Representatives. Thus, starting
with the upcoming 2022 Primary Election the Commonwealth will have 17
representatives in the U.S. House of Representatives, 1 fewer than the current 18
representatives it was apportioned following the 2010 Census.7 The Commonwealth
is therefore required to reapportion its current congressional district plan, i.e., the
2018 Remedial Plan,8 which is now malapportioned and effectively obsolete, to
account for the loss of a seat in the U.S. House of Representatives. Ordinarily, this
task should be completed before the 2022 General Primary Election, which is
scheduled to be held on May 17, 2022. Under the current Election Calendar, the
first day for candidates to circulate nomination petitions and collect signatures to
secure their placement on the ballot is February 15, 2022, and the final day to


       5
            Every 10 years, upon completion of the U.S. census, reapportionment occurs.
“Apportionment” or “reapportionment” refers to the process by which seats in the United States
House of Representatives are allocated among the several states.
         6
           According to the 2020 U.S. Census, Pennsylvania has a total population of 13,002,700.
Thus, the ideal district population for each of the Commonwealth’s 17 reapportioned congressional
districts is approximately 764,864 or 764,865 persons.
         7
             Pennsylvania has steadily lost congressional seats through the decades. See Brobson,
supra n.1, at 54-55.
         8
           The current 2018 Remedial Plan’s configuration of Pennsylvania’s congressional districts
was drawn by our Supreme Court in 2018 in League of Women Voters v. Commonwealth, 181
A.3d 1083 (Pa. 2018) (LWV III), using data from the 2010 U.S. Census, after the General Assembly
and Governor Wolf failed to reach an agreement for a revised reapportionment plan. Since its
adoption, the 2018 Remedial Plan has been used in two previous congressional elections.


                                                3
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 10 of 228




circulate and file nomination petitions is March 8, 2022.9 Further, those candidates
seeking the nomination of political bodies may begin circulating nomination papers
on March 9, 2022, and must file their papers by August 1, 2022. Campaigns must
collect these signatures from voters in the districts in which they seek elected office,
a task that is made impossible without established congressional district lines.


               Petitions for Review
               Given the Commonwealth’s lack of a congressional districting plan due
to the 2018 Remedial Plan’s malapportionment and in anticipation that the General
Assembly and Governor would fail to agree to a new congressional districting plan
in time for the 2022 General Primary Election, on December 17, 2021, Petitioners
Carol Ann Carter, Monica Parrilla, Rebecca Poyourow, William Tung, Roseanne
Milazzo, Burt Siegel, Susan Cassanelli, Lee Cassanelli, Lynn Wachman, Michael
Guttman, Maya Fonkeu, Brady Hill, Mary Ellen Balchunis, Tom DeWall, Stephanie
McNulty and Janet Temin (collectively, Carter Petitioners)10 commenced this action
(No. 464 M.D. 2021) by filing a Petition for Review addressed to this Court’s


       9
         Candidates therefore have until March 9, 2022, to collect signatures and file and circulate
nomination petitions.
       10
          Prior to filing this action, on April 26, 2021, the Carter Petitioners filed an action against
the Respondents in this Court’s original jurisdiction challenging the 2018 Remedial Plan based on
the 2020 U.S. Census results. See Carter v. DeGraffenreid (Pa. Cmwlth., No. 132 M.D. 2021).
By opinion and order dated September 2, 2021, a single judge of this Court permitted various high-
ranking legislators of the Pennsylvania General Assembly to intervene in the matter and denied
the applications to intervene filed by the Republican Party and Voters of the Commonwealth of
Pennsylvania. See Carter v. DeGraffenreid (Pa. Cmwlth., No. 132 M.D. 2021, filed Sept. 2, 2021).
Thereafter, by opinion and order dated October 8, 2021, a three-judge special election panel of this
Court sustained preliminary objections challenging the Carter Petitioners’ standing and the
ripeness of their claims and dismissed their petition for review without prejudice. See Carter v.
DeGraffenreid (Pa. Cmwlth., No. 132 M.D. 2021, filed Oct. 8, 2021).


                                                   4
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 11 of 228




original jurisdiction, challenging the Commonwealth’s 2018 Remedial Plan as
unconstitutional based on the 2020 Census. The Carter Petitioners filed their
Petition against the Veronica Degraffenreid, in her official capacity as the Acting
Secretary of the Commonwealth,11 and Jessica Mathis, in her official capacity as
Director for the Pennsylvania Bureau of Election Services and Notaries
(collectively, Respondents).
               The Carter Petitioners identify themselves as 16 U.S. citizens who are
registered to vote in the Commonwealth in 11 different federal congressional
districts.12 (Carter Pet’rs’ PFR ¶9.) They believe that the congressional districts in
which they live are overpopulated relative to other districts in the Commonwealth
and that, consequently, “they are deprived of the right to cast an equal vote, as
guaranteed to them by the U.S. Constitution and the Pennsylvania Constitution.”
(Carter Pet’rs’ PFR ¶10.)
               In Count I of their Petition, the Carter Petitioners allege that the 2018
Remedial Plan violates the Free and Equal Elections Clause under article I, section
5 of the Pennsylvania Constitution, Pa. Const. art. I, §5.13 Relying largely on the
above facts pertaining to the 2020 U.S. Census and Pennsylvania’s reduced
congressional delegation, the Carter Petitioners allege that “Pennsylvania’s current
congressional district plan places voters into districts with significantly disparate


       11
           On January 20, 2022, Acting Secretary of the Commonwealth Leigh M. Chapman was
substituted as a party for Acting Secretary Veronica Degraffenreid.
        12
            Specifically, the Carter Petitioners reside in Bucks, Philadelphia, Montgomery,
Delaware, Chester, Northampton, Dauphin, Cumberland, and Lancaster Counties and in
congressional districts 1 through 7, 10, and 11. (Carter Pet’rs’ PFR ¶9.)
        13
           The Free and Equal Elections Clause provides: “Elections shall be free and equal; and
no power, civil or military, shall at any time interfere to prevent the free exercise of the right of
suffrage.” Pa. Const. art. I, §5.


                                                 5
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 12 of 228




populations, causing voters in underpopulated districts to have more ‘potent’ votes
compared to voters, like Petitioners, who live in districts with comparatively larger
populations.”14 (Carter Pet’rs’ PFR ¶53.) They further claim that “[a]ny future use
of Pennsylvania’s current congressional district plan would violate Petitioners’ right
to an undiluted vote under the Free and Equal Elections Clause.” (Carter Pet’rs’
PFR ¶54.) In Count II of their Petition, the Carter Petitioners allege that the
Commonwealth’s current congressional district plan violates Article I, Section 2 of
the U.S. Constitution, U.S. Const. art. I, §2.15 More specifically, they allege that our
Supreme Court adopted the 2018 Remedial Plan, which was crafted so that “the
population deviation among districts was no more than one person”; however,
“[n]ow, the population deviation among Pennsylvania’s congressional districts is far
higher, on the order of tens of thousands of people.” (Carter Pet’rs’ PFR ¶57.) The
Carter Petitioners further contend that given “the significant population shifts that
have occurred since the 2010 Census” and the recent 2020 U.S. Census results, the
Commonwealth’s congressional districts, which were drawn based on the 2010
Census results, are “now unconstitutionally malapportioned” because they are based
on outdated population data. (Carter Pet’rs’ PFR ¶58.) They also claim that any
future use of the current congressional district plan would violate their constitutional
right to cast an equal, undiluted vote under Article I, Section 2 of the U.S.
Constitution. (Carter Pet’rs’ PFR ¶59.) Finally, in Count III of their Petition, the

       14
            They claim that districts 8, 9, 12 through 16, and 18 are significantly underpopulated,
while districts 1 through 7, 10, 11, and 17 are significantly overpopulated. (Carter Pet’rs’ PFR
¶28.)
         15
            Article I, Section 2, Clauses 1 and 3 of the U.S. Constitution provides that the U.S.
“House of Representatives shall be . . . chosen . . . by the People of the several States” and
“apportioned among the several States . . . according to their respective Numbers.” U.S. Const.
art. I, §2, cls. 1 and 3.


                                                6
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 13 of 228




Carter Petitioners allege that the Commonwealth’s current congressional district
plan containing 18 districts, when the state is now allotted only 17 seats, contravenes
section 2c of Title 2 of the U.S. Code, 2 U.S.C. §2c.16 (Carter Pet’rs’ PFR ¶62.)
                 As relief, the Carter Petitioners seek, inter alia, a judicial declaration
that “the current configuration of Pennsylvania’s congressional districts violates
article I, section 5 of the Pennsylvania Constitution; [and] Article I, Section 2 of the
U.S. Constitution”; “[e]njoin Respondents . . . from implementing, enforcing, or
giving any effect to Pennsylvania’s current congressional district plan”; and “[a]dopt
a new congressional district plan that complies with article I, section 5 of the
Pennsylvania Constitution; Article I, Section 2 of the U.S. Constitution; and 2 U.S.C.
§2.” (Carter Pet’rs’ PFR at 18-19, Prayer for Relief.)
                 Also on December 17, 2021, Petitioners Philip T. Gressman, Ron Y.
Donagi, Kristopher R. Tapp, Pamela Gorkin, David P. Marsh, James L.
Rosenberger, Amy Myers, Eugene Boman, Gary Gordon, Liz McMahon, Timothy
G. Feeman, and Garth Isaak (collectively, Gressman Petitioners) separately
commenced an action (No. 465 M.D. 2021) by filing a Petition for Review addressed


       16
            Title 2, section 2c of the U.S. Code provides:

       In each State entitled in the Ninety-first Congress or in any subsequent Congress
       thereafter to more than one Representative under an apportionment made pursuant
       to the provisions of section 2a(a) of this title, there shall be established by law a
       number of districts equal to the number of Representatives to which such State is
       so entitled, and Representatives shall be elected only from districts so established,
       no district to elect more than one Representative (except that a State which is
       entitled to more than one Representative and which has in all previous elections
       elected its Representatives at Large may elect its Representatives at Large to the
       Ninety-first Congress).

2 U.S.C. §2c.


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      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 14 of 228




to this Court’s original jurisdiction, similarly claiming that the Commonwealth’s
2018 Remedial Plan is unconstitutionally malapportioned based on the 2020 Census
results. Like the Carter Petitioners, the Gressman Petitioners filed their Petition
against Respondents. The Gressman Petitioners identify themselves as 12 U.S.
citizens and registered voters in the Commonwealth, who are also “leading
professors of mathematics and science who reside in congressional districts that
were most recently redrawn in 2018, using population data from the 2010 Census.”17
(Gressman Pet’rs’ PFR ¶10.)
              For the most part, the Gressman Petitioners advance averments that
duplicate, or at least mimic, those made by the Carter Petitioners. Notably, the
Gressman Petitioners add that, “[a]ccording to the 2020 U.S. Census, Pennsylvania
has 13,002,700 residents”; “the ideal district population is about 764,864 or 764,865
persons for each of Pennsylvania’s 17 congressional districts”; and “[b]ased on the
2020 Census Data, Pennsylvania’s congressional districts vary in population by as
much as 95,000 residents, and none of the current districts has either 764,864 or
764,865 residents.” (Gressman Pet’rs’ PFR ¶27.)
              Asserting that they all “reside and intend to vote in a congressional
district that the 2020 U.S. Census Data identifies as significantly malapportioned[,]”
id. ¶28, the Gressman Petitioners argue, in Count I of their Petition, that their
“districts, and all other districts in the current plan, vary by as much as tens of
thousands of persons relative to one another and to the ideal district population” as
a result of “the political branches’ failure to act,” which violates the Free and Equal
Elections Clause of the Pennsylvania Constitution. (Gressman Pet’rs’ PFR ¶¶38-

       17
           The Gressman Petitioners reside in Delaware, Montgomery, Union, Centre,
Philadelphia, Dauphin, Northampton, and in congressional districts 3, 5, 7, 10, and 12. (Gressman
Pet’rs’ PFR ¶¶11-22.)17
                                               8
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 15 of 228




39.) In Count II of their Petition, the Gressman Petitioners contend that “[b]ecause
the Commonwealth lacks a lawfully apportioned congressional plan, neither
potential candidates for office in the 2022 primary and general elections, nor [the
Gressman] Petitioners as voters in those elections, know where the boundaries of
constitutional congressional districts lie[,]” and that “[p]otential candidates . . . do
not know where they will be able to run and cannot identify their constituents.”
(Gressman Pet’rs’ PFR ¶¶44-45.) The Gressman Petitioners thus allege that, in turn,
they do “not know who will be running in their districts and cannot identify their
fellow district residents[,]” thereby depriving the Gressman Petitioners of their
“ability to associate with other voters who live in their lawful congressional districts,
or to associate with those candidates who will run for office in their districts—again,
for no reason other than the political branches’ failure to act[,]” in violation of article
I, section 20 of the Pennsylvania Constitution, Pa. Const. art. I, § 20.18 Id. ¶¶45-46.
Moreover, they contend that there is no legitimate or compelling state interest that
would support burdening their constitutional right to associate. Id. ¶47. Finally, in
Count III of their Petition, the Gressman Petitioners assert that the variances in
population in their districts and other districts result in “the weight of a given
Commonwealth citizen’s vote . . . var[ying] significantly based on where that citizen
lives.” Id. ¶51. Therefore, they contend that current plan’s effective dilution of
citizens’ votes based on where they live violates the equal protection guarantees




       18
           Pa. Const. art. I, §20 (“The citizens have a right in a peaceable manner to assemble
together for their common good, and to apply to those invested with the powers of government for
redress of grievances or other proper purposes, by petition, address or remonstrance.”).


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      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 16 of 228




afforded them under article I, sections 1 and 26 of the Pennsylvania Constitution,
Pa. Const. art. I, §§ 1, 26.19
               As relief, the Gressman Petitioners seek a judicial declaration that
Pennsylvania’s current congressional districts are unconstitutional under the above
provisions of the Pennsylvania Constitution; and an order enjoining Respondents
from “implementing, enforcing, or giving any effect to Pennsylvania’s current
congressional district plan in any future election[.]” (Gressman Pet’rs’ PFR at 14,
Prayer for Relief.) The Gressman Petitioners also seek “implementation of a new
congressional district map with the correct number of congressional districts that
adheres to the one-person, one-vote standard and all other applicable constitutional
and legal requirements.” (Gressman Pet’rs’ PFR ¶1.)


    II.     PROCEDURAL HISTORY
               By order dated December 20, 2021, this Court consolidated these
matters and designated the case at docket number 464 M.D. 2021 as the lead case.
By separate order of the same date, this Court directed, in accordance with the
process established in Mellow, that any applications to intervene shall be filed by
December 31, 2021, and that any party to these proceedings could submit to the
Court for consideration a proposed 17-district congressional reapportionment plan
consistent with the results of the 2020 Census by a certain date. This Court’s order
also provided notice that the Court would select a plan from those plans timely filed


       19
           Pa. Const. art. I, §1 (“All men are born equally free and independent, and have certain
inherent and indefeasible rights, among which are those of enjoying and defending life and liberty,
of acquiring, possessing and protecting property and reputation, and of pursuing their own
happiness.”); §26 (“Neither the Commonwealth nor any political subdivision thereof shall deny to
any person the enjoyment of any civil right, nor discriminate against any person in the exercise of
any civil right.”).
                                                10
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 17 of 228




by the parties if the General Assembly and the Governor failed to enact a
congressional reapportionment plan by January 30, 2022, with court proceedings to
follow should the General Assembly and the Governor fail to act.
             Ten applications to intervene were filed by:       (i) the Speaker and
Majority Leader of the Pennsylvania House of Representatives and the President Pro
Tempore and Majority Leader of the Pennsylvania State Senate, (ii) Pennsylvania
State Senators Maria Collett, Katie J. Muth, Sharif Street, and Anthony H. Williams;
(iii) Tom Wolf, Governor of the Commonwealth of Pennsylvania; (iv) Senator Jay
Costa and members of the Democratic Caucus of the Senate of Pennsylvania; (v)
Representative Joanna E. McClinton, Leader of the Democratic Caucus of the
Pennsylvania House of Representatives; and (vi) Congressman Guy Reschenthaler,
Swatara Township Commissioner Jeffrey Varner, and former Congressmen Tom
Marino, Ryan Costello, and Bud Shuster; (vii) Voters of the Commonwealth of
Pennsylvania; (viii) Citizen-Voters; (ix) Draw the Lines PA; and (x) Khalif Ali et al.
             On December 21, 2021, both sets of Petitioners filed applications for
extraordinary relief, requesting that the Pennsylvania Supreme Court exercise its
extraordinary jurisdiction and/or King’s Bench power over these matters under
Section 726 of the Judicial Code, 42 Pa.C.S. §726, and Pa.R.A.P. 3309. See Carter
v. Degraffenreid (Pa., No. 141 MM 2021); Gressman v. Degraffenreid (Pa., No. 142
MM 2021).
             While those applications were pending in the Supreme Court, on
January 6, 2022, this Court held a hearing on the intervention applications, giving
every applicant the opportunity to present argument and evidence as to whether they
met the standards for intervention under Pennsylvania Rules of Civil Procedure 2327




                                         11
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 18 of 228




and 2329, Pa.R.Civ.P. 2327, 2329, and to explain why intervention would not unduly
delay and complicate this time-sensitive matter.
               By separate orders issued on January 10, 2022, the Supreme Court
denied the applications for extraordinary relief and declined to invoke its
extraordinary jurisdiction and/or exercise its King’s Bench power over these matters,
without prejudice to Petitioners to either reapply for similar relief in that Court
should future developments so warrant or to apply to this Court and request that the
matter be accelerated.20 See Carter v. Degraffenreid (Pa., No. 141 MM 2021, order
filed Jan. 10, 2022); Gressman v. Degraffenreid (Pa., No. 142 MM 2021, order filed
Jan. 10, 2022).
               On January 14, 2022, this Court entered an order superseding the
deadlines set by its original December 20, 2021 order, and granting the applications
to intervene filed by: (i) the Speaker and Majority Leader of the Pennsylvania House
of Representatives (House Republican Intervenors) and the President Pro Tempore
and Majority Leader of the Pennsylvania State Senate (Senate Republican
Intervenors) (collectively, Republican Legislative Intervenors), (ii) Pennsylvania
State Senators Maria Collett, Katie J. Muth, Sharif Street, and Anthony H. Williams
(Democratic Senator Intervenors, see infra note 20); (iii) Tom Wolf, Governor of
the Commonwealth of Pennsylvania (Governor Wolf); (iv) Senator Jay Costa and
members of the Democratic Caucus of the Senate of Pennsylvania (Senate
Democratic Caucus Intervenors);21 (v) Representative Joanna E. McClinton, Leader

       20
           Justice Wecht filed a dissenting statement, in which he expressed his disagreement with
the Court’s decision not to assume plenary jurisdiction over the matter under the power of
extraordinary jurisdiction granted to the Court under 42 Pa.C.S. §726. Justice Donohue also noted
her dissent.
        21
           Pursuant to the Notice of Amendment and Joinder from Senate Democratic Caucus
Intervenors and Democratic Senator Intervenors, the Applications for Leave to Intervene of: (i)


                                               12
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 19 of 228




of the Democratic Caucus of the Pennsylvania House of Representatives (House
Democratic Caucus Intervenors); and (vi) Congressman Guy Reschenthaler,
Swatara Township Commissioner Jeffrey Varner, and former Congressmen Tom
Marino, Ryan Costello, and Bud Shuster (Congressional Intervenors).22 These
Intervenors were allowed to participate as Parties in these consolidated matters, and
were ordered to submit for the Court’s consideration at least one but no more than
two proposed 17-district congressional redistricting plans and a supporting brief
and/or a supporting expert report by 5:00 p.m., on January 24, 2022. All Parties
were further directed to file a responsive brief and/or a responsive expert report
(from the same expert who prepared the January 24 report or any other expert),
addressing the other Parties’ January 24 submissions, by 5:00 p.m., on January 26,
2022.
               The applications to intervene as parties filed by: (i) Voters of the
Commonwealth of Pennsylvania (Voters of the Commonwealth); (ii) Citizen-
Voters; (iii) Draw the Lines PA; and (iv) Khalif Ali et al., were denied. However,




Pennsylvania State Senators Maria Collett, Katie J. Muth, Sharif Street, and Anthony H. Williams;
and (ii) Senator Jay Costa and members of the Democratic Caucus of the Senate of Pennsylvania
were joined as a single party. They are thus collectively referred to throughout this Report as
Senate Democratic Caucus Intervenors.
        22
           Consistent with this Court’s January 14 and January 24, 2022 orders, the term “Parties,”
when used in this Report, refers to Petitioners, Respondents, and Intervenors, except when a
particular Party is referenced individually.


                                                13
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 20 of 228




Voters of the Commonwealth,23 Citizen-Voters,24 Draw the Lines PA, and Khalif
Ali et al.25 were permitted to participate in these matters as amicus participants
(Amicus Participants), with their participation limited to submissions to the Court in
writing.     All Amicus Participants were permitted to submit for the Court’s
consideration one proposed 17-district congressional redistricting map/plan and a
supporting brief and/or a supporting expert report, by 5:00 p.m., on January 24,
2022.
               In this same order, the Court directed the Parties to file a joint
stipulation of facts and moved the evidentiary hearing up to January 27, 2022, and
January 28, 2022, participation in which was limited to the Parties. Each Party was
limited to presenting one witness at the hearing, who would be subject to cross-
examination by the other Parties. This Court’s order also provided notice that the
Court would proceed to issue an opinion based on the hearing and evidence
presented by the Parties if the General Assembly failed to produce a new


        23
          On January 24, 2022, Voters of the Commonwealth (Haroon Bashir et al.) filed a Notice
of Appeal to the Supreme Court from this Court’s January 14, 2022 order denying their
intervention application. By order dated January 28, 2022, the Supreme affirmed this Court’s
order on the basis that Voters of Commonwealth waited 10 days to file a notice of appeal from this
Court’s January 14, 2022 order and at least one of the case deadlines established by that order had
already passed. See Carter/Gressman v. Chapman (Appeal of: Haroon Bashir et al.) (Pa., Nos. 9
& 10 MAP 2022, orders filed Jan. 28, 2022).
       24
          On January 26, 2022, Citizen Voters (Leslie Osche et al.) filed a Notice of Appeal to the
Supreme Court from this Court’s January 14, 2022 order denying their intervention application.
By order dated February 2, 2022, the Supreme Court affirmed this Court’s order on the basis that
Citizen Voters waited 12 days to file a notice of appeal from this Court’s January 14, 2022 order
and the deadlines established by that order had already passed. See Carter/Gressman v. Chapman
(Appeal of: Leslie Osche et al.) (Pa., Nos. 11 & 12 MAP 2022, orders filed Feb. 2, 2022).
       25
          On January 20, 2022, Khalif Ali et al. filed a Notice of Appeal to the Supreme Court
from this Court’s January 14, 2022 order denying their intervention application. By order dated
January 26, 2022, the Supreme affirmed this Court’s order. See Carter/Gressman v. Chapman
(Appeal of: Khalif Ali et al.) (Pa., Nos. 5 & 6 MAP 2022, orders filed Jan. 26, 2022).
                                                14
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 21 of 228




congressional redistricting plan by January 30, 2022. As of January 30, 2022, the
General Assembly and Governor had not adopted a new reapportionment plan.
               On January 29, 2022, the Carter Petitioners filed a renewed Emergency
Application for Extraordinary Relief under 42 Pa. C.S. § 726 and Pa.R.A.P. 3309 in
the Supreme Court, asking that Court to immediately assume extraordinary
jurisdiction over this redistricting litigation. On February 1, 2022, this Court filed a
statement, “advising the Supreme Court that the undersigned jurist’s decision and
opinion in the above-captioned matters would be ready to be filed in the
Commonwealth Court by Thursday, February 3, 2022, and [in no] event later than
Friday, February 4, 2022.” (Statement of the Court, dated Feb. 1, 2022.) On
February 2, 2022, the Supreme Court issued an order granting the Carter Petitioners’
Application, designating the undersigned as Special Master, and directing that all
proceedings in this Court prior to the issuance of the Supreme Court’s order, as well
as the fillings submitted to this Court at its direction, “shall be considered part of the
Special Master’s record.” See Carter v. Chapman (Pa., No. 7 MM 2022, order filed
Feb. 2, 2022), at 1-2 & ¶¶2-3. The Supreme Court further directed the Court to file
with the Supreme Court a report containing proposed findings of fact and
conclusions of law supporting its recommendation of a redistricting plan from those
submitted to the Court, along with a proposed revision to the 2022 election schedule,
by February 7, 2022. Id. ¶3.26

       26
           The Court notes that during the pendency of these matters, this Court was proceeding
under the assumption that it had acquired the traditional role of a trial court, the “fact finder” in
legalese and, therefore, that its primary responsibility after conducting the bench trial was to render
credibility and weight determinations with respect to, and resolve conflicts within, the evidence,
being specifically tasked with the obligation of choosing which piece or pieces of that evidence
should be accepted, discredited, or otherwise provided with great, little, or no evidentiary value or
significance. When this Court assumes such a role, typically and in general, its credibility and


                                                 15
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 22 of 228




   III.    THE       CONTROLLING                CONSTITUTIONAL                 AND       LEGAL
           PRINCIPLES
               It is well established that the primary duty of drawing federal
congressional legislative district lines rests with state legislatures, which are vested
with the power to determine, inter alia, “[t]he Times, Places and Manner of holding
Elections for . . . Representatives,” subject to any rules that Congress may establish
altering such power. Article I, Section 4 of the U.S. Constitution, U.S. Const. art. I,
§4, cl. 1 (Elections Clause).27 Thus, “[w]hile th[e] process is dictated by federal law,
it is delegated to the states.” League of Women Voters v. Commonwealth, 178 A.3d
737, 742-43 (Pa. 2018) (LWV II). In Pennsylvania, congressional redistricting is
handled as regular legislation, in that any congressional districting plan must pass
both chambers of the General Assembly and be presented to the Governor for his
approval or veto.28 LWV II, 178 A.3d at 742; Pa. Const. art. IV, §15.29 The “initial

weight determinations would have been virtually unassailable on appeal to the Supreme Court,
and its rulings and other determinations would have been subjected to an abuse of discretion and/or
an error of law standard. See, e.g., In re R.J.T., 9 A.3d 1179, 1190 (Pa. 2010); Commonwealth v.
DeJesus, 860 A.2d 102, 107 (Pa. 2004). However, considering that our Supreme Court has ably
decided to exercise extraordinary jurisdiction pursuant to its King’s Bench power, and has
officially appointed the undersigned to serve as a Special Master, this Court now proceeds on the
assumption that its credibility and weight determinations and other rulings are not entitled to any
form of deference by the Supreme Court, which may substitute its judgment for that of this Court
at will. Accordingly, the Court would like to emphasize that its evidentiary and legal
determinations are made simply as proposed recommendations to the Supreme Court and that the
Court submits them respectfully.
         27
            The Elections Clause provides: “The Times, Places and Manner of holding Elections
for Senators and Representatives, shall be prescribed in each State by the Legislature thereof; but
the Congress may at any time by Law make or alter such Regulations, except as to the Places of
ch[oo]sing Senators.” U.S. Const. art. I, §4, cl. 1.
         28
            “By contrast, the state legislative lines are drawn by a five-member commission pursuant
to the Pennsylvania Constitution. See Pa. Const. art. II, § 17.” LWV II, 178 A.3d at 742, n.11.
         29
            Article IV, section 15 of the Pennsylvania Constitution provides, in pertinent part, as
follows:


                                                16
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 23 of 228




and preferred path [regarding the drawing of congressional district maps is,
undoubtedly, through] legislative and executive action.” LWV II, 178 A.3d at 821.
However, where our state legislature is unable or chooses not to timely enact a
congressional redistricting scheme, it falls upon the state judiciary to assume “the
‘unwelcome obligation’” and fashion, or in this case choose, an appropriate
congressional redistricting plan. See id. at 822-23 (stating that “[w]hen . . . the
legislature is unable to or chooses not to act, it becomes the judiciary’s role to
determine the appropriate redistricting plan”); see also Mellow, 607 A.2d at 214
(recognizing that “[c]ongressional redistricting becomes a judicial responsibility
only when . . . the state legislature has not acted after having had an adequate
opportunity to do so”). Where the Pennsylvania judiciary is unwillingly called upon
to assume the decidedly complex task of congressional redistricting due to the
General Assembly’s inaction, as in this case, both federal and state constitutional
principles are implicated.
       A.      Brief History
               Since the earliest days of the republic, redrawing the boundaries of
legislative and congressional districts after each decennial census has been primarily
the responsibility of state legislatures. In general, following World War I, and the



       Every bill which shall have passed both Houses shall be presented to the Governor;
       if he approves he shall sign it, but if he shall not approve he shall return it with his
       objections to the House in which it shall have originated, which House shall enter
       the objections at large upon their journal, and proceed to re-consider it. If after such
       re-consideration, two-thirds of all the members elected to that House shall agree to
       pass the bill, it shall be sent with the objections to the other House by which
       likewise it shall be re-considered, and if approved by two-thirds of all the members
       elected to that House it shall be a law . . . .

Pa. Const. art. IV, §15.
                                                 17
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 24 of 228




dramatic shifts in population from rural to urban areas that occurred thereafter, state
legislatures failed to fulfill their constitutional responsibility to create redistricting
plans. For decades, the U.S. Supreme Court declined repeated invitations to enter
the “political thicket” of redistricting and refused to order the legislatures to carry
out their duty. Colegrove v. Green, 328 U.S. 549, 556 (1946). See Rucho v.
Common Cause, 139 S. Ct. 2484, 2493-96 (2019).
                However, beginning in the 1960s, the U.S. Supreme Court changed
course and issued a series of opinions concluding that cases based on
malapportionment or a violation of the “one person, one vote” principle30 were
justiciable, particularly under the Equal Protection Clause of the Fourteenth
Amendment.31 See, e.g., Baker v. Carr, 369 U.S. 186 (1962); Wesberry v. Sanders,
376 U.S. 1 (1964); Reynolds v. Sims, 377 U.S. 533 (1964); Gaffney v. Cummings,
412 U.S. 735 (1973); Karcher v. Daggett, 462 U.S. 725 (1983); Evenwel v. Abbott,
136 S. Ct. 1120 (2016). In the modern jurisprudence, the “one person, one vote”
rule may be summarized as follows: “[W]hen drawing state and local legislative
districts, jurisdictions are permitted to deviate somewhat from perfect population
equality to accommodate traditional districting objectives, among them, preserving
the integrity of political subdivisions, maintaining communities of interest, and
creating geographic compactness,” but “[w]here the maximum population deviation
between the largest and smallest district is less than 10%, [] a state or local legislative
map presumptively complies with the one-person, one-vote rule”; otherwise,


        30
           The “one person, one vote” principle is embodied in Article I, Section 2, Clauses 1 and
3 of the U.S. Constitution, which provides that United States “House of Representatives shall be .
. . chosen . . . by the People of the several States” and “apportioned among the several States . . .
according to their respective Numbers.” U.S. Const. art. I, §2, cls. 1 and 3.
        31
           It provides that: “[n]o State shall . . . deny to any person within its jurisdiction the equal
protection of the laws.” U.S. Const. amend. XIV, §1.
                                                  18
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 25 of 228




“[m]aximum deviations above 10% are presumptively impermissible.” Abbott, 136
S. Ct. at 1124; see Brobson, supra n.1, at 56-61.
               In the 1960s, the U.S. Supreme Court also began addressing as
justiciable challenges to redistricting plans that were configured on the basis of race.
Broadly speaking, “[r]acial, race-based, or ethnic gerrymandering occurs where
legislative district boundaries are deliberately and arbitrarily distorted for racial
purposes. Racial gerrymander challenges, either based on vote dilution (cracking)
or vote concentration (packing), are justiciable, with the challenged legislation
subject to strict scrutiny under the Equal Protection Clause and/or review for
compliance with Section 2 of the Voting Rights Act of 1965 (VRA). [32]” Brobson,
supra n.1, at 63-64 (footnotes omitted). See, e.g., Gomillion v. Lightfoot, 364 U.S.
339 (1960); Wright v. Rockefeller, 376 U.S. 52 (1964); Thornburg v. Gingles, 478
U.S. 30 (1986); Shaw v. Reno, 509 U.S. 630 (1993); Miller v. Johnson, 515 U.S. 900
(1995); Bush v. Vera, 517 U.S. 952 (1996); Alabama Legislative Black Caucus v.
Alabama, 575 U.S. 254, 270 (2015).
               A third subset of claims in the districting/redistricting litigation arena
concerns illegal partisan or political gerrymandering in the drawing of boundary
lines. In terms of its accepted definition, “[p]artisan gerrymandering . . . is the
process of manipulating the drawing of district boundaries to enhance the electoral
chances of one political party above and beyond what would be expected based on
statewide (or nationwide) partisan distribution of support.” Brobson, supra n.1, at
63-65. First addressing the issue in the 1970s, the United States Supreme Court,
overall, and through time, has “struggled . . . to find a majority approach to dealing
with challenges to legislative districts as ‘extreme’ partisan gerrymanders.” Id. at


      32
           52 U.S.C. §§10101-10702.
                                           19
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 26 of 228




67. See Gaffney v. Cummings, 412 U.S. 735 (1973); Davis v. Bandemer, 478 U.S.
109 (1986); Vieth v. Jubelirer, 541 U.S. 267 (2004); see also Rucho, 139 S. Ct. at
2497-99. In 2019, a majority of the U.S. Supreme Court in Rucho ultimately
concluded that, under the U.S. Constitution, federal courts lack the competency to
adjudicate partisan gerrymandering claims because such claims present
nonjusticiable political questions. Nonetheless, the Rucho Court was careful to state
that its “conclusion [did] not condone excessive partisan gerrymandering. Nor [did
its] conclusion condemn complaints about districting to echo into a void.” Rucho,
139 S. Ct. at 2507. The Supreme Court noted that the States “[were] actively
addressing the issue on a number of fronts,” and, as one of a few examples, cited a
case from the Supreme Court of the State of Florida, which “struck down that State’s
congressional districting plan as a violation of the Fair Districts Amendment to the
Florida Constitution.” Id.
      B.     State Constitutional Principles
             1.     LWV (Free and Equal Elections Clause)
             The Pennsylvania Supreme Court recently interpreted and applied the
Free and Equal Elections Clause of article I, section 5 of the Pennsylvania
Constitution, Pa. Const. art. I, §5, which provides that “[e]lections shall be free and
equal; and no power, civil or military, shall at any time interfere to prevent the free
exercise of the right of suffrage,” in LWV II, 178 A.3d 737, a case involving a
partisan gerrymandering claim. By way of background, following the 2010 U.S.
Census, Pennsylvania’s share of U.S. House members was reduced from 19 to 18
members, thus requiring the Commonwealth to reapportion its congressional district
map. Legislation made its way through the legislative process, and the Republican-
controlled General Assembly ultimately passed a proposed redistricting plan, which


                                          20
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 27 of 228




then-Governor Corbett, also a Republican, signed into law as Act 131 of 2011 (2011
Plan). After having dodged any federal or state challenges for a total of three
congressional election cycles, in June 2017, the petitioners, League of Women
Voters, and 18 registered Democratic voters (1 from each of our congressional
districts at the time), filed suit in this Court’s original jurisdiction against, inter alia,
current Governor Wolf and the General Assembly, alleging that the 2011 Plan
violated numerous provisions of the Pennsylvania Constitution, including the Free
and Equal Elections Clause, among others.33 Specifically, the petitioners claimed
that the 2011 Plan constituted an extreme case of partisan gerrymandering that
diluted their votes and deprived them of an “equal” election in violation of the Free
and Equal Elections Clause.
               Subsequently, the petitioners requested that the Supreme Court exercise
its extraordinary jurisdiction over the matter. The Supreme Court granted the
request and assumed plenary jurisdiction over the matter, but ultimately remanded
the case to this Court, directed that the case be assigned to a commissioned judge of
this Court, and further directed the Court to conduct, on an expedited basis,
discovery, and pretrial/trial proceedings necessary to create an evidentiary record on
which the petitioners’ claims could be decided. The Honorable P. Kevin Brobson
of this Court34 expeditiously conducted a nonjury trial in December 2017 and issued
recommended findings of fact and conclusions of law two days prior to the Supreme
Court’s established deadline.


       33
          The petitioners also alleged that the 2011 Plan violated their right to free expression and
association under article I, sections 7 and 20 of the Pennsylvania Constitution, and their right to
equal protection of the law under article I, sections 1 and 26 of the Pennsylvania Constitution. Pa.
Const. art. I, §§1, 7, 20, 26.
       34
          On January 3, 2022, the Honorable P. Kevin Brobson, former President Judge of this
Court, was sworn in as Justice of the Pennsylvania Supreme Court.
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     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 28 of 228




             Following expedited briefing and oral argument and based on Judge
Brobson’s findings and conclusions, on January 22, 2018, by per curiam order, a
majority of the Supreme Court declared as a matter of law that the 2011 Plan
“clearly, plainly and palpably” violated the Pennsylvania Constitution, struck the
Plan as unconstitutional, and enjoined its further use beginning with the Primary
Election scheduled for May 15, 2018.            See League of Women Voters v.
Commonwealth, 175 A.3d 282, 289 (Pa. 2018) (LWV I); see also LWV II, 178 A.3d
at 767-87 (lengthy discussion of the Commonwealth Court proceedings, the Court’s
findings of fact based on the evidence presented, and the Court’s conclusions of
law). The Court, however, gave the General Assembly additional time to formulate
a remedial plan and submit it to Governor Wolf, and advised that the failure to enact
a plan would result in the Supreme Court adopting a remedial plan based on the
record and proposed plans submitted by the parties. LWV I, 175 A.3d at 290.
             The Supreme Court thereafter issued an opinion in support of its order
on February 7, 2018, in which it relied solely on the Free and Equal Elections Clause,
which the Court noted “has no federal counterpart,” in disposing of the petitioners’
claims. LWV II, 178 A.3d 737, 803. After exhaustively summarizing the parties’,
respondents’, intervenors’, and amici’s arguments, see id. at 787-801, the Court
extensively examined the history of our Constitution, the plain language used in the
various iterations of article I, section 5 throughout the years since its adoption, and
our state’s jurisprudence interpreting the Free and Equal Elections Clause. See id.
at 802-13. In doing so and recognizing that the term “free and equal” has historically
been interpreted to have “a broad and wide sweep,” the Court interpreted the Free
and Equal Elections Clause as prohibiting “any legislative scheme which has the
effect of impermissibly diluting the potency of an individual’s vote for candidates


                                          22
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 29 of 228




for elective office relative to that of other voters will violate the guarantee of ‘free
and equal’ elections afforded by [a]rticle I, [s]ection 5.” LWV II, 178 A.3d at 809
(citing City of Bethlehem v. Marcincin, 515 A.2d 1320, 1323-24 (Pa. 1986)).
Furthermore, as to the consequences of such an interpretation, the Court relevantly
noted that “partisan gerrymandering dilutes the votes of those who in prior elections
voted for the party not in power to give the party in power a lasting electoral
advantage” and that “placing voters preferring one party’s candidate in districts
where their votes are wasted on candidates likely to lose (cracking), or [] placing
such voters in districts where their votes are cast for candidates destined to win
(packing),” results in dilution of the non-favored, or minority, party’s votes. LWV
II, 178 A.3d at 813-14. In light of the above, the Court determined that the Free and
Equal Elections Clause deserves “the broadest interpretation, one which governs all
aspects of the electoral process, and which provides the people of this
Commonwealth an equally effective power to select the representative of his or her
choice and bars the dilution of the people’s power to do so.” Id. at 814. Accordingly,
article I, section 5 of the Pennsylvania Constitution prohibits “the creation of
congressional districts which confer on any voter an unequal advantage by giving
his or her vote greater weight in the selection of a congressional representative” than
other voters. Id. at 816.
               In terms of how to measure a redistricting plan’s compliance with
article I, section 5, the Supreme Court pointed to article II, section 16,35 which


       35
          Article II, section 16 provides: “The Commonwealth shall be divided into fifty senatorial
and two hundred three representative districts, which shall be composed of compact and
contiguous territory as nearly equal in population as practicable. Each senatorial district shall elect
one Senator, and each representative district one Representative. Unless absolutely necessary no
county, city, incorporated town, borough, township or ward shall be divided in forming either a
senatorial or representative district.” Pa. Const. art. II, §16.
                                                 23
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 30 of 228




provides certain “neutral benchmarks” that state legislative district maps must meet
to prevent the dilution of individuals’ votes, and, noting the absence of any
Pennsylvania constitutional provision governing the creation of congressional
districts, adopted such “measures as appropriate in determining whether a
congressional redistricting plan violates the Free and Equal Elections Clause of the
Pennsylvania Constitution.” LWV II, 178 A.3d at 816. Accordingly, to pass
constitutional muster under article I, section 5, congressional districts must be

             composed of compact and contiguous territory; as nearly equal
             in population as practicable; and which do not divide any county,
             city, incorporated town, borough, township, or ward, except
             where necessary to ensure equality of population.

Id. at 816-17. The Court recognized that other considerations “have historically
played a role in the drawing of legislative districts, including “the preservation of
prior district lines, protection of incumbents, or the maintenance of the political
balance which existed after the prior reapportionment[,]” and that such factors are
not necessarily impermissible. Id. at 817. According to the Court, however, such
factors are “wholly subordinate to the neutral criteria of compactness, contiguity,
minimization of the division of political subdivisions, and maintenance of
population equality among congressional districts[,]” which criteria “provide a
‘floor’ of protection for an individual against the dilution of his or her vote in the
creation of such districts.” Id. Moreover, when it is demonstrated that “these neutral
criteria have been subordinated, in whole or in part, to extraneous considerations
such as gerrymandering for unfair partisan political advantage, a congressional




                                          24
        Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 31 of 228




redistricting plan violates [a]rticle I, [s]ection 5 of the Pennsylvania Constitution.”
Id.36
                   Population Equality, Compactness, Contiguousness37
                             & Political Subdivision Integrity
                In applying the above factors to the 2011 Plan, the Court first
considered compactness, which can be measured by a number of different
mathematical compactness measurements/models. The Court in LWV II relied
principally on the Reock Compactness Score38 and the Polsby-Popper
Compactness39 Score, which seek to quantify compactness by assigning a score of 0

        36
            By way of contrast, in Rucho, voters in two states challenged their states’ congressional
districting maps as unconstitutional partisan gerrymandering. The U.S. Supreme Court held that,
for purposes of the U.S. Constitution, these claims presented nonjusticiable political questions
because “judges have no license to reallocate political power between the two major political
parties,” with no constitutional grant of authority to do so and “no legal standards to limit and
direct their decisions.” Id. at 2506-07. The Court explained that the “central problem” is
determining when political gerrymandering “has gone too far,” a measurement too difficult to
undertake in an adjudicative context. Id. at 2497 (citation omitted). However, U.S. Supreme Court
stated that “[p]rovisions in state statutes and state constitutions can provide standards and
guidance for state courts to apply.” Id. at 2507 (emphasis added). In Pennsylvania, that is exactly
what our Supreme Court did in LWV II when it concluded that partisan gerrymandering claims
were cognizable under the Free and Equal Elections Clause and the equal protection guarantee of
the Pennsylvania Constitution. See also supra pp. 16-17.
         37
            The LWV II Court did not extensively analyze the concept of “contiguity” in its decision;
however, in the context of article II, section 16’s requirements that legislative districts be
comprised of “contiguous territory,” the Supreme Court has previously defined “a contiguous
district [a]s ‘one in which a person can go from any point within the district to any other point
(within the district) without leaving the district, or one in which no part of the district is wholly
physically separate from any other part.’” Holt v. 2011 Legislative Reapportionment Commission
(Holt I), 67 A.3d 1211, 1242 (Pa. 2013).
         38
            One of the LWV II petitioners’ experts, Dr. Chen, defined a Reock Compactness Score
as “a ratio of a particular district’s area to the area of the smallest bounding circle that can be drawn
to completely contain the district—the higher the score, the more compact the district.” LWV II,
178 A.3d at 771.
         39
            The same expert explained that a “Popper-Polsby Compactness Score is calculated by
first measuring each district’s perimeter and comparing it to the area of a hypothetical circle with
that same perimeter. The ratio of the particular district’s area to the area of the hypothetical circle


                                                  25
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 32 of 228




(least compact) to 1 (most compact). The Court noted that the 2011 Plan had Reock
and Polsby-Popper Compactness Scores of 0.278 and 0.164, respectively. However,
the Court explained that a computer simulation that applied only the traditional
redistricting criteria, which had achieved population equality and contiguity, “had a
range of Reock Compactness Scores from approximately .31 to .46, which was
significantly more compact than the 2011 Plan’s score of .278; and had a range of
Popper-Polsby Compactness Scores from approximately .29 to .35, which was
significantly more compact than the 2011 Plan’s score of .164.” LWV II, 178 A.3d
at 818. Additionally, the expert’s simulated plans “generally split between 12-14
counties and 40-58 municipalities, in sharp contrast to the 2011 Plan’s far greater 28
county splits and 68 municipality splits.” Id. at 818. Observing “that the 2011 Plan
subordinated the goals of compactness and political[ ]subdivision integrity to other
considerations[,]” the Court determined that the Plan “did not primarily consider,
much less endeavor to satisfy, the traditional redistricting criteria.” Id. at 818-19.
In so determining, the Court also relied on its “lay examination of the Plan,” which
revealed “tortuously drawn districts that caused unnecessary political-subdivision
splits, . . . oddly shaped, sprawling districts which wander seemingly arbitrarily
across Pennsylvania,” and counties, political subdivisions, and wards unnecessarily
divided amongst multiple congressional districts. Id. at 819.


                         Partisan Breakdown & Partisan Bias
                      (the mean-median gap and efficiency gap)
             Although it was clear that the 2011 Plan failed to meet the traditional
redistricting criteria as a statistical matter, which was “sufficient to establish that it


is its Popper-Polsby Compactness Score—the higher the score, the greater the geographic
compactness.” LWV II, 178 A.3d at 771.
                                           26
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 33 of 228




violate[d] the Free and Equal Elections Clause[,]” the Supreme Court nevertheless
considered other factors, such as partisan bias, stating that the evidence of record
established that the Plan’s “deviation from these traditional requirements was in
service of, and effectively work[ed] to, the unfair partisan advantage of Republican
candidates in future congressional elections and, conversely, dilute[d the
petitioners’] power to vote for congressional representatives who represent their
views.” LWV II, 178 A.3d at 820. In so stating, the Court relied on expert testimony
regarding the partisan breakdown of the 2011 Plan, which was calculated using
election data for the 2008 and 2010 statewide elections, as well as the Plan’s partisan
bias calculations based on mean-median gap40 measurements. Id. at 772-73, 820.
The Court observed that simulated plans using the traditional redistricting criteria
“created a range of up to 10 safe Republican districts with a mean-median vote gap
of 0 to 4%,” whereas “the 2011 Plan create[d] 13 safe Republican districts with a
mean-median vote gap of 5.9%.” Id. at 820. The Court found the petitioners’
expert’s testimony credible “that the 2011 Plan’s outlier status in this regard was
[not] attributable to an attempt to account for Pennsylvania’s political geography, to
protect incumbent congresspersons, or to establish the 2011 Plan’s majority African-
American district[,]” but rather was a means of obtaining unfair partisan gain. Id. at
820. The Court also relied on testimony concerning the efficiency gap41 data in

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            According to the petitioners’ expert, the mean-median gap is a “common scientific
measurement”; “To calculate the mean, one looks at the average voter share per party in a
particular district. To calculate the median, one ‘line[s] up’ the districts from the lowest to the
highest vote share; the ‘middle best district’ is the median. . . . The median district is the district
that either party has to win in order to win the election.” LWV II, 178 A.3d at 774.
         41
            The efficiency gap was defined as “a formula that measures the number of ‘wasted votes’
for one party against the number of ‘wasted votes’ for another party.” LWV II, 178 A.3d at 777.
To find the gap, one “calculates the ratio of a party’s wasted votes over the total number of votes
cast in the election, and subtracts one party’s ratio from the other party. The larger the number,
the greater the partisan bias.” Id.
                                                 27
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 34 of 228




relation to the Plan, which established “a modest natural advantage, or vote
efficiency gap, in favor of Republican congressional candidates relative the
Republicans’ statewide vote share[.]” Id. at 820. Considering the above, along with
other “geographic idiosyncrasies,” the Court concluded “that the 2011 Plan
subordinate[d] the traditional redistricting criteria in service of achieving unfair
partisan advantage, and, thus, violate[d] the Free and Equal Elections Clause of the
Pennsylvania Constitution.” Id. at 821. The Court added that “[s]uch a plan, aimed
at achieving unfair partisan gain, undermines voters’ ability to exercise their right to
vote in free and ‘equal’ elections if the term is to be interpreted in any credible way.”
Id.
             In sum, the LWV II decision provides that any congressional
redistricting plan must meet the above traditional redistricting criteria to establish
compliance with the Free and Equal Elections Clause of the Pennsylvania
Constitution. Our Supreme Court again reiterated this principle in its per curiam
opinion and order in League of Women Voters v. Commonwealth, 181 A.3d 1083,
1085, 1087 (Pa. 2018) (LWV III), in which it adopted the 2018 Remedial Plan that it
prepared based on the submissions of the parties, intervenors, and amici, and which
it determined met all of the traditional redistricting criteria. All the Parties in the
instant matter, as well as all Amicus Participants, generally agree that this Court’s
consideration of the dozen or more maps submitted is governed, at least initially, by
the traditional redistricting criteria espoused in LWV II and III.
             This Court notes, however, that while the LWV II case dealt with a
challenge under the Free and Equal Elections Clause of article I, section 5 of the
Pennsylvania Constitution, Pa. Const. art. I, §5, with which any congressional
districting plan must now comply, the challenge in that case was made in the context


                                           28
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 35 of 228




of an already-enacted congressional redistricting plan (the 2011 Plan) that had been
passed by the state legislature and signed into law by the governor and was
predicated on claims that the plan was violative of article I, section 5 because of
partisan political gerrymandering and the resultant deliberate dilution of
individuals’ votes. Such is not the case here. The Court again recognizes the
Supreme Court’s pronouncement in LWV II that an essential part of an inquiry into
whether a congressional redistricting plan violates the Free and Equal Elections
Clause requires an examination of whether the congressional districts created under
a redistricting plan meet the “neutral benchmarks” of compactness, contiguity,
minimization of the division of political subdivisions, and maintenance of
population equality among congressional districts, and that other factors have
historically been considered but are, generally, “wholly subordinate to the neutral
criteria[.]” LWV II, 178 A.3d at 816-17. However, the LWV II Court had no
occasion to consider other historical factors at length, such as communities of
interest, as the constitutionality of the already-enacted map at issue in that case was
“resolved solely on the basis of consideration of the degree to which neutral criteria
were subordinated to the pursuit of partisan political advantage[,]” which was
essentially apparent on the face of the 2011 Plan and supported by the evidence in
that case, but which is not specifically at issue in the instant case. Id. at 817-18
(emphasis added).     We also point out the LWV II Court’s observation that
advancements in map drawing technology and analytical software was possible and
that such advancements could “potentially allow mapmakers, in the future, to
engineer congressional districting maps, which although minimally comporting with
these neutral ‘floor’ criteria, nevertheless operate to unfairly dilute the power of a
particular group’s vote for a congressional representative[,]” and that the Court


                                          29
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 36 of 228




declined to address “the possibility of such future claims.” Id. at 817. Thus,
although not explicitly stated, it appears the Court left the door open for
consideration of other historically subordinate factors where the “neutral criteria”
have in fact likely been met in the first instance with the help of map drawing
technology and other analytical software, a situation that has now come to fruition
in this case of apparent first impression.
             In the instant matter, the General Assembly passed House Bill 2146,
Printer’s Number 2541 (HB 2146) containing a reapportionment plan based on the
2020 Census results, which was approved by both the House and the Senate in due
course. However, because Governor Wolf vetoed HB 2146, as will be discussed
infra, HB 2146 was not adopted as an act with statewide support. See Pa. Const. art.
IV, §15 (providing that “[e]very bill which shall have passed both Houses shall be
presented to the Governor; if he approves he shall sign it, but if he shall not approve
he shall return it with his objections to the House in which it shall have originated .
. .”). Moreover, all Parties and Amicus Participants in this case agree that the existing
2018 Remedial Plan, drawn by the Supreme Court in 2018, no longer complies with
the constitutional requirement of an equal number of citizens in each congressional
district, due to the decrease in the number of Pennsylvania’s congressional districts
from 18 to 17. Therefore, the Supreme Court is tasked not with considering an
already-enacted congressional redistricting plan that is alleged to be the result of
partisan political gerrymandering as in LWV II, but rather, with (1) declaring
unconstitutional the existing and now, based on the 2020 U.S. Census, undisputedly
malapportioned 2018 Remedial Plan drawn by our Supreme Court; (2) comparing
and evaluating the dozen or more different plans timely submitted by the Parties and
Amicus Participants; and, in accordance with the Supreme Court’s instruction, (3)


                                             30
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 37 of 228




recommending a valid reapportionment plan that this Court believes comports with
the federal and state constitutional requirements outlined above. This case is,
therefore, more comparable to Mellow, 607 A.2d 204, which the Supreme Court
mentioned only in passing in its LWV II decision. See LWV II, 178 A.3d at 822.


              2.     Mellow (one person, one vote; VRA; other considerations)
              In Mellow, this Court was confronted with a similar scenario in which
the results of 1990 U.S. Census reduced Pennsylvania’s share of U.S. House
members from 23 to 21 members, a net loss of two seats/districts, thus requiring the
Commonwealth to reapportion its congressional district plan. Like in the instant
matter, the General Assembly failed to enact a 21-district congressional
reapportionment plan, which prompted eight Democratic State Senators to file suit
against state election officials in this Court’s original jurisdiction, requesting that the
Court declare the existing congressional reapportionment law unconstitutional under
Article I, Section 2 of the U.S. Constitution; enjoin implementation of the
congressional election schedule until a valid plan could be adopted; and adopt a valid
reapportionment plan if the General Assembly failed to enact one. This Court held
a prompt hearing, after which a judge of this Court preliminarily enjoined
implementation of the then-current election schedule on the basis that the existing
23-district apportionment plan was unconstitutional, directed all parties and
intervenors to submit their proposed apportionment plans to this Court by a certain
date, and advised that the Court would select a plan if one was not enacted.
              The General Assembly failed to enact a plan. This Court therefore
directed that final hearings be held for the purpose of receiving evidence and
considering all timely submitted proposed plans. The Supreme Court assumed


                                            31
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 38 of 228




plenary jurisdiction over the matter upon at the request of the plaintiffs, and
designated President Judge Craig of this Court as Master to conduct hearings and
create an evidentiary record and submit a recommended decision to the Supreme
Court. Following three days of hearings before this Court, Judge Craig submitted
his findings recommended decision approving one of the plans (Plaintiffs’ No. 2)
submitted by the eight Democratic State Senator plaintiffs. Ultimately, following
the filing of exceptions to the recommended decision and argument thereon, the
Supreme Court adopted Judge Craig’s findings and recommended decision, along
with his revised election calendar, and dismissed all exceptions.
             For purposes of identifying a manageable standard by which this Court
may judge the dozen or more maps timely submitted by the Parties and Amicus
Participants in this matter and make a recommendation, Judge Craig’s recommended
decision, attached to the Supreme Court’s decision as Appendix A, will first be
discussed and then the Supreme Court’s decision adopting Judge Craig’s
recommendation.
             In his recommended decision, Judge Craig compared and evaluated the
following six timely submitted reapportionment plans in his recommended decision:
                  Plaintiffs’ No. 1 and 2;
                  O’Donnell A and O’Donnell B (submitted by the Speaker of the
                   Pensnylvania House of Representatives and seven other
                   Democratic House members);
                  Murtha-McDade Plan (a bipartisan plan submitted by a United
                   States Congressman and nine other incumbent members of
                   Pennsylvania’s congressional delegation); and




                                         32
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 39 of 228




                   Loeper 1 (submitted by the Pennsylvania State Senate Majority
                    Leader and five other Republican State Senators).
Mellow, 607 A.2d at 206.
             Prior to considering the proposed plans, Judge Craig laid out the
controlling constitutional principles governing his analysis.           Specifically, he
discussed the federal constitutional “one person, one vote” principle embodied in
Article I, Section 2, of the U.S. Constitution, which provides that U.S. “House of
Representatives shall be . . . chosen . . . by the People of the several States” and
“apportioned among the several States . . . according to their respective Numbers.”
U.S. Const. art. I, §2, cls. 1 and 3. Judge Craig observed that, in applying Article I,
Section 2, the U.S. Supreme Court has held “that the goal is to make ‘as nearly as
practicable one man’s vote in a congressional election . . . worth as much as
another’s[,]’” and that such “requirement is the ‘preeminent if not the sole, criterion’
for appraising the validity of redistricting plans.” Mellow, 607 A.2d at 214 (citing
Wesberry v. Sanders, 376 U.S. 1 (1964), and Chapman v. Meier, 420 U.S. 1 (1964)).
Judge Craig further recognized that “[t]he United States Supreme Court has declined
to adopt any particular deviation figure as the maximum deviation per se
allowable[,]” and that “[p]opulation variances among districts must be justified.”
Mellow, 607 A.2d at 214 (citing Kirkpatrick v. Preisler, 394 U.S. 526 (1969). As
Judge Craig noted, “a plan is not per se unconstitutional just because a smaller
deviation could be achieved.” Mellow, 607 A.2d at 214 (emphasis added) (citing
Karcher v. Daggett, 462 U.S. 725 (1983)).
             Judge Craig defined “maximum total deviation” as “the sum of the
percentage by which . . . [the] most populous district . . . exceeds the ideal district
population . . . and the percentage by which . . . the least populous . . . [is] below this


                                            33
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 40 of 228




ideal[,]” and he noted various maximum deviations that had previously been
accepted (0.149%, 0.2354%, 0.399%) or rejected (5.97% and 0.284%) in then-recent
years. Mellow, 607 A.2d at 214-15 (quoting Board of Estimate v. Morris, 489 U.S.
688 (1989)). He observed that while the Murtha-McDade Plan achieved “the
ultimate of equality with a maximum deviation of 0.0000017%, consisting of a
difference of just one person out of 565,793[,] [d]epartures from such mathematical
perfection, according to the federal courts, are justified only to advance the cause of
equality realistically in the following respects:

      - avoiding fragmentation of local government territories and splitting
        of election precincts;

      - effectuating adequate representation of a minority community;

      - creating districts which are compact and contiguous;

      - maintaining relationships of shared community interests; and

      - not unduly departing from the useful familiarity of existing
        districts[.]

Mellow, 607 A.2d at 215 (citations omitted).
             Judge Craig then stated that he must consider all plans “on the same
footing,” as we must do here. In doing so, he considered the following items, which
the Court quotes in full:

             Column 1—Identification of Plan: In addition to the record name
             for each plan, this column identifies the specific legislative bills,
             if any, which have substantially embodied the plan in the General
             Assembly. None of the listed bills was passed by both houses.

             Column 2—Maximum Deviation: As defined above, this
             percentage figure is the sum of the percentage by which the most
             populous district exceeds the ideal equality number, plus the

                                          34
Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 41 of 228




      percentage by which the least populous district falls below that
      ideal number.

      Column 3—Average Deviation: The mean figure which reflects
      an average of the percentage deviations for all 21 districts in the
      respective plan.

      Column 4—Split Municipalities: Remembering that the term
      “municipality” includes counties, as well as cities, boroughs and
      townships in Pennsylvania, 1 Pa.C.S. § 1991, this column gives
      a count of the municipalities to which more than one of the
      proposed districts of the plan applies. This column treats
      Philadelphia as a county rather than a city.

      Column 5—Split Election Precincts: Although a voting unit in
      Pennsylvania is officially termed an “election district,” 25 P.S. §
      2602(g), the table and the record here use, for the same concept,
      the term “precinct” in order to avoid confusion with the
      congressional “districts” which are the principal subject matter
      of this proceeding.

      Columns 6, 7—African–American Population of District
      1: These columns relate to the potentiality of a second
      congressional district with an African–American majority
      population, which would be in addition to Congressional District
      2, which all plans recognize as presently being a majority
      African–American district in Philadelphia. Column 6 gives the
      African–American population percentage of the respective
      proposed district, and Column 7 gives the percentage of voting
      age African–American population in the proposed district.

      Column 8—Regional Communities of Interest: This column
      indicates those plans which recognize the community-of-interest
      relationships established by the evidence (discussed below) as to
      (1) Lehigh Valley’s long-standing joinder of Lehigh and
      Northampton Counties in one congressional district, (2) Berks
      and Schuylkill Counties’ long-standing joinder in one
      congressional district, (3) keeping Bucks County in one
      congressional district, and (4) retention of Carlisle and adjacent
      municipalities such as North Middleton Township, in
      Cumberland County, within the 19th Congressional District.


                                  35
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 42 of 228




             Column 9—Estimates of Party Balance of Seats: Based solely on
             party registration statistics, this column gives the number of
             congressional seats thus projected for each party with respect to
             each plan across the state.

             Because the criterion of compactness and contiguity involves
             visual inspection of a graphic presentation of the shape of a
             congressional district, that factor cannot be reflected by means of
             the tabulation in Finding No. 16, but must be considered
             separately.

Id. at 215-16.
             In comparing and contrasting the plans, Judge Craig first considered the
mathematical exactitude of the Murtha-McDade Plan in terms of the equal
population requirement, with a maximum deviation of 0.0000017%, but rejected it
given its split of 22 election precincts and 27 local governments, noting that “a
serious election administration problem arises from requiring the voters in a single
precinct to look to two different sets of congressional candidates.” Id. at 218. He
then determined that all of the proposed plans were acceptable in terms of population
equality, and that he would have to consider other criteria in evaluating the plans
further.
             In particular, Judge Craig noted that, “[w]hen possible, an increase in
the number of minority-in-the-majority districts is constitutionally required.” Id. at
219 (citing Gingles, 478 U.S. 30, and other cases). “Minority voting should be
maximized as much as possible.” Mellow, 607 A.2d at 219 (citing Jeffers v. Clinton,
730 F. Supp. 196 (1989)).        Given the 9% African-American population of
Pennsylvania at the time, Judge Craig noted that there was “a potential for two
African-American majority districts.” Mellow, 607 A.2d at 219. In so noting, Judge
Craig specifically considered Philadelphia, which he observed was, at the time, one
of the three Pennsylvania counties large enough to be split into more than one

                                         36
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 43 of 228




congressional district, and also the only majority African-American congressional
district (District 2), with about 81% African-American population. Id. He then
considered the “key question” of whether another African-American majority
congressional district could be mapped out of the then-adjoining District 1 by
including it in the adjoining City of Chester (which was then the only city in
Pennsylvania with an African-American majority of citizens), and in some small part
of the already-existing super-majority in District 1. Id. Determining that it could,
the issue in the case became one of what percentage of African-American population
was appropriate in each of the districts. Id. In placing considerable emphasis on the
percentages of African-Americans in each district, Judge Craig considered which of
the plans before him created a second African-American minority-majority district
(i.e., District 1), while also simultaneously maintaining a substantial majority
population of African-Americans in District 2. Id. at 219-20. Ultimately, Judge
Craig found that Plaintiffs’ Plans Nos. 1 and 2 came closest to achieving as much,
with 52.4% African-American population in District 1 and 62.242% in District 2,
both above 50%, while all of the other plans kept District 2’s percentage higher at
the cost of achieving a lower African-American population in District 1 and thus
risking the District 1 minority group’s effectiveness. Id. Despite arguments made
to the contrary, and given the absence of any supporting evidence, Judge Craig
rejected the notion that a particular percentage of a minority was required in a
minority-majority district in order to preserve that group’s effectiveness. Id. at 220.
             “On the basis of deviations from equality minimized as much as
possible, with a lessened administrative problem as a result of minimal precinct
splitting, and embodiment of a potential for two African-American majority
districts,” Judge Craig characterized Plaintiffs’ Plan No. 2 “as the leading prospect


                                          37
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 44 of 228




for approval[,]” and advised that the next step in the inquiry must be “salient regional
concerns, as voiced in th[e] record[.]” Id. at 220. In so doing, Judge Craig observed
the following concerns established by the undisputed testimony and other evidence
before him: a certain township’s desire that it be kept entirely within its county in a
particular congressional district; certain counties have been together within a single
district since 1972, and share a valley, circulation arteries, common news media, and
organizational and cultural ties, which have a unifying influence on the valley area;
two counties share community of interest in a common economic base, circulation
arteries, and schools of higher education, among other things; an affinity of two
townships in a county with other communities in one district as opposed to another;
and the City of Pittsburgh having more commonality with certain suburbs as opposed
to others. Id. at 220-24. Judge Craig concluded that Plaintiffs’ Plans Nos. 1 and 2
were the only plans that substantially satisfied the regional concerns identified by
the evidence.
             Having considered the above factors, Judge Craig ultimately
recommended Plaintiffs’ Plan No. 2, which had a greater maximum deviation than
the mathematically exact Murtha-McDade Plan, because the proponents of the plan
showed that the variance between the districts was necessary to achieve the
legitimate goals of minimally splitting precincts, achieving an enlarged number of
two congressional districts with a majority of African-American population, and
implementing the community-of-interest factors in those regions across the state that
had identified them. Id. at 224.
             In its opinion adopting Judge Craig’s recommendation, the Supreme
Court observed that Judge Craig properly considered the federal law requiring that
congressional districts be equal in population to the greatest practical extent, and that


                                           38
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 45 of 228




slight departures from mathematical perfection have been justified by federal courts
only to advance the cause of equality in terms of “avoiding fragmentation of local
government territories and the splitting of election precincts; effectuating adequate
representation of a minority group; creating compact and contiguous districts;
maintaining relationships of shared community interests; and not unduly departing
from the useful familiarity of existing districts.” Id. at 206.
             In addressing, and rejecting, a challenge to Judge Craig’s selection of
Plaintiffs’ Plan No. 2 based on its higher maximum total deviation than other plans,
the Supreme Court observed that the U.S. Constitution requires only that “districts
be apportioned to achieve population equality ‘as nearly as is practical.’” Id. at 207.
The Court identified a two-part test for determining whether the maximum total
deviation of a plan satisfies the “one person, one vote” principle: “First, the party
challenging a redistricting plan must show that ‘the population differences among
districts could have been reduced or eliminated altogether by a good-faith effort to
draw districts of equal population.’”; However, “‘a plan is not per se unconstitutional
just because a smaller population deviation could be achieved.’” Id. The Court then
observed that “the existence of plans with smaller deviations simply obligates a court
to apply the second part of the test, i.e., to ask whether the proponent of the plan can
show that ‘each significant variance between districts was necessary to achieve some
legitimate goal.’” Id. The Court also identified state objectives found to be
legitimate, including making districts compact, respecting municipal boundaries,
preserving cores of prior districts, and avoiding contests between incumbent
representatives. Id. (citing various cases). Moreover, the Court observed that Judge
Craig properly held that extremely small deviations in district populations may be
justified by, inter alia: a desire to avoid splitting of political subdivisions and


                                          39
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 46 of 228




precincts, to provide adequate representation to a minority group, and/or to
preserve communities of interest. Id. at 208.
            The Supreme Court also agreed with Judge Craig that Plaintiffs’ Plan
No. 2 best protected minority voting rights. In so doing, it observed that “[t]he
primary tool for preventing minority voting dilution is Section 2 of the [VRA, 52
U.S.C. §10301, formerly 42 U.S.C. §1973],” which prohibits the state from denying
or abridging individuals’ right to vote based on race. Mellow, 607 A.2d at 208-09.
The Court noted that “there is no legal requirement either in the courts of the
Commonwealth or the federal courts,” that a redistricting plan have a specific
percentage of African-American total population to satisfy Section 2, and rejected
any arguments to the contrary. Id. at 210. Further, citing Gingles, the Court noted
that many of the plans diluted the voting strength of African-American voters by
concentrating those voters into one African-American district at the expense of
voters in another African-American district. The Court then noted that while
incumbency protection can be considered, “it may not be accomplished at the
expense of minority voting potential.” Mellow, 607 A.2d at 210. Finally, the Court
identified two other factors for consideration:     political fairness, in terms of
achieving a politically fair balance in Pennsylvania’s delegation and dividing the
loss of two seats evenly; and minimizing municipality and precinct splitting. Id.
Because Plaintiffs’ Plan No. 2 met these requirements, the Court adopted Judge
Craig’s recommendation.
            Turning to the instant matter, the question, as this Court understands it,
is what Judge Craig aptly identified in Mellow as which of the dozen or so proposed
plans timely submitted to this Court for consideration comes closest to meeting all
of the pertinent constitutional standards, outlined above, including those


                                        40
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 47 of 228




“subordinate” standards identified by LWV II, which this Court must now apparently
consider given that most plans appear to at least minimally meet the “traditional
redistricting criteria” on account of advances in map drawing technology and other
analytical software.


      C.     Other Considerations
             A.       Voting Rights Act
             As noted in Mellow, Pennsylvania is subject to section 2 of the VRA,
52 U.S.C. §10301. See Mellow, 607 A.2d at 208-10. Subsection 2(a) of the VRA
prohibits any state law “which results in a denial or abridgement of the right of any
citizen of the United States to vote on account of race or color . . . .” 52 U.S.C.
§10301(a). Subsection 2(b) provides that a violation of subsection (a) is established,
based upon the totality of the circumstances, if “it is shown that the political
processes leading to nomination or election in the State or political subdivision are
not equally open to participation by members of a class of citizens” referred to in
subsection (a), “in that its members have less opportunity than other members of the
electorate to participate in the political process and to elect representatives of their
choice.” 52 U.S.C. §10301(b).
             As it concerns the redistricting process, the U.S. Supreme Court has
recently explained:

             A State violates [section] 2 [of the VRA] if its districting
             plan provides “‘less opportunity’” for racial minorities
             “‘to elect representatives of their choice.’” League of
             United Latin American Citizens v. Perry, 548 U.S. 399,
             425 . . . (2006) (LULAC). In a series of cases tracing back
             to . . . Gingles, 478 U.S. 30 . . . , we have interpreted this
             standard to mean that, under certain circumstance, States
             must draw “opportunity” districts in which minority

                                          41
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 48 of 228




             groups form “effective majorit[ies],” LULAC, supra, at
             426 . . . .

Abbott v. Perez, 138 S. Ct. 2305, 2315 (2018).
             The circumstance in which a state must draw such opportunity districts,
the Supreme Court has explained, is established by three findings derived from the
Court’s opinion in Gingles. The so-called “Gingles requirements” are: (1) a racial
minority group that is “sufficiently large and geographically compact to constitute a
majority in a single-member district”; (2) that the racial group is “politically
cohesive”; and (3) that “the white majority votes sufficiently as a bloc to enable
it . . . usually to defeat the minority’s preferred candidate.” Gingles, 478 U.S. at 50-
51; see also LULAC, 548 U.S. at 425.
             2.     Deference to Legislature
             The plan submitted by the Republican Legislative Intervenors is
actually HB 2146. The Republican Legislative Intervenors asked this Court to give
their proposed plan special deference because that plan was passed in the General
Assembly on January 24, 2022. As such, the Republican Legislative Intervenors
correctly note it went through the standard requirements for the making of any map.
As stated earlier, it is the legislature who has the responsibility to draw a map. The
plan was drawn by a well-known nonpartisan citizen, Amanda Holt, and it was vetted
by the public in due course of its consideration before being adopted, with minor
changes by the House and Senate. The Bill was then vetoed by the Governor.
             Some state and federal courts have declined to accord deference to a
map that made it only partway through the legislative process but failed to become
law. See, e.g., O’Sullivan v. Brier, 540 F. Supp. 1200, 1202 (D. Kan. 1982) (three-
judge court) (“[W]e are not required to defer to any plan that has not survived the
full legislative process to become law.”); Carstens v. Lamm, 543 F. Supp. 68, 79 (D.

                                          42
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 49 of 228




Colo. 1982) (three-judge court) (explaining that a vetoed legislative plan “cannot
represent current state policy any more than the Governor’s proposal”); Hippert v.
Ritchie, 813 N.W.2d 379, 380 n.6 (Minn. 2012) (“[B]ecause the Minnesota
Legislature’s redistricting plan was never enacted into law, it is not entitled to . . .
deference.”); Wisconsin State AFL-CIO v. Elections Board, 543 F. Supp. 630, 632
(E.D. Wis. 1982) (three-judge court). Other courts, however, have given deference
to plans enacted by the legislature even though they were vetoed by the governor.
See Donnelly v. Meskill, 345 F. Supp. 962 (D. Conn. 1972) (adopting the
legislature’s proposed plan, explaining that “[t]he legislative adoption of
[redistricting plan] tips the scales in favor of the plan . . . which provides districts
essentially as outlined by the legislature . . .” and observing that the plan had “the
added advantage that it is basically the plan adopted by the legislature”). The U.S.
Supreme Court has also opined on this issue holding that a federal district court erred
by displacing “legitimate state policy judgments with the courts own preference” by
neglecting a recently enacted, but not precleared plan by the Department of Justice,
legislative redistricting plan. Perry v. Perez, 132 S. Ct. 934, 941 (2012). In Upham
v. Seamon, 456 U.S. 37 (1982) (per curiam), the U.S. Supreme Court held that
district courts are not free to disregard the political program of state legislatures
when fashioning reapportionment plans.
             At this juncture, the Court will review HB 2146 along with the other
plans submitted to the Court to assess its compliance with the constitutional
traditional criterial factors adopted in LWV II, as well as other non-constitutional
factors.

   IV.     COMMONWEALTH COURT PROCEEDINGS AND
           RECOMMENDED FINDINGS OF FACTS AND CONCLUSIONS
           OF LAW


                                          43
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 50 of 228




     A. The Plans Presented by the Parties and Amicus Participants

             FF1. The following plan was submitted by the Carter Petitioners. See
Carter Petitioners’ Brief (Br.) in Support of Proposed Congressional Redistricting
Plan, Exhibit (Ex.) 2.




                                       44
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 51 of 228




            FF2. The following map, self-described as the “Math/Science Map,”
was submitted by the Gressman Petitioners. See Br. in Support of Gressman
Math/Science Petitioners’ Congressional Plan, Ex. 2, at 1.




                                        45
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 52 of 228




            FF3. The following plan, developed by the Governor’s Office, was
submitted by Governor Wolf.    See https://www.governor.pa.gov/congressional-
districts-map-proposals.




                                     46
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 53 of 228




              FF4.    The following plan, which is embodied in HB 2146, was
submitted by the Republican Legislative Intervenors (House and Senate). See Pre-
Hearing Opening Br. of Senate Republican Intervenors, at PDF p. 181, Appendix
(App.) C to John M. Memmi, Ph.D. Expert Report (Memmi Report); Corrected
Opening Br. of House Republican Intervenors in Support of Proposed Congressional
Redistricting Map, Ex. I, Ex. 1.




              FF5. On December 8, 2021, House Bill 2146, Printer’s Number 2491
was introduced and referred to the House State Government Committee. See Bill
History.42
              FF6. House Bill 2146, Printer’s Number 2491 embodied a 17-district
congressional redistricting plan that a citizen and good-government advocate,
Amanda Holt, had created on her own.              Corrected Opening Brief of House

       42
               See        Bill      History        for       HB      2416,     available at
https://www.legis.state.pa.us/cfdocs/billinfo/bill_history.cfm?syear=2021&sind=0&body=H&ty
pe=B&bn=2146 (last visited Feb. 1, 2022).
                                            47
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 54 of 228




Republican Intervenors, Ex. A, Grove Letter (Jan. 6, 2022) (Grove Letter); Ex. I,
Affidavit of Bill Schaller.
             FF7. On December 15, 2021, the Bill was reported out of the House
State Government Committee, as amended, as HB 2146, Printer’s Number 2541 (HB
2146), and was brough up for first consideration on the same date. See Bill History.
             FF8. HB 2146 was made available for public comment, engendering a
total of 399 comments. See Grove Letter.
             FF9. Those comments led to some additional changes to the bill that
were designed to increase the compactness of certain districts and ensure that certain
communities of interest were preserved. Id.
             FF10. The Bill was brought up for second consideration on January 11,
2022, and, on January 12, 2022, the Pennsylvania House of Representatives passed
HB 2146 by a 110-91 vote and referred it to the Senate State Government Committee
for consideration. See Bill History.
             FF11. HB 2146 was reported out of the Senate State Government
Committee on January 18, 2022, and was brought up for first consideration on that
same date. See Bill History.
             FF12. HB 2146 was brought up for second consideration by the full
Senate on January 19, 2022. Id.
             FF13. On January 24, 2022, HB 2146 was referred to the Senate
Appropriations Committee, reported out of the committee, brought up for third
consideration, and passed in a 29-20 vote. Id.
             FF14. Also on January 24, 2022, HB 2146 was presented to Governor
Wolf, who subsequently vetoed the bill on January 26, 2022. See Bill History.




                                         48
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 55 of 228




            FF15. Two following plans were submitted by the Senate Democratic
Caucus Intervenors. See Senate Democratic Caucus’ Br. in Support of Senate
Democrats’ Caucus’ Proposed Redistricting Plan, Ex. A (Map 1) and (Map 2).



                  (a)   Senate Map 1




                                       49
Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 56 of 228




            (b)   Senate Map 2




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     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 57 of 228




            FF16. The following Plan was submitted by House Democratic Caucus
Intervenor McClinton. See Br. of House Democratic Caucus Intervenor McClinton
in Support of Proposed Congressional Redistricting Plan, uploaded to SharePoint as
Ex. (unnumbered).




                                       51
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 58 of 228




            FF17. The following two Plans were submitted by the Congressional
Intervenors. See Br. of Congressional Intervenors, Ex. A (Map 1) and Ex. B (Map
2).

            1.    Reschenthaler 1




                                      52
Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 59 of 228




      2.    Reschenthaler 2




                               53
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 60 of 228




            FF18. The following plan was submitted by Amici Voters of the
Commonwealth (Voters of PA).          See Br. of Amici Curiae Voters of the
Commonwealth in Support of Their Proposed Plan, Ex. A, Sean Trende Expert
Report (Trende Report), App. 2.




            FF19. The Voters of PA are a group of Pennsylvania voters who
specify that they intend to advocate and vote for Republican candidates in upcoming
elections and view themselves as a “mirror image” of the Carter Petitioners. See
Voters of PA Br. at 1.




                                        54
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 61 of 228




            FF20. The following Plan was submitted by Amici Draw the Lines PA.
See Proposed Redistricting Plan and Supporting Statement of Amici Curiae Draw
the Lines PA Participants (Draw the Lines PA Br.), Ex. A, at 1.




            FF21. Draw the Lines PA is a nonpartisan education and engagement
initiative of the Committee of Seventy, a nonpartisan civic leadership organization,
which has organized district mapping competitions among Pennsylvania’s citizens.
See Draw the Lines PA Br., at 3.




                                        55
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 62 of 228




             FF22. The following plan was submitted by Khalif Ali et al. See Br.
of Amici Khalif Ali et al. (Ali Br.), Sarah Andre Expert Report (Andre Report), Ex.
2, at 1.




             FF23. Amicus Participants Khalif Ali et al. (Ali Amici), used Governor
Wolf’s plan as a starting point. (Ali Br. at 1 n.1.)
             FF24. The Ali Amici are individual voters who are members of various
advocacy groups, such as Common Cause Pennsylvania, the Voter Empowerment
Education and Enrichment Movement, Fair Districts PA, and chapters of the League
of Women Voters. (Ali Br. at 3-9.)
             FF25. The Ali Amici advocate for the use of population data (Data Set
#2), which has been adjusted to use the home addresses of state prisoners, so as to
avoid the practice of “prison-based gerrymandering.” (Ali Br. at 9.)




                                          56
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 63 of 228




             FF26. The following plan was submitted by Amici Citizen Voters. See
Amicus Participants’ (“Citizen-Voters”) Proposed Remedial Map of Congressional
Districts (Citizen Voters Br.), Ex. A.




                                         57
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 64 of 228




   B. Evidentiary Hearing
             Hearings were conducted on January 27 and 28, 2022. Six experts
offered expert testimony and were subjected to cross-examination by every other
Party. Each of the Parties was given one hour to conduct a direct examination of
their expert witness. Cross-examination was limited to 15 minutes per Party, per
expert. The Court permitted each Party to make a 15-minute opening and a 15-20
minute closing statement and to submit post-trial submissions.


   C. Expert Reports and Testimony
      1.     Johnathan Rodden, Ph.D. (Carter Petitioners)
             FF.1    In support of their redistricting plan, the Carter Petitioners
presented the expert opinion of Jonathan Rodden, Ph.D.
             FF2.    Dr. Rodden is a professor of political science at Stanford
University, who specializes in research on the patterns of political representation,
geographic location of demographic and partisan groups, and the drawing of
electoral districts. (Rodden Report at 1-2.)
             FF3. Dr. Rodden has authored numerous academic papers concerning
the assessment of partisan gerrymandering, has authored a book on political districts
and representation, has testified as an expert witness in six previous election law and
redistricting cases across the country, and is currently working as a consultant for
the Maryland Redistricting Commission. (Rodden Report at 2.)
             FF4. Dr. Rodden prepared the Carter Petitioners’ proposed plan.
             FF5.     Pursuant to the Carter Petitioners’ request, Dr. Rodden
prioritized, to the extent possible, the preservation of the cores and boundaries of the
existing 18-district plan enacted in 2018. (Rodden Report at 1; N.T. at 84.)


                                          58
         Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 65 of 228




               FF6. Because Dr. Rodden prioritized this consideration more than
other parties, he was able to create a plan in which 86.6% of Pennsylvania’s
population would remain within the same district as under the existing plan—a
higher percentage than any other plan submitted to the Court. (Rodden Resp. Report
at 2; N.T. at 115-17.)
               FF7. With regard to the maintenance of the cores of the prior districts,
and with regard to the districting process generally, Dr. Rodden observed that an
important consideration is the population and demographic shifts that have occurred
in Pennsylvania over the past decade.
               FF8. During this time, the population of denser areas has increased,
and the population of more sparse areas has decreased—rendering population-dense,
metropolitan areas of southeast and southwest Pennsylvania even more dense, and
making less-dense rural areas even more sparse. (Rodden Report at 6-8; N.T. at 85-
87.)
               FF9. Dr. Rodden further noted that these population shifts are highly
correlated with political party, as the growing, population-dense areas tend to
contain voters who favor the Democratic party, and the rural areas that are losing
population tend to contain voters who favor the Republican party. (Rodden Report
at 9.)
               FF10. Dr. Rodden drew the Carter Petitioners’ plan to create 17
districts that are as close to equal in population as possible—deviating in population
by no more than one person. (Rodden Report at 21; N.T. at 98-100.)
               FF11. All of the other plans that Dr. Rodden reviewed also achieved
equal population. (N.T. at 100.)




                                           59
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 66 of 228




             FF12.   The Carter Petitioners’ plan, along with all of the others,
satisfied the contiguity requirement. (Rodden Report at 21; N.T. at 91.)
             FF13. As for compactness, Dr. Rodden focused upon two metrics that
received attention in the LWV decision—the Reock score and the Polsby-Popper
score.
             FF14. However, Dr. Rodden stressed that there is no single “best”
compactness measurement, as each captures slightly different aspects of a compact
district.
             FF15. The Polsby-Popper score, for instance, “rewards districts with
smooth perimeters and penalizes those with more contorted borders” that may
nonetheless follow municipalities or geographic features, and the Reock score “can
be sensitive to the orientations of a district’s extremities.” (Rodden Resp. Report at
3.)
             FF16. Dr. Rodden calculated that the Carter Petitioners’ plan has an
average Reock score of 0.46 and an average Polsby-Popper score of 0.32. (Rodden
Report at 22.)
             FF17. Dr. Rodden further reported a Schwartzberg compactness score
of 1.7, a Population Polygon score of 0.73, and a Convex Hull score of 0.78;
however, neither Dr. Rodden’s report nor his testimony detailed the method by
which these scores are computed, or their relative merits. (Rodden Report at 22.)
             FF18. Although Dr. Rodden evaluated the other parties’ plans for
compactness, he did not report the precise scores that he determined for each plan;
rather, he concluded that all of the plans fell within a fairly “narrow range” of
acceptable compactness scores. (Rodden Resp. Report at 3; N.T. at 93-94.)




                                         60
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 67 of 228




                FF19. With regard to political subdivision splits, Dr. Rodden drew the
Carter Petitioners’ plan so as to split 14 counties a total of 17 times, which he opined
as performing well in comparison with other plans. (Rodden Resp. Report at 4; N.T.
at 97.)
                FF20. With regard to other political subdivisions, Dr. Rodden reports
that the Carter Petitioners’ plan splits 20 a total of 23 times, which he opined was in
the middle of the distribution across the submitted plans. (Rodden Resp. Report at
4.)
                FF21. Although he did not report on the division of wards, Dr. Rodden
placed a unique focus on preferring not to split Voter Tabulation Districts (VTDs),
which are the geographic entity in which elections are administered on the local
level. (N.T. at 95-96.)
                FF22. The Carter Petitioners’ plan splits 14 VTDs. (Rodden Resp.
Report at 6.)
                FF23.   In discussing his splitting of districts, Dr. Rodden stated
generally, without much elaboration, that the Carter plan resolved problems that
were apparent in the 2018 Remedial Plan with regard to splits of State College.
                FF24.    When asked how the Carter plan respects communities of
interest, Dr. Rodden stated it was similar to minimizing jurisdictional splits, that it
would make sense to keep certain areas together, like Harrisburg, the Lehigh Valley,
and State College, and that he “attempted to avoid splitting apart those types of
communities.” (N.T. at 111-14.)
                FF25. Further, when asked about his overall conclusions about how the
Carter plan compares to the 2018 Remedial Plan, Dr. Rodden did not give a straight
answer, but testified that “the maps were very similar.” (N.T. at 114-15.)


                                           61
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 68 of 228




              FF26. Dr. Rodden explained that he did not expressly consider any
partisan or racial data when preparing the Carter Petitioners’ plan. (Rodden Report
at 23; N.T. at 117-18.)
              FF27. He testified that, after completing the plan, he evaluated its
partisan performance using various metrics.
              FF28. Principally, Dr. Rodden used precinct-level data from previous
statewide elections in 2016, 2018, and 2020 to establish the statewide vote share for
candidates from both the Democratic and Republican parties, and then used these
data to estimate the partisan outcomes that might be expected in the various districts
in the Carter Petitioners’ plan. (Rodden Report at 23-24; N.T. at 119.)
              FF29. Dr. Rodden concluded that these data suggest that the Carter
Petitioners’ plan produces 8 districts in which Democrats may be expected to win,
but one of which would likely be highly competitive; 8 districts in which
Republicans may be expected to win, but two of which would be potentially
competitive; and 1 district that was effectively a “toss-up.” (Rodden Report at 25.)
              FF30. In his response report and his testimony, Dr. Rodden elaborated
upon this analysis, opining that, although 10 of the districts facially lean Democratic
based upon the statewide vote share data, two of them are very close, but none of the
Republican-leaning districts were as close to “toss-ups”—meaning that the plan
“could easily lead to a 9-8 Republican majority.” (Rodden Resp. Report at 9; N.T.
at 121-28.)
              FF31. Dr. Rodden stressed that this sort of analysis does not allow
predictions to be made with certainty, particularly because it does not consider the
advantage often enjoyed by incumbents. (Rodden Resp. Report at 9-10; N.T. at 124-
28.)


                                          62
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 69 of 228




                FF32. With as many competitive districts as are exemplified by the
Carter Petitioners’ plan, Dr. Rodden opined, “a very small change . . . can turn what
appears to be a 10 to 7 District [one] way into very easily a 10 to 7 District the other
way.” (N.T. at 128.)
                FF33. Comparing the other proposed plans submitted to the Court, Dr.
Rodden opined that several appeared to be outliers in terms of their potential seat
distribution.
                FF34. Dr. Rodden believed that HB 2146, the Voters of PA Plan, and
the Reschenthaler 1 and 2 Plans produced lower numbers of Democratic-leaning
seats than the other plans. (Rodden Resp. Report at 10; N.T. at 131-32.)
                FF35. By contrast, he believed the House Democratic Caucus’ Plan
was an outlier in the other direction—producing more Democratic-leaning districts
than the others. Id.
                FF36. Dr. Rodden conducted one final measurement of the partisan
performance of the various plans—the mean-median difference.
                FF37. Dr. Rodden calculated the mean-median difference of the Carter
Petitioners’ plan to be 0.005. (Rodden Resp. Report at 11.)
                FF38. He observed that most of the plans exhibit very small mean-
median differences—close to zero—which indicates that most of the plans would
not be likely to produce “an unusual number of comfortable victories” for either
party. (N.T. at 134.)
                FF39. However, Dr. Rodden concluded that certain plans contained a
median district that is more Republican than the average: HB2146, the Voters of PA
Plan, the Citizen-Voters plan, and both Reschenthaler plans. (Rodden Resp. Report
at 10-11; N.T. at 135-36.)


                                          63
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 70 of 228




             FF40. On cross-examination, Dr. Rodden conceded that he did not
count splits of the six political subdivisions enumerated in the Pennsylvania
Constitution in his analysis, including wards, but did consider the division of VTDs,
which is not a factor in the Pennsylvania Constitution. (N.T. at 141-43.)
             FF41. Dr. Rodden further clarified that his calculation of mean-median
values was based upon data that were averaged across multiple elections, as opposed
to data that were drawn from individual election results. (N.T. at 144-45.)
             FF42. With respect to HB 2146 and the total county splits, Dr. Rodden
initially testified that HB 2146 was “one of the plans with one of the higher
numbers”; however, when it comes to VTD splits, he explained, “it is relatively low”
in comparison to the Carter plan. (N.T. at 148.)
             FF43. Dr. Rodden subsequently admitted, however, that he answered
the question incorrectly that HB 2146 had a high number of total county splits, and
corrected himself by stating that HB 2146’s number of counties split was “relatively
low” in comparison to the Carter plan. (N.T. at 149-50; see also Rodden Resp.
Report at 4, Table 2.)
             FF44. Dr. Rodden also appeared to admit that there may be a slight
discrepancy in his calculation of HB 2146’s total county subdivision splits (25 total
county subdivision splits) as compared to the Legislative Data Processing Center’s
tabulation of HB 2146’s total subdivision splits (18 total splits of the 16 political
subdivisions), but that such discrepancy was “probably due to something like” the
specific category and/or municipality terminology used. (N.T. at 151-53; see also
Rodden Resp. Report at 5, Table 3.)




                                         64
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 71 of 228




             FF45. Further, Dr. Rodden affirmed, according to his analysis, that the
Carter Plan had two “coin toss” districts, and that no other plan garnered more than
three “coin toss” districts. (N.T. at 155-57.)
             FF46.     Dr. Rodden also admitted that, despite having written
extensively about simulation analysis methodologies to measure partisan fairness in
the past, he did not conduct a simulation analysis in this case, although he was
capable of doing so, because “it didn’t occur to [him] that drawing a [sic] 100,000
other plans was something that [he] should do.” (N.T. at 157-59, 172.)
             FF47. When asked about his assessment that HB 2146 was an outlier
(i.e., not aligned with the statewide vote share) because it generated 8 expected
Democratic seats, and further, why the Carter Plan could not also be characterized
as an outlier in that it garnered 10 Democratic seats, Dr. Rodden explained that he
only based his assessment on a comparison to the other proposed plans in this case
and not the neutral simulations. (N.T. at 158-60.)
             FF48. Dr. Rodden additionally agreed that Reschenthaler Plans 1 and
2 meet the equal population requirement, are contiguous, are relatively compact, and
contain the least amount of split counties, among other splits. (N.T. at 164-70.)
             FF49. Further, Dr. Rodden confirmed that he only consider partisan
fairness broadly in his analysis, and did not consider vote dilution or
disenfranchisement. (N.T. at 183-84.)
             FF50. Dr. Rodden again acknowledged that he did not consider racial
data in his analysis, but stated that “it would make sense after drawing a plan to then
assess its compliance with the Voting Rights Act”; however, he explained he drew
the Carter Plan based on the 2018 Remedial Map and that “the districts in the




                                          65
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 72 of 228




surroundings of minority communities changed hardly at all in [his] plan[, which]
was the extent of his consideration of Voting Rights Act claims.” (N.T. at 190-91.)
                FF51. Finally, Dr. Rodden noted that “a good share of . . . simulations
end up in a range . . . that produces . . . partisan fairness . . . [, s]o it is not the case
that the human geography in Pennsylvania requires us to draw unfair districts.”
(N.T. at 192.)


   2. Professor Daryl DeFord (Gressman Petitioners)
                FF52. In support of their plan, the Gressman Petitioners offered the
expert opinion of Daryl R. DeFord, Ph.D.
                FF53. Dr. DeFord is an assistant professor of data analytics in the
Department of Mathematics and Statistics at Washington State University. (DeFord
Report at 1.)
                FF54.      Dr. DeFord’s work focuses upon the application of
combinatorial and algebraic techniques to the analysis of social data, particularly
political redistricting.
                FF55.   Dr. DeFord’s work on redistricting has been published in
numerous academic journals.
                FF56. Dr. DeFord has provided expert reports in connection with other
redistricting litigation, and he has contributed analysis to the Colorado Independent
Legislative Redistricting Commission. Id. at 1-2.
                FF57.      Dr. DeFord assessed the Gressman Petitioners’ plan for
compliance with the traditional districting criteria, and analyzed how it and the other
plans performed on those and numerous other metrics.




                                             66
        Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 73 of 228




                FF58. Dr. DeFord evaluated the plans for population equality, respect
for the boundaries of political subdivisions, compactness, contiguity, partisan
fairness, and the presence of minority opportunity districts. (DeFord Report at 5-6;
N.T. at 202.)
                FF59. With respect to population equality, Dr. DeFord determined that
the Gressman Petitioners’ plan achieved the best possible outcome, with a difference
of no more than one person between the largest and smallest districts in the plan.
(DeFord Report at 6-7; N.T. at 203-04.)
                FF60. Unlike some of the other experts, Dr. DeFord identified a minor
population discrepancy in two of the other plans—the Carter Petitioners’ plan and
the House Democratic Caucus’ Plan, both of which exhibited a maximum population
deviation of two persons, rather than one. (DeFord Resp. Report at 4; N.T. at 204.)
Dr. DeFord confirmed that all of the proposed plans satisfy the contiguity
requirement. (DeFord Resp. Report at 9.)
                FF61. With regard to the splitting of political subdivisions, Dr. DeFord
focused upon all six such subdivisions expressly listed in the Pennsylvania
Constitution and the League of Women Voters decision—counties, cities,
incorporated towns, boroughs, townships, and wards. (DeFord Report at 7; N.T. at
205.)
                FF62. Dr. DeFord evaluates this factor by considering both the number
of subdivisions that are split and the number of times that each subdivision is split
into “pieces.”
                FF63. For instance, a county that is split once will consist of two pieces,
while a county that is split twice will consist of three pieces. (DeFord Report at 8;
N.T. at 212.)


                                             67
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 74 of 228




                FF64. In performing his comparison of the plans, Dr. DeFord counted
“pieces” that are above the minimum number, i.e., not counting a whole county as
one piece, and excluded municipality pieces that are necessarily created by county
lines. (DeFord Resp. Report at 8.)
                FF65. According to Dr. DeFord, the Gressman Petitioners’ plan splits
a total of 15 counties into 17 pieces, which was less than all of the other plans except
the Reschenthaler plans, both of which split 13 counties into 16 pieces, and the Draw
the Lines Plan, which splits 14 counties into 16 pieces. (DeFord Resp. Report at 8,
27-28.)
                FF66.     Concerning municipalities—cities, incorporated towns,
boroughs, and townships—Dr. DeFord counted the total number of splits, but
excluded the municipality pieces that are created by county lines. (DeFord Resp.
Report at 8.)
                FF67. The Gressman Petitioners’ plan splits a total of 19 municipalities
into 17 such pieces, which was less than all other proposed plans except the Citizen-
Voters plan, to which it is equal on this measure. (DeFord Resp. Report at 8.)
                FF68. The Gressman Petitioners’ plan split 15 wards into 15 pieces,
which was also less than all other proposed plans except the Senate Democratic
Caucus’ Plan 2, which split 14 wards into 14 pieces. (DeFord Resp. Report at 8.)
                FF69. According to Dr. DeFord, adding together the total number of
split counties, cities, incorporated towns, boroughs, townships and wards for each
plan reveals that the Gressman Petitioners’ plan splits the fewest of all proposed
plans—49. (DeFord Resp. Report at 8.)




                                            68
        Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 75 of 228




              FF70. Similarly, totaling all of the pieces that Dr. DeFord reported for
each political subdivision similarly reveals that the Gressman Petitioners’ plan splits
the fewest—also at 49. (DeFord Resp. Report at 8.)
              FF71. This latter number is equaled by the Draw the Lines Plan.
(DeFord Resp. Report at 28; N.T. 213.)
              FF72.    With regard to compactness, Dr. DeFord evaluated the
Gressman Petitioners’ plan and all other proposed plans with four metrics—the
Reock score, the Polsby-Popper score, the Convex Hull Ratio, and the Cut Edges
measure. (N.T. at 215.)
              FF73. Dr. DeFord explained that the Convex Hull Ratio “measures
what proportion of the area of the area of the smallest convex shape containing the
district is filled by the district.” (DeFord Report at 17.)
              FF74. Like the Reock and Polsby-Popper scores, a higher Convex Hull
Ratio indicates a greater degree of compactness. (DeFord Report at 17.)
              FF75. Dr. DeFord explained that the Cut Edges measure “represents
the count of the number of adjacent units like wards or blocks that are not placed in
the same district.” (DeFord Report at 20.)
              FF76. Unlike the Reock score Polsby-Popper score, and Convex Hull
ratio, a lower Cut Edges measure indicates a greater degree of compactness. (DeFord
Report at 20.)
              FF77. Dr. DeFord testified that under the convex hull ratio, the map
proposed by the Governor and the first Reschenthaler map scored the best. (N.T. at
264.)
              FF78. Dr. DeFord also testified that these same two maps scored the
best under the cut edges metric. (N.T. at 264.)


                                           69
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 76 of 228




             FF79. Like Dr. Rodden, Dr. DeFord emphasized that each compactness
measure captures a different facet of the regularity of a shape or the notion of
“compactness,” so it is important to look at a variety of measures. (N.T. at 214.)
             FF80. For instance, the Polsby-Popper score “tends to prefer plans with
smooth-looking boundaries,” the Reock score “tends to prefer those that are more
circular in overall shape,” and the Convex Hull Ratio “prefers districts that do not
contain significant indentations or tendrils.” (DeFord Report at 18.)
             FF81. Dr. DeFord further explained that high compactness can result
in trade-offs with other important criteria, particularly maintaining political
subdivisions. (N.T. at 215-16.)
             FF82. For instance, Dr. DeFord highlighted that the decision to keep
all of the irregularly-shaped City of Pittsburgh within one district—which the
Gressman Petitioners’ plan does—will result in a lower Polsby-Popper score than a
plan that divides Pittsburgh and thereby creates smoother district boundaries that are
preferred by that metric. (DeFord Report at 20-21; N.T. at 216-17.)
             FF83. Notwithstanding its decision to keep Pittsburgh whole, Dr.
DeFord opined that the Gressman Petitioners’ plan performed well on compactness
and that its scores were quite good. (N.T. at 218.)
             FF84. Dr. DeFord calculated an average Polsby-Popper score of 0.333,
an average Reock Score of 0.395, an average Convex Hull Ratio of 0.799, and a Cut
Edges measure of 5,546 for the Gressman Petitioners’ Plan. (DeFord Report at 9.)
             FF85. Dr. DeFord further evaluated all of the proposed maps for
indications of partisan fairness.
             FF86. He explained that the measures used for this analysis are efforts
to model how a plan treats voters from the two major parties, and whether they are


                                         70
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 77 of 228




being treated equally; however, as with the other metrics, there is no single number
that reveals this. (N.T. at 218-19.)
             FF87. For all of these calculations, Dr. DeFord used election results
from 18 statewide general elections from 2012 to 2020 in order to obtain an array of
information about political geography and voter behavior. (DeFord Report at 22;
N.T. at 219-21.)
             FF88. Dr. DeFord first used a “majority responsiveness” metric, which
asks whether, for any given election, the party that won the majority of the statewide
vote share would also have been likely to win a majority of the congressional seats
under a given proposed districting plan. (DeFord Report at 24-25; N.T. at 223-24.)
             FF89. For the 18 elections considered, the Gressman Petitioners’ plan
produced 15 majoritarian outcomes, and out of the three that did not, two of those
outcomes favored Republicans and one favored Democrats. (DeFord Report at 29-
30; N.T. at 226.)
             FF90. This, in Dr. DeFord’s opinion, is a good indication that the
Gressman Petitioners’ plan treated Republican and Democratic voters equally. (N.T.
at 226.)
             FF91. Dr. DeFord opined that both Reschenthaler plans and HB 2146
both performed relatively worse on this metric, as they all produced five or more
counter majoritarian outcomes—all of which favored Republicans. (DeFord Resp.
Report at 11-12; N.T. at 226-27.)
             FF92. Like Dr. Rodden, Dr. DeFord also calculated the mean-median
difference for the proposed plans; however, Dr. DeFord did so using each of the 18
elections considered, rather than using average election data, which was employed
in LWV II.


                                         71
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 78 of 228




                FF93. Across all 18 elections, the Gressman Petitioners’ plan produced
mean-median values that remained close to zero, stayed within a small range,
favored both parties. (DeFord Resp. Report at 13; N.T. at 230-31.)
                FF94. By comparison, Dr. DeFord concluded that both Reschenthaler
plans, and HB 2146 scored lower on the mean-median metric, in that they had larger
values and produced only Republican-favoring results. (DeFord Resp. Report at 13;
N.T. at 231.)
                FF95.     Like the mean-median values, the efficiency gap for the
Gressman Petitioners’ plan across the 18 elections remained low, and had results
that favored both parties depending on the election considered. (DeFord Resp.
Report at 14; N.T. at 234-35.)
                FF96. Dr. DeFord also ran all of the proposed plans through the
PlanScore website,43 which is a website available to the public which provides
analysis and statistics of proposed districting plans, including partisan fairness
metrics such as the efficiency gap. (N.T. at 235-26.)
                FF97. According to Dr. DeFord on all of the metrics reported on
PlanScore, the Gressman Petitioners’ plan performed the best of all of the proposed
plans except for one measure—the Gressman Petitioners’ plan has an average
efficiency gap of 1.4% favoring Republicans, and the House Democratic Caucus’
Plan has a slightly smaller efficiency gap of 1.2% favoring Republicans. (DeFord
Resp. Report, App. D; N.T. at 236.)
                FF98. In light of all of these measures, Dr. DeFord opined that the
Gressman Petitioners’ plan performed the best of all proposed plans in terms of
partisan fairness. (N.T. at 238.)


      43
           https://planscore.campaignlegal.org/#!2020-ushouse (last visited 2/6/22)
                                                72
        Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 79 of 228




              FF99. Dr. DeFord further evaluated the plans for compliance with the
VRA, and concluded that the Gressman Petitioners’ plan created three minority
opportunity districts. (DeFord Report at 41-56; N.T. at 242-43.)
              FF100. Dr. DeFord also determined that the Gressman Petitioners’ plan
was the best possible in terms of avoiding incumbent pairings. (N.T. at 240.)
              FF101. On cross-examination, Dr. DeFord stated that, in his opinion,
a county is a more fundamental political unit than a borough, and it is therefore more
important to avoid a county split than a borough split. (N.T. at 250-51.)
              FF102. He acknowledged that he was not purporting to offer an opinion
on the Gingles factors under the VRA, and the statistics that he provided concerning
candidate win rates in Philadelphia suggested that minority-preferred candidates are
not usually defeated by white bloc voting. (N.T. at 283.)
              FF103. He further admitted that, although he considered the impact of
splitting Pittsburgh upon certain metrics, he did not consider the existence of any
communities of interest in the surrounding region. (N.T. at 314-15.)
              FF104. He testified that a districting plan can comply with neutral,
traditional districting factors but still be optimized for partisan advantage. (N.T. at
319.)
              FF105. Dr. DeFord agreed that House Bill 2146 splits the third least
pieces of any of the plans he studied. (N.T. at 269.)
              FF106. Dr. DeFord agreed that it is not absolutely necessary to split
the City of Pittsburgh in a plan. (N.T. at 270.)
              FF107. Dr. DeFord testified on cross examination that, applying the
majority responsiveness metric he used to measure partisan fairness, he would
consider a district potentially responsive if it elected at least one Republican and one


                                          73
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 80 of 228




Democrat, and that on that measure, House Bill 2146 has the most responsive
districts of the three that he studied. (N.T. at 271.)
             FF108. Dr. DeFord also agreed that the Governor’s Plan had the
highest number of “safe Democratic” districts of the three that he looked at. (N.T.
at 271.)
             FF109. Dr. DeFord also admitted that, while he criticized House Bill
2146 for having, anti-majoritarian outcomes on direct examination, virtually every
plan produces an anti-majoritarian outcome under the 2012 auditor election and the
2016 auditor election. (N.T. at 272.)
             FF110.     Dr. DeFord agreed that there is a partisan advantage to
Republicans based on the political geography of the state, and that it was not
necessarily a surprise to see a slight tilt favoring Republicans present in the fairness
metrics. (N.T. at 291.)
             FF111. Dr. DeFord admitted that he did not take into consideration any
communities of interest in his evaluation of the Gressman Plan or any other plan.
(N.T. at 314-15.)


3.     Dr. Moon Duchin (Governor Wolf)
             FF112. In support of his plan, Governor Wolf presented the expert
opinions of Dr. Moon Duchin, who is a Professor of Mathematics and a Senior
Fellow in the Jonathan M. Tisch College of Civic Life at Tufts University. (Notes
of Testimony (N.T.) 1/27/2022, at 325; Moon Duchin Expert Report (Duchin
Report), attached as Exhibit A of Governor Wolf’s Brief in Support of Proposed 17-
District Congressional Redistricting Plan, at 1.)




                                           74
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 81 of 228




             FF113. Dr. Duchin was a Guggenheim Fellow and the Evelyn Green
Davis Fellow, Radcliffe Institute for Advanced Study in 2018-19, and has published
numerous scholarly works about redistricting. (Duchin CV at 1, attached to Duchin
Report.)
             FF114.      Dr. Duchin is also the principal investigator of an
interdisciplinary research lab focused on geometric and computational and analytical
aspects of redistricting, as well as assessing characteristics of district maps. (N.T. at
325-26; Duchin Report at 1.)
             FF115. Dr. Duchin described her work, just in this election cycle, with
“various line-drawing bodies such as redistricting commissions, independent and
bipartisan commissions around the country which have brought [her] into call balls
and strikes as [she] see[s] it and try to put plans in the context in terms of metrics
trying to understand the alternatives and the political geography.” (N.T. at 325-26.)
             FF116. Dr. Duchin was retained by Governor Wolf to “evaluate several
maps that have been proposed as alternatives for Congressional redistricting in
Pennsylvania, and particularly to compare them in terms of traditional districting
principles and partisan fairness.” (Duchin Report at 1.)
             FF117. Dr. Duchin evaluated the Governor’s Plan and all of the other
12 plans submitted to the Court to determine which plans satisfied an “excellence
standard” with regard to the traditional redistricting criteria of LWV II; however, the
focus of her report was on the Governor’s plan, House Bill 2146, and what she
termed the Citizens’ Plan (i.e., the Draw the Lines PA Amicus Participants’ plan).
(N.T. at 326, 329; Duchin Report at 1-2; Duchin Resp. Report at 2.)




                                           75
        Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 82 of 228




              FF118. Dr. Duchin also included the Reschenthaler and Voters of PA
Plans in the various charts she created. (See generally Duchin Report; Response
Report at 2-3.)
              FF119. Dr. Duchin also performed an “ensemble analysis,” which
consisted of comparing 100,000 alternative plans that followed “the rules and
priorities of Pennsylvania redistricting[.]” (N.T. at 326-27; Duchin Report at 2.)
              FF120.    Dr. Duchin used numerous data sets, including the raw
decennial census data release, and two data sets released by the Commonwealth’s
Legislative Redistricting Commission. (N.T. at 331-32; Duchin Report at 1.)
              FF121. Dr. Duchin explained that she examined the maps under the
“big six” traditional or neutral redistricting principles, including population equality
under one person, one vote, minority opportunity to elect under the VRA, the
Constitution, compactness, contiguity, and respect for political boundaries and
communities of interest. (N.T. at 327-29; Duchin Report at 4-6.)
              FF122. Dr. Duchin also identified least change, incumbency
considerations, and partisan fairness/vote dilution. (N.T. at 328; Duchin Report at
6-7.)
              FF123. Dr. Duchin opined that all submitted plans “form quite well
across [the] range of different metrics” she considered, but that distinctions could be
made with respect to considering “tiers of adherence to the traditional principles.”
(N.T. at 330-31.)
              FF124. With respect to population balance under the one person,
one vote principle, and contiguity, Dr. Duchin testified that “[a]ll 13 plans are
contiguous, and all 13 plans are closely population-balanced for either Census PL
population[ i.e., the decennial census release,] or prisoner-adjusted population.”


                                          76
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 83 of 228




(Duchin Resp. Report at 2; N.T. at 331, 333; Report at 8 (noting that each plan has
a “top-to-bottom” population deviation of 1).)
                FF125. Dr. Duchin described contiguity as follows: “[c]ontiguity
requires that, for each district, it is possible to transit from any part of the district to
any other part, staying inside the district. That is, contiguity is the requirement that
each district be composed of a single connected piece.” (Duchin Report at 5.)
                FF126. Dr. Duchin explained, “the neutral criteria most relevant for
distinguishing the plans are compactness and respect for counties and
municipalities.” (Duchin Resp. Report at 2) (emphasis added).
                FF127.   Dr. Duchin explained that a plan’s compactness can be
measured in several ways, including the most commonly used metrics of the Polsby-
Popper score, which compares a region’s area to its perimeter via a mathematical
formula, and the Reock score, which she defined as “a different measurement of how
much a shape differs from a circle: it is computed as the ratio of a region’s area to
that of its circumcircle, defined as the smallest circle in which the region can be
circumscribed.” (Duchin Report at 5.)
                FF128. Dr. Duchin explained that higher scores for both types of scores
are better and are optimized at 1. Id. She also noted three additional metrics from
LWV II, including Schwartzberg, Convex Hull, and Population Polygon. (Duchin
Report at 5.)
                FF129. Dr. Duchin explained that “Schwartzberg is P/2√πA. Convex
Hull is the ratio of the district’s area to that of its convex hull, or ‘rubber-band
enclosure.’ and Population Polygon is the ratio of the district’s population to the
state’s population within the convex hull.” (Duchin Report at 5 n.3.)




                                            77
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 84 of 228




             FF130. As for respect for political boundaries, Dr. Duchin described
the principle as requiring that “counties, cities, and other relevant political and
administrative geographies should be kept intact in districts as much as practicable.”
(Duchin Report at 6; N.T. at 336.)
             FF131. Dr. Duchin explained that, particularly when comparing the
closely related principles of compactness and political subdivision splits, “there are
trade-offs, and that perhaps if you split one more county you can get a better
compactness score and so on. So these all reflect decisions about those tradeoffs.”
(N.T. at 338.)
             FF132.    With respect to compactness, and considering the above
metrics, Dr. Duchin opined that the Governor’s Plan is the most compact in five of
the metrics, in that it has the second best Polsby-Popper score (0.3808), the second
best mean Schwartzberg score (1.6534), the best mean Convex Hull score (0.8257),
the best mean Population Polygon score (0.7834), and the fourth best cut edges score
(5,185). (Duchin Report at 9; Resp. Report at 2, Table 1.; N.T. at 334-35.)
             FF133. The cut edges score “counts how many adjacent pairs of
geographical units receive different district assignments.” (Duchin Report at 6.)
             FF134. Dr. Duchin then opined that with respect for maintaining
political boundaries, all plans are within a range of 13 to 17 split counties, meaning
no plan averaged more than 1 county split per congressional district. (Resp. Report
at 2, Table 1.)
             FF135. Dr. Duchin further explained that any plan with fewer than 17
county splits is “really considered excellent” given that all are drawing 17
congressional districts, and that all plans are within a range of 16-20 split




                                         78
        Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 85 of 228




municipalities—out of more than 2,000 total municipalities in the Commonwealth.
(N.T. at 337, 493.)
              FF136. Dr. Duchin compared the Governor’s Plan to House Bill 2146,
which she opined consistently scores in the bottom four plans for compactness, as
its mean Polsby Popper score is 11th out of 13, its mean Schwartz score is 12th out
of 13, its mean Reock score is 13th out of 13, its mean Convex Hull score is 10th
out of 13, its mean Population Polygon score is 9th of 13, and its cut edges score is
10th of 13, and thus is one of the least compact plans. (See N.T. at 335; Duchin
Resp. Report at 2, Table 1.)
              FF137. Ultimately, with respect to compactness of all the plans, Dr.
Duchin opined that “the maps [submitted to the Court] are quite good across the
board, but that you can still see some that are better.” (N.T. at 334.) She explained
that:

              By far the two most compact plans, considering these metrics
              overall, are VotersOfPA and GovPlan. The next two, some ways
              behind the leaders, are Reschenthaler1 and CitizensPlan.

              When it comes to splits, I judge all of the plans to be excellent,
              with the possible exception of Carter and SenateDemCaucus1.
              All eleven others have 13-16 county splits and 16-18
              municipality splits, which may be close to optimal for reasonable
              17-district plans in Pennsylvania (though it is computationally
              intractable to prove this rigorously).

(Duchin Resp. Report at 2.)
              FF138. To summarize her quantitative analysis, Dr. Duchin identified
two “tiers” of excellence to grade the plans’ adherence to the traditional criteria as
follows. First, she identified four plans that meet a high excellence standard for



                                          79
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 86 of 228




traditional criteria:   GovPlan, VotersOfPA, Reschenthaler 1, and CitizensPlan.
(Duchin Resp. Report at 3.)
                FF139. Dr. Duchin identified a second tier consisting of two plans that
meet an excellence standard: KhalifAli and Reshcenthaler2. Id.
                FF140. With respect to the principle of least change, Dr. Duchin
compared the Governor’s Plan, House Bill 2146, and the CitizensPlan (i.e., Draw
the Lines PA’s plan), to the 2018 Remedial Plan.
                FF141. Dr. Duchin explained that the doctrine “and associated metrics
look to measure the degree of a plan’s resemblance to another plan” and that, in her
comparison of the Governor’s Plan to the 2018 Remedial Plan, she explained, “[i]f
you believe that the old plan is a good one, if you believe that the old plan has shown
itself to perform in ways that are fair, if you believe that the old plan represents the
principles that you're trying to embody, then it does make some sense that you try to
look a lot like it.” (N.T. at 345-47.)
                FF142. Dr. Duchin concluded that the Governor’s Plan “keeps the
districts intact to the greatest extent of these three alternatives.” (Duchin Report at
10, Table 4.)
                FF143. Dr. Duchin addressed protection of incumbents, which she
explained means, where possible, “double-bunking” two incumbent members of
Congress in the same district should be avoided. (N.T. at 347-8.)
                FF144. Dr. Duchin determined that the Governor’s Plan, CitizensPlan,
and House Bill 2146 each create two districts with two incumbent members of
Congress and one district with no incumbent. (Duchin Report at 10, Table 5.)
                FF145. Dr. Duchin also testified that it was her understanding “that
District 5 and the Governor’s plan [pairs] two Democratic incumbents. Just for the


                                           80
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 87 of 228




record, in my view, when I’m trying to assess whether a plan is a gerrymander for
one party, I think it would avoid pairing incumbents of that party. So to me, this is
a sign that this is not a Democratic gerrymander plan.” (N.T. at 349; see also Duchin
Report at 10, Table 5.)
              FF146. Dr. Duchin next described, with respect to communities of
interest, that the fundamental concept is that there is value to maintaining
“geographical areas where the residents have shared interests that are relevant to
their representation. . . . [T]his could be shared history, shared economics, shared
culture, many other examples.” (N.T. at 342-43.)
              FF147. Dr. Duchin clarified, however, that the principle “doesn’t
always mean a community should be held whole. Sometimes it’s more effectively
split. But they should be kind of top of mind for the line drawers, as they draw.”
(N.T. at 343.) In her report, Dr. Duchin noted that communities of interest were a
top priority consideration in the Governor’s plan, and that it was “drawn after a
robust public input process and in view of hundreds of collected comments and
suggestions.” (Duchin Report at 11-12.)
              FF148. Dr. Duchin opined that the Governor’s Plan is “really an
excellent plan on the grounds of the traditional principles. It’s one of the very best.
In my view it’s extremely compact. It is economical in terms of political boundary
splits and the splits that it is . . . have a good story. I find it to do well by the likes
of incumbent pairing and least change across the board. It’s an excellent plan on
traditional districting principles.” (N.T. at 349-50.)
              FF149. In determining whether any maps exhibited partisan fairness
and accountability and responsiveness to voters, Dr. Duchin used numerical
measures that “address how a certain quantitative share of the vote should be


                                            81
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 88 of 228




translated to a quantitative share of the seats in a state legislature or Congressional
delegation.” (Duchin Report at 13.)
             FF150. Dr. Duchin described partisan fairness and accountability to
voters in terms of two core principles: (1) a political party winning the majority of
votes ought, as a general matter, to win a majority of congressional seats (the
“Majority-Rule Principle”); and (2) elections with close vote margins ought
generally to result in a close split in the number of seats won (the “Close-Votes-
Close-Seats Principle”), which she explained is close to the principle of Majority
Rule, i.e., that “a party or group with more than half of the votes should be able to
secure more than half of the seats.” (Duchin Report at 13.)
             FF151. Using the same election information for the three plans, and
with the help of figures and graphics in her initial Report, Dr. Duchin established
that the Governor’s Plan and the Draw the Lines PA’s (CitizensPlan) “are far
superior at leveling the partisan playing field,” whereas she characterized House Bill
2146’s performance as “consistently converting close elections to heavy Republican
representational advantages.” (N.T. at 364-65; Duchin Report at 14-16.)
             FF152. Dr. Duchin considered the partisan fairness of the Governor’s
Plan and all of the other maps using her “ensemble” of 100,000 randomly drawn
districting plans to see how they would perform across recent elections in terms of
partisan fairness.
             FF153. In considering partisan fairness, Dr. Duchin used the following
metrics: the efficiency gap, the Eguia artificial partisan advantage, the mean-median
score, and the partisan bias score. (Duchin Report at 17.)




                                          82
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 89 of 228




             FF154. Dr. Duchin defined “efficiency gap” as being “based on the
idea of wasted votes, defined as any winning votes in excess of 50%, or any losing
votes at all.” (Duchin Report at 17.)
             FF155. Dr. Duchin explained that a plan’s “Eguia artificial partisan
advantage compares the outcomes under districted plurality elections to the
outcomes under ostensibly neutral political subdivisions, such as counties.” (Duchin
Report at 17.)
             FF156. Dr. Duchin explained that the “mean-median score” indicates
“how much of the vote in a state is needed to capture half of the representation.”
(Duchin Report at 17.)
             FF157. Dr. Duchin explained that a “partisan bias score” captures “how
much of the representation would be captured by each party if the election underwent
a uniform partisan swing to a 50-50 share.” (Duchin Report at 17.)
             FF158. Dr. Duchin’s results appear in Table 3 of her Responsive
Report, as to which she explained: “one thing that stands out is that the Governor’s
plan is excellent across the board, that in all four of these metrics it gives scores that
are either the closest or nearly the closest to zero.” (N.T. at 372.)
             FF159.     Dr. Duchin further concluded that of all the other plans
considered, “the Governor’s Plan dominates[, meaning it is equal or better in every
metric,] 10 and is in a trade-off position with the other two (Carter and
HouseDemCaucus).” (Duchin Resp. Report at 4.)
             FF160.      On cross-examination, Dr. Duchin conceded that “the
Gressman [Petitioners’] plan is an excellent plan.” (N.T. at 433.)




                                           83
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 90 of 228




             FF161. Dr. Duchin admitted to opining in her report that HB 2146 is
population balanced and contiguous, shows strong respect for political boundaries,
and is reasonably compact. (N.T. at 434-35.)
             FF162. Dr. Duchin admitted, in relation to HB 2146, that “[o]n splits
it’s better” than the Governor’s plan, and that the Governor’s plan is only better on
the compactness criteria. (N.T. at 435-36.)
             FF163. When asked whether Governor’s plan’s splitting of the City of
Pittsburgh allowed for the creation of two Democratic leaning seats as opposed to
one, Dr. Duchin relayed that she would “have to look at the seats surrounding it in
plans that keep it whole . . . that’s not an [sic] specific analysis that I’ve done to say
that it’s two instead of one” and that she “didn’t look at whether the district
surrounding the one that contains Pittsburgh specifically would be Democratic
leaning.” (N.T. at 436.)
             FF164. Dr. Duchin further disclosed to the Court on cross-examination
that in generating 100,000 random plans (i.e., maps) with a computer, which was
programmed only to honor Pennsylvania’s minimum constitutional requirements,
the “[r]andom plans tend to exhibit pronounced advantage to Republicans across this
full suite of elections.” (Duchin Jan. 24, 2022 Report at 18.)
             FF165. On the next page of her report, still analyzing the 100,000 plans
drawn by a non-partisan, non-biased computer, Dr. Duchin once again concluded
that “random plans favor Republicans[.]” (Duchin Jan. 24, 2022 Report at 19.)
             FF166. Dr. Duchin, far from backing away from this analysis, agreed
that these 100,000 plans produced a “pronounced advantage to Republicans,” N.T.
1/27/22 at 449:1-12.3, and that the most “typical outcome” for any randomly drawn,
constitutionally compliant plan, which takes no account for impermissible partisan


                                           84
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 91 of 228




considerations, is one that will produce a Republican “tilt” based on election
projections. N.T. 1/27/22 at 450:10-16; see also Duchin Jan. 24, 2022 Report at 17
(“In this section, I present a series of images that reinforce the theme elaborated
above: the political geography of Pennsylvania creates a districting landscape that is
tilted toward Republican advantage.”).
             FF167. In this regard, Dr. Duchin testified as follows:

             Q. But the most typical outcome is plans with a
             Republican tilt. Fair?

             A. Absolutely. And I’m not aware of any rule that requires
             that we pick the most typical. I think we’re trying to
             choose an excellent plan.

(N.T. at 450) (testimony of Dr. Duchin).
             FF168. Upon questioning by Congressional Intervenors’ counsel, Dr.
Duchin conceded that Reschenthaler 1 and Reschenthaler 2 are both contiguous,
closely balanced in terms of population, and “reasonably compact.” (N.T. at 458.)
             FF169.    With respect to county splits, Dr. Duchin affirmed that
Reschenthaler 1 and Reschenthaler 2 split 13 counties, which, she admitted, is the
lowest county split of all the maps she reviewed and are examples of “aggressive
pursuit of county integrity.” (N.T. at 458-59.)
             FF170. Dr. Duchin admitted that the Reschenthaler maps had the
lowest “county pieces” (29) and municipal splits (16), and that it was tied for the
lowest with respect to “municipal pieces” (33). (N.T. at 459.)


4.    Michael Barber, Ph.D. (House Republican Intervenors Cutler &
      Benninghoff)


                                           85
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 92 of 228




              FF171. The House Republican Intervenors presented the opinions and
expert report of Dr. Michael Barber, who is an associate professor of political science
at Brigham Young University and faculty fellow at the Center for the Study of
Elections and Democracy in Provo, Utah. (Barber Report at 1.)
              FF172.   Dr. Barber received his Ph.D. in political science from
Princeton University in 2014 with emphases in American politics and quantitative
methods/statistical analyses. Id.
              FF173. Dr. Barber teaches a number of undergraduate courses in
American politics and quantitative research methods, including classes about
political representation Congressional elections, statistical methods, and research
design. Id.
              FF174. The House Republican Intervenors asked Dr. Barber to review
HB 2146.
              FF175.    Dr. Barber first examined the political geography of
Pennsylvania and concluded that partisan tendencies are not evenly distributed
throughout the Commonwealth, as “Democratic majorities are geographically
clustered in the largest cities of the state while Republican voters dominate the
suburban and rural portions of the state[,]” which puts “the Democratic Party at a
natural disadvantage when single-member districts are drawn.” (See Barber Rep. at
5, 8, Figure 1.; N.T. at 506-10.)
              FF176. Dr. Barber opined that “districts drawn to be contiguous,
compact, and contain minimal county and municipal splits will naturally create
several districts in the Philadelphia and Pittsburgh areas that contain substantial
Democratic majorities with many ‘wasted votes.’” (Barber Report at 5, 9.)




                                          86
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 93 of 228




                FF177. Dr. Barber stated that because Philadelphia is large enough to
constitute roughly 2.1 congressional districts, any plan that attempts to avoid
splitting counties would draw two districts entirely within the City of Philadelphia
and will be overwhelmingly Democratic and have thousands of wasted votes.
(Barber Report at 9.)
                FF178. Dr. Barber opined that because Pittsburgh is not large enough
to contain a single congressional district, any plan that draws geographically
compact districts that avoid splitting counties and cities will contain a district within
Allegheny County that also contains the City of Pittsburgh, and it will be extremely
Democratic as a result of strong Democratic support in Pittsburgh and its immediate
suburbs. (Barber Report at 9; see also Barber Rebuttal Report at 9.)
                FF179. Dr. Barber explained his methodology in determining whether
HB 2146 was a partisan gerrymander. (Barber Report at 11.)
                FF180. Specifically, Dr. Barber prepared a set of 50,000 simulated
maps using only the traditional redistricting criteria of equal population,
compactness, contiguity, and minimizing political subdivision splits.           (Barber
Report at 13-14; N.T. at 518.)
                FF181. Dr. Barber did not consider partisanship, race, the location of
incumbent legislators, or other political factors in his analysis, but he found this set
of simulated plans was helpful because it provides a set of maps to compare to HB
2146 that also accounts for geographic distribution of voters. (Barber Report at 11;
N.T. at 515.)
                FF182. Dr. Barber explained that by comparing HB 2146 to the
simulated districts, “we are comparing the proposal to a set of alternative maps that




                                           87
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 94 of 228




we know to be unbiased that holds constant with the political geography of the state.”
(Barber Report at 11; N.T. at 515-17.)
             FF183. Alternatively, Dr. Barber explained, if HB 2146 “significantly
diverges from the set of simulated maps, it suggests that some other criteria that were
not used in drawing the comparison set of maps may have guided the decisions made
in drawing the proposed map.” Id.
             FF184. With regard to population, boundary splits, and compactness,
Dr. Barber opined that HB 2146, which splits 15 counties, is within the range of
county splits in the simulations. (Barber Report at 16; Barber Rebuttal Report at 8,
Table 1.)
             FF185.     Dr.    Barber testified that HB 4126 only divides 16
municipalities, one of which is Philadelphia, which has to be divided because the
city population is more than a single district. Id.
             FF186. Dr. Barber testified that HB 2146 has only nine precinct splits;
thus, overall, the plan performs very well regarding political subdivision splits. Id.
             FF187. As for compactness, Dr. Barber opined that HB 2146’s average
district compactness score (Popper-Polsby) of 0.32 closely aligns with the results of
the simulations, which garnered a 0.28 score. (Barber Report at 16.)
             FF188. Dr. Barber considered partisan lean of districts, analyzing a set
of all statewide elections from 2012-2020, which resulted in 9 Democratic-leaning
seats and 8 Republican-leaning seats, whereas the current delegation is represented
by 9 Democrats and 9 Republicans, and further determined the most likely outcome
in his 50,000 simulated maps, created without using partisan data, is 8 Democratic-
leaning seats and 9 Republican-leaning seats. (Barber Report at 23, Figure 3; N.T.




                                          88
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 95 of 228




at 518-20, 532-33.) He further opined that HB 2146 creates a significant number of
competitive districts. (Barber Report at 19.)
                FF189. Specifically, in analyzing districts that have a Democratic vote
share of 0.48 to 0.52, a common range when analyzing competitive elections, HB
2146 creates five competitive seats, four of which lean Democratic, which is more
competitive districts than any other plan. (Barber Report at 13, 19, 21, Figure 2;
N.T. at 529.)
                FF190. Dr. Barber testified that at a district-by-district level, HB 2146
reflects partisan fairness consistent with the range of outcomes seen in simulated
plans. (Barber Report at 22-23.)
                FF191. Dr. Barber testified that for each district, HB 2146 sits in the
middle of the distribution of the simulations. (Barber Report at 23-24, Figure 4.)
                FF192. On other partisan fairness metrics, including mean-median,
efficiency gap, and a uniform swing analysis, Dr. Barber opined that HB 2146 is
demonstrated to be very nearly unbiased, with a mean-median of -0.015, which is
very close to zero and which demonstrates that HB 2146 is more favorable to
Democrats than 85% of the simulation results. (Barber Report at 27-28, Figure 5,
30-31; Barber Rebuttal Report at 21-22.)
                FF193. Dr. Barber testified that this further demonstrates that HB 2146
is fair. (Barber Rep. at 27-34, Figures 5-7.)
                FF194. With regard to the efficiency gap for HB 2146, which is -0.02,
and very close to zero, Dr. Barber testified that it shows that Democratic votes are
not much more likely than Republican votes to be “wasted” across districts. (Barber
Report at 31.)




                                            89
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 96 of 228




             FF195. Dr. Barber testified that HB 2146’s mean median score and
efficiency gap score are within the range, in that they have similar scores compared
to the other plans; the difference in scores for the other plans, however, can be
accounted for based on the particular elections used for the calculations. (N.T. at
543-50.)
             FF196. Dr. Barber opined further that for the other plans that garnered
10 Democratic-leaning seats with an efficiency gap of 0.034, it shows those plans
are favorable to Democrats, as “positive numbers indicate bias for Democrats, [and]
negative numbers indicate bias for Republicans.” (Barber Rebuttal Report at 22.)
             FF197. Dr. Barber said there are differences, which can be accounted
for based on the particular elections that are used for the calculations. (N.T. at 550.)
             FF198.     Dr. Barber performed a uniform swing analysis, which
considers how a plan performs under a variety of different electoral environments
by randomly adding certain percentages from previous elections uniformly to each
district in the plan. (Barber Report at 33-34.)
             FF199. Like the other metrics, Dr. Barber’s uniform swing analysis
demonstrated that the HB 2146 is fair, as it is nearly exactly in the middle of the
distribution, meaning roughly half of the simulations are worse for Democrats and
nearly half are better. (Barber Report at 34, Figure 7.)
             FF200. Dr. Barber additionally noted in his Rebuttal Report that the
uniform swing measure varies across the all plans considered from 7.9 to 10.1
expected Democratic-leaning districts; however, HB 2146 is in the middle of the
simulation results. (Barber Rebuttal Report at 22.)
             FF201.     Dr. Barber also conducted a district-by-district racial
composition of HB 2146, examining 1,852 simulated plans from his race-blind


                                          90
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 97 of 228




sample that likewise created 2 majority-minority districts including 1 majority Black
district. (Barber Rep. at 35-36; N.T. at 515-16.)
             FF202. Dr. Barber generated another set of 5,000 simulated race
conscious maps where he instructs the model to ensure that every simulated plan had
at least 3 districts that have at least 35% non-white voting age population. (Barber
Report at 36; N.T. at 518.)
             FF203. From this, Dr. Barber determined that even when using “race
conscious” simulations, a map with 9 Democratic-leaning seats, i.e., the same as HB
2146, remains the most common outcome, occurring in 70.6% of the simulations.
(Barber Report at 35-36.)
             FF204. When asked whether he thought House Bill 2146 was the best
plan, Dr. Barber stated “I think that that is not for me to decide. I think that is the
unenviable task of this Court.” (N.T. at 559.)
             FF205. With respect to Dr. Barber’s opinions as to the other plans, Dr.
Barber testified that looked specifically at how the other plans treated Pittsburgh
because of the fact that Pittsburgh is not large enough such that it has to be split, and
that all the other plans, including the Governor’s, Senate D1 & D2, Draw the Lines
PA, and Khalif Ali, stand out as examples of plan “possibly violating the neutral
districting criteria” in an attempt “to avoid municipal splits unnecessarily by
intentionally dividing Pittsburgh for partisan gain.” (N.T. at 524-25; Barber Rebuttal
Report at 8, Table 1., 23.)
             FF206. On that topic, Dr. Barber believed “it calls for additional
inquiry as to why that might be the case.” Id.
             FF207. With regard to the House Democrats’ plan specifically, which
combines Pittsburgh with rural, heavily Republican voters in Beaver and Butler


                                           91
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 98 of 228




Counties to create 2 Democratic-leaning districts rather than 1 heavily Democratic
district in Allegheny County, and which is poised to create 11 Democratic leaning
districts, Dr. Barber characterized the House Democrats’ plan as “an extreme
outlier,” as none of the simulations generated that outcome. (N.T. at 534; Barber
Rebuttal Report at 15.)
             FF208. Dr. Barber also noted that HB 2146, Senate D1 Plan, Voters of
PA plan, and both Reschenthaler Plans generate 9 Democratic-leaning districts,
which “are in line with the modal outcome in the race-conscious simulations and are
within the central part of the distribution in the race-blind simulations. (Barber
Rebuttal Report at 15-16.)
             FF209. When compared to the non-partisan simulations conducted, Dr.
Barber concluded that nine of the other plans are Democratic partisan outliers,
including the Governor, Carter, Gressman, House D, Senate D1 & D2, Citizen
Voters, and Draw the Lines PA plans. (Barber Rebuttal Report at 23.)
             FF210. On other measure of partisan bias, Dr. Barber concluded that
there are variations amongst the plans, but that “all share the common feature of
being generally more favorable to Democrats than the non-partisan simulations.”
(Barber Rebuttal Report at 23.)
             FF211. On cross-examination, Dr Barber conceded that every other
plan except for the two Reschenthaler plans have mean-median scores closer to zero,
meaning they are less biased than HB 2146. (N.T. at 575-78.)
             FF212. Dr Barber agreed that, in conducting his analysis, he did not
consider all elections that took place for every office, incumbent pairings, if every
plan had two or three majority-minority voting age populations, voter registration
information (in terms of votes cast or the partisan registration of individual voters),


                                          92
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 99 of 228




equal population (as he had a variance of 30), the splitting of wards, or communities
of interest concerns. (N.T. at 586-91, 593-94, 628-29, 646, 649-54.)
             FF213. When asked whether assigning the City of Pittsburgh to one
congressional district would be considered packing, Dr. Barber explained, “So I
think this is an excellent example because sometimes what might be called
intentional partisan gerrymandering might actually be the result of the combination
of the geography of the state and neutral redistricting criteria. . . . on prospective
would look at [the splitting of Pittsburgh] and say that’s packing, that’s clearly
gerrymandering. And the other person might say oh no, that’s not packing at all.
That’s just following the neutral redistricting criteria [stating not to split
Pittsburgh].” (N.T. at 627-28.)


5.    Dr. Keith Naughton (Congressional Intervenors)
             FF214. The expert testimony of Keith Naughton, Ph.D., an expert in
public policy and political science, was offered by the Congressional Intervenors for
the purpose of demonstrating that they drew their lines with the goal of keeping
communities of interest intact and to dispel any notions that the lines they drew were
for partisan purposes.
             FF215.      Dr. Naughton began by acknowledging that he not a
mathematician and he has “no particular experience in redistricting,” and has never
served as an expert in redistricting litigation before. (N.T. at 668-69, 777.)
             FF216.      Dr. Naughton spent 15 years working in Pennsylvania
campaign politics at all levels. (N.T. at 687.)




                                          93
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 100 of 228




              FF217.    Dr. Naughton’s areas of expertise include congressional
politics, about how constituents interact with their members, and the theoretical basis
of representation. (N.T. at 687-90.)
              FF218. Dr. Naughton explained that “much of [his] professional career
has been dedicated to helping Republican candidates in Pennsylvania win their
seats.” Id. at 769-70. However, he believed his opinions apply equally whether
someone is a Republican or Democrat. Id.
              FF219. Dr. Naughton agreed that his report “does not identify any
particular methodology” that he used to arrive at his conclusions, and does not “cite
any authority or particular evidence for [his] opinions.” N.T. at 779; see also id. at
813. Rather, his expert opinions were based on his work experience.
              FF220.    Dr. Naughton conceded that he provided no quantitative
analysis of how any of the proposed plans perform on the neutral redistricting
criteria. Id. at 792.
              FF221. The testimony of Dr. Naughton was unique in this regard as no
other expert was offered to opine on the community interests undergirding the Free
and Equal Elections Clause.
              FF222. The Court is not particularly persuaded by the argument that
we should not credit Dr. Naughton’s testimony because he has a history of working
for candidates seeking political and judicial office for the Republican Party.
              FF223. Suffice it to say, given the nature of this litigation, most of the
litigants and their experts have histories of representing one party or the other.
              FF224. The Court has no intention of crediting one party or expert over
the other based on that proclivity.




                                          94
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 101 of 228




              FF225. Despite the fact that Dr. Naughton had never testified before as
an expert in redistricting litigation, the Court nevertheless finds his testimony
helpful, especially his opinions on the issues of the importance of keeping
communities of interest intact, how that relates to a congressional representative’s
ability of to respond to the unique and varied inquiries of his or her constituents and
the reasons why the lines on Reschenthaler Plan 1 and 2 were drawn where they
were.
              FF226. Dr. Naughton testified that keeping people with common
interests together allows for better representation of those interests. (N.T. at 697-
98.)
              FF227. Dr. Naughton testified in this regard as follows:

              Q.     So if you were going to design, for instance, a
              district in a region that had a significant elderly
              population, you would want to know that. Right?
              A.     Yes.
              Q.     Why?
              A.     Well because they have common interests. And you
              know, grouping with people with common interests is very
              important because, besides this R versus D issue, they
              have specific needs. They need Social Security protected.
              They need money for Access, you know, for public transit.
              They - - you know, they need just a whole variety of issues.
              You know, people who are aged require healthcare and so
              forth. Well, if you have them sort of split up chock-a-
              block in different districts, what kind of representation are
              they going to get?

Id.
              FF228. Regarding the decision to maintain the City of Pittsburgh in
one district in Reschenthaler maps 1 and 2, Dr. Naughton testified Pittsburgh’s



                                           95
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 102 of 228




communities of interests are best represented by keeping the City within the same
district. (N.T. at 712-15.)
             FF229. Dr. Naughton thought splitting Pittsburgh into two districts was
a “terrible idea.” Id. at 713. He explained:


             1. Because the City is its [own] political unit and the City
                is a diverse city, there’s a lot of different interests. But
                the fact that it’s together unites people’s interests for
                resources. They vote, you know, for the same elected
                officials. I mean, just the fact that they are within this
                municipal unit gives them a serious of common
                interests. And I think splitting them up, I think, that’s
                a mistake. I think it dilutes their advocacy.
Id.
             FF230. Regarding the decision to connect Philadelphia with Delaware
County in District 16 in Reschenthaler maps 1 and 2, Dr. Naughton testified that
Delaware County and Philadelphia County share similar communities of interest
along their border, and that a map connecting them was ideal. (N.T. at 786; 840-41)
             FF231. With respect to the decision to place Scranton and Wilkes-
Barre in different districts in Reschenthaler maps 1 and 2, Dr. Naughton testified
that Scranton and Wilkes-Barre, in the past, were in separate districts and that those
communities prefer being in separate districts. (N.T. at 734-36.)
             FF232. With regard to partisan fairness and the effect of political
geography, Dr. Naughton testified that nonpolitical issues cause voters and
nonvoters to coalesce in certain parts of the state. (N.T. at 696.)
             FF233. In Dr. Naughton’s view, scientific models predicting future
elections cannot account for the various factors that contribute to winning an



                                           96
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 103 of 228




election, including the party of the current president, whether it is a mid-term
election, the state of the economy, and campaign fundraising. (N.T. at 700-04.)
             FF234. Dr. Naughton agrees that scientific models used by Dr. Rodden,
Dr. DeFord, and Dr. Duchin do not account for these extraneous factors that
contribute to winning an election. (N.T. at 703.)
             FF235. According to Dr. Naughton, running congressional races in
Pennsylvania is “very geographical,” and certain mapping choices, such as splitting
the City of Pittsburgh or splitting Bucks County and Philadelphia can result in losing
representation. (N.T. at 713-15.)
             FF236. In Dr. Naughton’s expert opinion, there is no perfect variable
to put in the equation to create a perfect map because there is going to be subjectivity.
(N.T. at 766.)


6.    Dr. Devin Caughey & Michael Lamb (Senate Democratic Caucus
      Intervenors)
             FF237. In support of its two plans, Senate Map 1 and Senate Map 2,
the Senate Democratic Caucus offered the expert report and testimony of Dr. Devin
Caughey, an Associate Professor in Political Science at the Massachusetts Institute
of Technology.
             FF238. Dr. Caughey’s academic specialty involves the interaction
between American politics and statistical methods, focusing primarily on public
opinion, election, and representation. (N.T. at 894.)
             FF239.     Dr. Caughey has published numerous academic articles,
particularly with regard to partisan gerrymandering at the state level and how it
relates to the representational process, and has previously testified as an expert


                                           97
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 104 of 228




witness, offering his opinion as to the partisan bias of a districting map in the State
of Oregon. Id. at 895.
             FF240. In conducting his current analysis, Dr. Caughey, focusing only
on partisan bias factors, reviewed the Supreme Court’s 2018 Map, Governor Wolf’s
plan/map, the House Republican Caucus plan/map, and the Reschenthaler 2 map.
Id. at 896-98.
             FF241. Dr. Caughey then compared those plans/maps with Senate Map
1 and Senate Map 2 to evaluate partisan fairness based on four commonly accepted
measurement models, namely (1) partisan symmetry/partisan bias, (2) the efficiency
gap, (3) the mean-median difference, and (4) declination.
             FF242. At the hearing, Dr. Caughey explained that an assessment of
partisan symmetry/partisan bias “is based on the concept of what’s called the seats
votes curve [and] the seats votes function, which is basically just the relationship
between a party’s vote share and their expected seat share.” Id. at 900-01.
             FF243. As an example, Dr. Caughey stated that it is “sort of easy to
think about when we just consider what happens if both parties get 50 percent of the
vote[.] If they both get 50 percent of the vote, they tie, right. But if they win 50
percent of the vote and one party gets 55 percent of the seats, that indicates a bias of
five percentage points in favor of the party that got more seats[.] So that is what we
call partisan bias.” Id. at 903.
             FF244. Concerning the efficiency gap, Dr. Caughey testified that it is
“another way of operationalizing [the] notion of a partisan fairness,” i.e., “that a map
should treat the parties equally or mutually,” stating that “instead of focusing directly
on the seats votes curve, it focuses on [the] notion of wasted votes.” Id. at 905.
             FF245. According to Dr. Caughey “the efficiency gap is based on the
idea that the number of wasted votes or the share of wasted votes for each party
should be equal,” elaborating that a “wasted vote” is “a vote cast for a losing
                                           98
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 105 of 228




candidate or a vote cast for a winning candidate beyond the minimum necessary to
ensure that that candidate won, beyond 50 percent plus one.” Id.
             FF246. Dr. Caughey stated that “when one party wastes more votes
than the other party, then their votes, in sum and substance, count for less,” because
“[m]ore of their votes don’t make a difference in terms of who wins seats” and, thus,
the votes are “diluted relative to the other party.” Id. at 905-06.
             FF247. In discussing the mean-median factor, Dr. Caughey testified
that “the mean-median difference . . . is [] the difference [between] the average vote
share amongst districts, which if [it] turn[s] out equal is [] a statewide share that a
party earns, and the difference in the median district.” Id. at 909.
             FF248. Dr. Caughey explained that “mean-median [] picks up on the
asymmetry of the distribution of district partisanship, the skewness . . . of the
distribution of partisanship.” Id.
             FF249. Concerning the measure of declination, Dr. Caughey testified
that this measurement “is a little bit more technical and recently developed
measure,” adding that “[i]t was originally formulated in thinking about how the
angles, if you line up all the districts and the Democratic districts are over here and
the Republican districts [are] over here, the angle—how the angle changes where
partisanship shifts,” and “where party control shifts.” Id. at 910.
             FF250. In his expert report, Dr. Caughey calculated the figures for the
various plans as follows. First, the Supreme Court’s 2018 Map had a partisan bias
of 2.1%; an efficiency gap of 2.9%; a mean-median of 0.8 %; and a declination of
0.08%. Second, Governor Wolf’s plan had a partisan bias of 2.9%; an efficiency gap
of 3.5%; a mean-median of 1.0%; and a declination of 0.10%. Third, the House
Republican Caucus plan/map had a partisan bias of 6.3%; an efficiency gap of 6.6%;
a mean-median of 2.3%; and a declination of 0.19%. Fourth, Senate Map 1 had a
partisan bias of 1.8%; an efficiency gap of 2.3%; a mean-median of 0.7%; and a
                                          99
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 106 of 228




declination of 0.06%. Fifth, Senate Map 2 had a partisan bias of 1.5%; an efficiency
gap of 2.4%; a mean-median of 0.5%; and a declination of 0.07%. (Caughey Report
at 18.) In his supplemental report, Dr. Caughey calculated the Reschenthaler 2 map
as possessing these values: a partisan bias of 5.9%; an efficiency gap of 6.3%; a
mean-median of 2.4%; and a declination of 0.18%. (Caughey Suppl. Report at 24.)
             FF251. At the hearing, Dr. Caughey discussed the Plans Score website,
which analyzes map plans for partisan fairness and/or gerrymandering.
             FF252. Dr. Caughey testified that the website is open to the public, is
non-profit and non-partisan, and is completely transparent about the methodology it
utilizes to arrive at its predictions. (N.T. at 914-17.)
             FF253. In employing the Plans Score website, Dr. Caughey stated that
he uploaded the various maps to the website and downloaded the predications, was
“projecting what would happen [] if no incumbents were running,” and that, based
on the results, districts 1, 7, 10, and 17 identified in the Senate Maps were
competitive districts where “there’s substantial uncertainty about where they will
land.” Id. at 923, 925.
             FF254. In his expert report, Dr. Caughey reiterated the findings he
obtained with regard to the various plans from using the Plans Score website as
follows. First, the Supreme Court’s 2018 Map had a partisan bias of 23%; an
efficiency gap of 32%; a mean-median of 13%; a declination of 35%; and a final
average of 26%. Second, Governor Wolf’s plan had a partisan bias of 27%; an
efficiency gap of 41%; a mean-median of 14%; a declination of 37%; and a final
average of 30%. Third, the House Republican Caucus plan/map had a partisan bias
of 55%; an efficiency gap of 64%; a mean-median of 36%; a declination of 60%;
and a final average of 54%. Fourth, Senate Map 1 had a partisan bias of 16%; an
efficiency gap of 26%; a mean-median of 9%; a declination of 27%; and a final
average of 20%. Fifth, Senate Map 2 had a partisan bias of 13%; an efficiency gap
                                          100
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 107 of 228




of 26%; a mean-median of 7%; a declination of 27%; and a final average of 18%.
(Caughey Report at 18.) Ultimately, based on the above numbers, Dr. Caughey
opined that Senate Maps 1 and 2 are superior to the other maps that he compared
them with.
             FF255. On cross-examination, Dr. Caughey admitted that he did not
analyze the Carter Petitioners’ proposed plan/map prepared by Dr. Rodden or the
Gressman Petitioners’ proposed plan/map prepared by Dr. DeFord. (N.T. at 956,
965-66.)
             FF256. Dr. Caughey conceded that the plans/maps submitted by both
the Carter Petitioners and Gressman Petitioners had better results in terms of partisan
fairness than the plans/maps that he reviewed and compared in his expert and
supplemental expert reports. (N.T. at 966-72.)
             FF257. Dr. Caughey conceded that his analytical methods did not
account for political geography. (N.T. at 999.)
             FF258. Notably, Dr. Caughey could not conclude that HB 2146 was
unfair. (N.T. at 992.)
             FF259. As noted above, the Senate Democratic Caucus also submitted
a Declaration by Shoenberg, detailing the number of splits in Senate Map 1 and
Senate Map 2, and an Analysis by Michael Lamb, Pittsburgh City Controller,
pertaining to the split of the City of Pittsburgh in both of the proposed Senate Maps.


7.    John M. Memmi, Ph.D. (Corman & Ward)
             FF260. Senate Republican Legislative Intervenors Corman and Ward
submitted the expert report of John M. Memmi, Ph.D., who is a consultant in the
field of redistricting and has more than 20 years of experience in the process of
drawing redistricting maps.

                                         101
        Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 108 of 228




               FF261. Dr. Memmi’s report states that he evaluated HB 2146 in
relation to traditional and applicable criteria for compactness, contiguity, population
equality, and maintenance of political subdivisions.
               FF262. In conducting his evaluation, Dr. Memmi explained that he
used generally accepted methodologies in the field of drawing and evaluating
congressional redistricting maps and relied on numerous sources of information.
               FF263.   Dr. Memmi opined, to a reasonable degree of scientific
certainty, that House Bill 2146 meets the four traditional criteria for redistricting.
               FF264. Dr. Memmi first noted that the two most common ways to
measure compactness are the Polsby-Popper and Reock scores.
               FF265.    Dr. Memmi explained that Polsby-Popper evaluates
irregularity in the perimeter of a district, and Reock examines district area. Both
scores range from 0 to 1.
               FF266. Dr. Memmi stated that “the more compact the district the
greater the score.” (See John M. Memmi Expert Report, attached to Pre-Hearing
Opening Br. of Senate Republican Intervenors Corman and Ward, at 1-2.)
               FF267. Dr. Memmi stated that the Polsby-Popper scores of HB 2146
range from 0.19 to 0.49, and the Reock scores range from 0.30 to 0.62, revealing
that no district has an extreme, or low, score. Id. at 2-3; Memmi Expert Report,
Figure 1.
               FF268.    Dr. Memmi defined “contiguity” using the National
Conference of State Legislature definition: “as the condition in which ‘all parts of a
district are connected geographically at some point with the rest of the district.’” Id.
at 2.




                                          102
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 109 of 228




             FF269. Dr. Memmi opined that HB 2146 is comprised of 17 contiguous
districts, as verified by autoBoundEDGE redistricting software published by
Citygate GIS even despite the non-contiguous municipalities and precincts existing
in Pennsylvania. Id.
             FF270. Dr. Memmi further opined that Pennsylvania must have 12
districts with total populations of 764,865 and 5 districts with total populations of
764,864, for a grand total of 13,002,700 people, and that HB 2146 meets this
criterion. Id. at 2-3; see also Memmi Expert Report, Table 1.
             FF271.       Dr. Memmi observed that “[c]ounty and municipal
governments function more efficiently when their jurisdictions are within one
district[,]” and that splits are only necessary when the total population of a district is
greater than one district. Id. at 3.
             FF272. Utilizing a chart showing the split political subdivisions in
congressional districts under House Bill 2146, Dr. Memmi opined that House Bill
2146 splits only 0.3% of the of Pennsylvania 16,127 political subdivisions (i.e.,
counties, municipalities, wards, precincts). Id.; see also Memmi Expert Report,
Figure 2.


8.    Thomas L. Brunell (Congressional Intervenors)
             FF273.     The Congressional Intervenors also presented the expert
opinion of Thomas L. Brunell, Ph.D., a Professor of Political Science and program
head for the Political Science program at the University of Texas at Dallas.
             FF274. In 2021, Dr. Brunell was appointed by the Director of the U.S.
Census Bureau to serve a three-year term on the Census Scientific Advisory
Committee.


                                          103
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 110 of 228




             FF275. Dr. Brunell published a book on redistricting and dozens of
peer-reviewed articles in the top journals in the fields of redistricting, the Voting
Rights Act, elections, and representation.     He served as an expert witness in
redistricting related litigation often over the last 20 years, testifying in state and
federal courts around the country.
             FF276. Dr. Brunell was asked by the Congressional Intervenors to
evaluate their two proposed congressional maps, Reschenthaler 1 and Reschenthaler
2, using the 2018 Remedial Plan as a benchmark, to examine equal population,
compactness, contiguity, preserving communities of interest, and compliance with
the VRA.
             FF277.    Dr. Brunell was also asked to analyze the underlying
partisanship of the two maps.
             FF278. After concluding that the 2 Reschenthaler maps are correctly
populated, contiguous and reasonably compact, Dr. Brunell analyzed the political
subdivision splits and concluded that the 2 Congressional Intervenors maps have the
same number of county splits as the current map. (Brunell Report at 4-9.)
             FF279. In terms of cities and townships, the Reschenthaler maps both
split fewer municipalities and have fewer segments than the 2018 Remedial Plan.
             FF280. Dr. Brunell examined several measures of partisan advantage
including, the efficiency gap, partisan voter index (the “PVI”), and the mean-median
vote gap.
             FF281. In calculating PVI, Dr. Brunell used the results of the 2016 and
2020 presidential elections as the basis for determining the likely partisanship of
each district because they were both high profile elections with well-funded




                                         104
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 111 of 228




candidates, both elections were relatively close, and the Republican carried
Pennsylvania in 2016 and the Democrat carried the state in 2020. Id. at 9.
             FF282. Dr. Brunell averaged the vote percentage for the Democrat for
each district across these two elections and then subtracted 50% from each one.
             FF283. Based on PVI, Dr. Brunell opined that the Reschenthaler 1 and
Reschenthaler 2 maps create enough competitive districts such that “the majority of
the state’s congressional delegation may be decide by the political tides and the
quality of the candidates and campaigns in each election.” Id. at 8 (Ex. C).
             FF284. According to Dr. Brunell’s PVI analysis, the Reschenthaler 1
and Reschenthaler 2 maps are substantially similar to the competitiveness of the
2018 Remedial Plan, each creating eight republican, five democrat, and 4 toss-up
districts, as compared to the 2018 Remedial Plan’s seven-six-five breakdown. Id. at
10.
             FF285. Regarding the mean-median differences, Dr. Brunell explained
that this “method takes the mean (average) vote percentage for one party across all
the districts and compares it to the median of the same set of vote percentages.” Id.
             FF286. For example, Dr. Brunell explained that “[i]f the Democratic
average votes percentage is 55 percent and the Democratic median vote percentage
in the same election is 50 percent, there is a 5 percent difference that favors
Republicans.” Id.
             FF287. Dr. Brunell explained that this metric is based on logic that if
“one party is ‘packed’ into a handful of districts they are at a disadvantage and this
will inflate the average vote percentage for that party, while the median of a
distribution will be unaffected.” Id.




                                         105
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 112 of 228




             FF288. For his analysis, Dr. Brunell calculated the mean-median
differences for the 2018 Remedial Plan and the Reschenthaler 1 and Reschenthaler
2 maps across all of the presidential, senatorial, and gubernatorial elections in
Pennsylvania for the last decade.
             FF289. Dr. Brunell also added the three other statewide elections from
2020 because “Pennsylvania made two important changes to their elections
beginning in 2020—[it] eliminated straight-party voting and instituted no excuse
vote-by-mail.” Id.
             FF290. Dr. Brunell found the Reschenthaler 1 and 2 maps had mean-
median averages of 1.86% and 1.89%, respectively, which were indicative of a
sufficiently competitive map. Id. at 9 (Table 10).


9.     Sarah Andre (Khalif Ali et al.)
             FF291. Khalif Ali submitted the expert report of Sarah Andre, who
works as a Redistricting Demography/Mapping Specialist for Common Cause and
is responsible for conducting spatial and demographic analyses of local, state, and
federal district boundaries and providing support to Common Cause state offices in
the form of district map analysis trainings. (Sarah Andre Report (Andre Report) at
1.)
             FF292. Ms. Andre has a Master of Public Policy from the UCLA
Luskin School of Public Affairs and a Bachelor of Arts in Human Development from
California State University, Long Beach. Id.
             FF293. Ms. Andre was asked by Khalif Ali et al. to use the proposed
congressional plan that Governor Wolf publicly released on January 15, 2022, as a
starting point and to adjust for “underlying Census data to count incarcerated


                                         106
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 113 of 228




individuals in their homes rather than their cells,” and “to improve a small number
of areas where the Governor’s Plan, as adjusted for prisoners’ home addresses, could
more effectively preserve communities of interest.” Id.
             FF294. She was also asked to ensure that the Ali Plan complied with
the traditional neutral redistricting criteria, specifically equal population, contiguity,
compactness, and minimizing splits of political subdivisions. Id.
             FF295. Ms. Andre did not consider any partisan data or incumbent or
challenger home addresses in her analysis. Id.
             FF296. Ms. Andre used the adjusted Data Set # 2 (with prisoner
reallocation) adopted and used by the Pennsylvania Legislative Reapportionment
Commission in drafting legislative plans. Id.
             FF297. Ms. Andre further explained that she “identified and attempted
to improve a small number of areas where the Governor’s Plan did not sufficiently
account for protecting communities of interest, and specifically, she focused on the
Pittsburgh area (Districts 16 and 17), the Capital Region (Districts 10 and 11), and
minor adjustments in Philadelphia, as well as other areas, relying on publicly
available testimony and public comment from a variety of sources. (Andre Report
at 4-13.)
             FF298. In Ms. Andre’s opinion, the Governor’s Plan and the Ali Plan
are “as nearly as equal in population as practicable,” as they only have a one-person
variance, with 4 districts with 764,864 residents, and 8 with 764,864 residents. Id.
at 13.
             FF299. Ms. Andre opines that the Governor’s Plan and the Ali Plan are
contiguous, in that “[a]ll districts are composed exclusively of contiguous territory
and no district is contiguous only by a single point.” Id. at 13-14.


                                           107
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 114 of 228




             FF300. Ms. Andre opines that the Governor’s Plan and the Ali Plan are
compact on the widely used measures of compactness, the Reock scale and Popper-
Polsby test, and are comparable to the 2018 Remedial Plan.
             FF301. Noting that “[t]he closer the number is to 1, the more compact
the plan is,” Ms. Andre observed that the Ali Plan has a Reock score of 0.4070 and
a Polsby-Popper score of 0.3418, while the current plan has a Reock score of 0.4278
and a Polsby-Popper score of 0.3675, and the Governor’s Plan has a Reock score of
0.4012 and a Polsby-Popper of 0.369. (Andre Report at 14.)
             FF302. In comparing the plans, Ms. Andre opined that the Ali Plan
compares favorably to both the Governor’s Plan and the 2018 Remedial Plan. Id.
             FF303. Ms. Andre opined that the Governor’s Plan and the Ali Plan
are comparable in minimizing splits. Id.
             FF304. Ms. Andre testified that the Governor’s Plan has 19 county
splits and 178 municipality splits, whereas the Ali Plan has 19 split and the 177
municipality splits. Id.
             FF305.    Thus, according to Ms. Andre, the Ali Plan preserves
population equality among congressional districts, is contiguous, compact, and
aimed to reduce county, municipal, and voting precinct splits. Id. at 13-15.
             FF306. Ms. Andre testified that neither the Governor’s Plan nor the Ali
Plan sets out to avoid pitting incumbents against one another, as both plans have two
pairs of districts that group together incumbents. Id. at 14-15.


10.    Sean Trende (Voters of the Commonwealth)
             FF307. Sean Trende authored a report that analyzed the map submitted
by the Voters of PA Amici.


                                         108
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 115 of 228




             FF308. Mr. Trende is currently a doctoral candidate in political science
at Ohio State University, working on a dissertation that focuses on applications of
spatial statistics to political questions, and he has obtained a master’s degree in
applied statistics from Ohio State University and a law degree from Duke University.
             FF309.      After practicing law for 8 years, Mr. Trende joined
RealClearPolitics in January of 2009 and is presently a Senior Elections Analysist.
             FF310. Mr. Trende has provided expert reports in numerous cases
throughout the country concerning election laws, voting rights, and redistricting.
             FF311. In his report, Mr. Trende states that he utilized a statistical and
graphics programming language called “R” and made a block assignment file to
match the shapefile of the blocks to their respective districts to ultimately create a
shapefile of the districts in the map for the Voters of PA Plan.
             FF312. Mr. Trende opined that the proposed map consists of 17
contiguous districts, which vary in population by no more than one person.
             FF313. In terms of the compactness of the districts, Mr. Trende stated
he employed three commonly used metrics: Reock, Polsby-Popper and
Schwartzberg. While noting “the importance of looking at multiple standards of
compactness,” Mr. Trende explained that “[t]he Reock score looks at the ratio of the
area of the district to the area of the smallest circle that would enclose the district
(also known as a ‘minimum bounding circle’)” and “[a] ‘perfect’ Reock score is 1,
while a zero reflects a theoretical perfectly non-compact district.” (Trende Report
at 10.)
             FF314. Mr. Trende explained that “[t]he Polsby-Popper score looks at
the ratio of the area of a district to the area of a circle that has the same perimeter as




                                          109
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 116 of 228




the district,” “[a] ‘perfect’ Polsby-Popper score is 1,” and “a theoretical perfectly
non-compact district would score a zero.” Id.
              FF315. Mr. Trende stated that “[t]he Schwartzberg score takes the
perimeter of the district and compares it to the perimeter (circumference) of a circle
that has the same area as the district” and that “the scores are . . . scaled from 0 to 1,
with 1 representing a perfectly compact district.” Id. at 10-11.
              FF316. After providing the Reock, Polsby-Popper and Schwartzberg
scores for each individual district in the proposed map, Mr. Trende noted that “[o]ne
drawback of these measures is that there is no clear definition of when a district
becomes non-compact, and scores for districts that most lay observers would
consider quite compact can nevertheless deviate significantly from a ‘perfect’
district.” Id. at 11.
              FF317. Mr. Trende calculated a comparison of the proposed map with
the Supreme Court’s 2018 Map (i.e., the existing map) and arrived at the following
figures: (1) the mean, median, and minimum Reock scores for the proposed map
were 0.4419%, 0.4335%, and 0.3432%, respectively, and 0.4280%, 0.4101%, and
0.3243% for the 2018 Map, respectively; (2) the mean, median, and minimum
Polsby-Popper scores for the proposed map were 0.3951%, 0.3791%, and 0.2289%,
respectively, and 0.3356%, 0.3244%, and 0.1808% for the 2018 Map, respectively;
and (3) the mean, median, and minimum Schwartzberg scores for the proposed map
were 0.6256%, 0.6157%, and 0.4784%, respectively, and 0.5754%, 0.5695%, and
0.4252% for the 2018 Map, respectively.
              FF318.     Mr. Trende analyzed the splits in the proposed map,
determining that the proposed “map splits only 15 counties between the 17 districts”
and does so “in a manner consistent with the way counties have historically been


                                          110
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 117 of 228




split in the Commonwealth,” especially considering that “[t]here are three counties
in Pennsylvania that must be split due to their population: Philadelphia, Montgomery
and Allegheny” and “[o]utside of these mandatory splits, the splits in the [p]roposed
[m]ap impact just 25.1% of the population.” Id. at 12-13, 15.
              FF319.       According to Mr. Trende, the proposed map “also splits
relatively few municipal divisions,” a total of 17, and that, notably, “the only large
city the [p]roposed [m]ap splits is Philadelphia (which must be split due to its
population),” while “[l]arge cities such as Pittsburgh, Allentown, Erie, and Reading
are kept intact.” Id. at 15-16.
              FF320. Concerning the VRA, Mr. Trende “does not purport to conduct
a racially polarized voting analysis, and thus does not make claims as to whether a
district is required by the VRA,” but notes “that, as with the current plan, there is at
least one district that is consistent with the VRA.” Id. at 17.
              FF321. In this regard, Mr. Trende states that “[b]lack voters comprise
a majority of the Voting Age Population (“VAP”) in Congressional District 3” and,
further, that “Black voters would be well-positioned to elect the candidate of their
choice in Congressional District 2, where minority groups together comprise almost
65% of the VAP, but where Black voters comprise a plurality of the non-white
VAP.” Id.
              FF322. Mr. Trende testified that incumbents are paired together in two
districts. Id. at 16-17.
              FF323. On the issue of partisanship, Mr. Trende provided the mean-
median and efficiency gap scores for both proposed map and the 2018 Map for three
different periods/election races, “Trump-Biden only,” the “2020 Elections,” and the
“2016-2020 Elections.” Id. at 21.


                                          111
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 118 of 228




             FF324. Mr. Trende calculated the efficiency gap for the proposed map
during these periods/election races as 0.036%, 0.030%, and 0.056%, respectively,
and -0.010%, -0.016%, and -0.041% for the 2018 Map, respectively.
             FF325. Mr. Trende also calculated the mean-median for the proposed
map during these periods/election races as 0.030%, 0.020%, and 0.022%,
respectively, and 0.007%, -0.004%, and 0.002% for the 2018 Map, respectively.
             FF326. Mr. Trende provided figures for the Governor’s map/plan and
concluded that “the Governor’s Map is less compact across virtually every measure
than the [p]roposed [m]ap and is less compact than the existing map in multiple
instances.” Id. at 22.


11.    Justin Villere (Draw the Lines PA)
             FF327. The Draw the Lines Amici submitted a statement from Justin
Villere, Managing Director of Draw the Lines PA, to support what the amici refer to
as the “Pennsylvania Citizens’ Map” or the “Citizens’ Map.”
             FF328. In the words of Mr. Villere,

             The Citizens’ Map, in effect, represents the values of
             everyday Pennsylvania mappers more than any other map
             that has been published or considered. Further, by using
             direct hands-on public involvement to draw the original
             map, publishing the map, asking for feedback, and then
             revising it, Draw the Lines has modeled a transparent and
             accountable public process. The Citizens’ Map is not a
             perfect map but it represents what our thousands of
             mappers and a clear majority of public commenters would
             want to see in their congressional maps.
(Villere Report at 2.)
             FF329. As explained by Mr. Villere, the Citizens’ Map contains 17
districts that are contiguous and deviate in population by no more than one person.

                                        112
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 119 of 228




             FF330. In terms of compactness scores, Mr. Villere states that the map
has a Reock score of 0.451, a Polsby-Popper score of 0.376, a Schwartzberg score
of 1.67, a Pop-Polygon score of 0.77, and Convex Hull score of 0.81. Id. at 4.
             FF331. Mr. Villere notes that “limiting jurisdictional splits was not a
top-3 priority for our mappers,” but nonetheless explains that the Citizens’ Map
“splits 14 counties a total of 16 times, equal to the 14/16 split by the 2018 map” and,
also, “splits 16 municipalities,” which is “an improvement on the 19 splits in the
2018 map.” Id. at 4.
             FF332.      According to Mr. Villere, “[s]ome municipal splits are
unavoidable due to size (like Philadelphia), or due to the zero[-]population deviation
requirement. Other splits (like Pittsburgh) were the result of trade-offs to maximize
other values (like communities of interest, compactness, and political
competitiveness).” Id.
             FF333. Mr. Villere states that, in the Citizens’ Map, “[t]o adhere to
the Voting Rights Act, Districts 2 and 3 are majority-minority districts. District 2 is
a coalition district (29% Black, 22% Hispanic, 10% Asian), while District 3 is
majority Black (55%).” Id.
             FF334. On the issue of competitive districts, Mr. Villere submits that
“[t]he Citizens’ Map, using 2016-2020 composite election data, would yield five
strongly Democratic and six strongly Republican districts” and “[s]ix districts would
produce competitive elections (major party candidates within 10% of each other).”
Id.
             FF335. Mr. Villere adds that using PlansScore, which evaluates maps
for partisan fairness, the Citizens’ Map, when not factoring in the status of




                                         113
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 120 of 228




incumbents, “has an efficiency gap of 3.5% in favor of Republicans,” which “means
Republicans would win an extra 3.5% of 17 seats, or an extra half-seat.
             FF336. According to Mr. Villere, when factoring incumbency, there
is a 0.2% gap in favor of Republicans.” Id. at 5.
             FF337. Mr. Villere provides a detailed description of the geographical
contours for each district and brief statements as to why the composed districts
preserve the relevant community interests.
             FF338. The Court finds that all experts presented were qualified to
offer expert opinions on the subjects of their testimony.
             FF339. Citizen Voters Amici did not submit an expert report.


   D. Evidentiary Objections
             During trial, the Governor objected to the admission of Dr. Memmi’s
and Dr. Brunell’s reports on the grounds that the reports are inadmissible hearsay,
and allowing the reports into evidence would bestow an unfair advantage on the
parties proffering them. The Governor also argued that the reports submitted by the
Amici’s experts should be weighed in a manner that appropriately reflects their lack
of exposure to cross-examination. The Governor readily acknowledged the Court’s
rationale for allowing those Amicus Participants to submit expert reports and that the
Court was attempting to balance consideration of those Participants’ views and
proposed maps, on the one hand, with the need to ensure that the evidentiary hearing,
in which the Amicus Participants were not permitted to participate, was manageable
on the other hand. It is also important to note that the Governor’s expert report
included analysis of all of the Amicus Participants’ reports based on a request by the
Governor to do so. The Governor nonetheless argued that the Amicus Participants’


                                         114
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 121 of 228




expert reports were not subject to the kind of rigorous adversarial testing applied to
the reports submitted by the experts who testified at the hearing. Therefore, he
requested that the Court’s assessment of the Amicus Participants’ reports take
account of that difference.
             The Court submits that it did not abuse its discretion in overruling the
objection. Due to the expedited nature of the proceedings, the Parties were permitted
to present one to two plans and corresponding expert reports but were only permitted
to have one expert testify at the trial. The Amicus Participants were permitted to
present one plan and one expert report, and were not permitted to participate in trial.
All Parties were given the opportunity to file counter expert reports to respond to
any of the expert reports of the other Parties and the Amicus Participants. Because
the expert reports submitted by the Amicus Participants were subject to adversarial
testing, and the Parties and the Amicus Participants all had the opportunity to point
out to the Court the shortcomings of the other expert reports, everyone was in equal
circumstances. It is also noteworthy to add that none of the Parties objected to the
admission of the Declarations moved into evidence by the Senate Democratic
Caucus Intervenors or the Statement by Michael Lamb on the basis of hearsay. In
fact, a number of parties and applicants during the intervenor hearing stated that the
Court could just request maps and reports and decide without a hearing. Hence, the
Court believes it was correct to overrule the objection.
             Moreover, in its January 26, 2022 order denying Khalif Ali’s appeal,
the Supreme Court seemingly countenanced this Court’s strategy of limiting the
Amicus Participants’ participation in this matter to the submission of an expert report
and plan in writing. Doubtless, if the Supreme Court had not approved, it would




                                         115
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 122 of 228




have clarified that before the Court and Parties expended time and resources by
proceeding in this manner.
             The Governor also objected to admission of Dr. Memmi’s and Dr.
Brunell’s reports based on fairness. It argued that Dr. Memmi’s report addressed
the same map as does the report of the Republican Legislative Intervenors’ testifying
witness, Dr. Barber. And, although the Congressional Intervenors submitted two
maps, they had Dr. Brunell address one map, while their testifying expert, Dr.
Naughton, addressed the other. Both experts’ reports were proffered in support of
both maps. The other Parties at the hearing all offered expert reports by one witness,
namely, the witness who testified at the hearing and was subject to cross-
examination. The Governor argued that to safeguard the truth-seeking process and
place the parties on a level playing field, the expert reports of Dr. Memmi and Dr.
Brunell should not be admitted into evidence.
             The Court further points out that the Speaker and Majority Leader of
the Pennsylvania House of Representative and the President Pro Tempore and
Majority Leader of the Pennsylvania voluntarily offered to join together as one party
in a good faith attempt to streamline the proceedings and avoid the duplication of
efforts at trial. The House Democratic Caucus Intervenors and Senate Democratic
Caucus Intervenors did not join as intervenors and were permitted to file 1-2 reports
each. By allowing Democratic House and Senate Intervenors the opportunity to
provide two reports and maps each just because they did not join as intervenors, but
precluding Republican House and Senate Intervenors from doing so because they
joined as intervenors would be prejudicial. Recognizing each would have been
entitled to submit up to two plans and two expert reports had they not joined together,
the Court did not perceive any unfair advantage to the Governor or any other party.


                                         116
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 123 of 228




The Court also did not believe it was fair to penalize those parties for making an
effort to accelerate the proceedings in light of the exigent timeline. Moreover, as the
Court explained to counsel, the object of soliciting expert reports and proposed plans
from the parties, intervenors and amici was to educate the Court and provide an array
of options for the Court. The Court submits that it did not abuse its discretion in
overruling the objection.
             Exhibits introduced in trial and attached to briefs were admitted into
evidence. All exhibits are part of the record in this matter.


     E. Parties’ and Amicus Participants’ Arguments
             The Court will now summarize the parties’ and Amici Participants’
arguments.
1.     Carter Petitioners
             The Carter Petitioners first assert that their proposed plan meets or
exceeds the 2018 Remedial Plan’s performance on the traditional redistricting
criteria that our Supreme Court set forth in LWV II, and additionally reflects the
partisan preferences of Pennsylvania voters. (Carter Pet’rs’ Br. in Support, at 1.)
The Carter Petitioners point out that their Plan “implements a least-change
approach,” in that they used the “superior or comparable” Supreme Court 2018
Remedial Plan as a starting point, which they claim is “a common strategy courts
deploy when, as here, the existing map is rendered obsolete by population changes.”
Id. at 4-5. With respect to taking a least-change approach, the Carter Petitioners
assert that their Plan “preserves district cores, creates continuity in representation,
and respects communities of interest[,]” and satisfies the LWV II criteria and other
redistricting principles previously relied upon by our Supreme Court. Id. at 4.


                                         117
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 124 of 228




Specifically, the Carter Petitioners assert that they “were able to preserve the core of
the 2018 Remedial Plan’s districts and create continuity for the overwhelming
majority of Pennsylvania residents.” Id. at 6 (citing Karcher v. Daggett, 462 U.S.
725, 740 (1983), and Reynolds v. Sims, 377 U.S. 533, 578-79 (1964)). They point
out that their Plan allows 87% of Pennsylvania’s population to remain in their
respect districts under the 2018 Remedial Plan. Id.
             In terms of the traditional redistricting criteria, the Carter Petitioners
assert that their Plan meets the equal population requirement of LWV II, because it
“includes 4 districts with the ideal population and 13 districts with a deviation of
plus or minus one person[,]” which “level of population deviation readily satisfies
constitutional requirements.” Id. at 7. The Carter Petitioners next contend that their
Plan is similar in compactness to the 2018 Remedial Plan. Id. In this regard, they
point out that they have complied with LWV II by providing the Plan’s Reock,
Schwartzberg, Polsby-Popper, Population Polygon, and Area/Convex Hull measures
of compactness for each district. Id. at 8. They further point out that their Plan’s
Reock score matches the 2018 Remedial Plan’s score, and that the Plan nearly
matches (each by 0.01) the 2018 Remedial Plan’s scores on the other measures. Id.
The Carter Petitioners explain that some decreases in compactness measures was
caused by their attempt to maintain population equality in Districts 4 and 5.
Moreover, they explain that population deviations in the counties comprising those
districts (Bucks and Delaware Counties) required them “to reach outside of those
subdivisions for additional population.” Id. at 9. The Carter Petitioners also assert
that their Plan meets the contiguity requirement. Id. Finally, the Carter Petitioners
argue that their Plan “maintains and builds upon the 2018 Remedial Plan’s respect




                                          118
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 125 of 228




for the integrity of political subdivisions[,]” in that it “has the same or fewer county,
county subdivision, and vote tabulation district splits.” Id.
                In terms of other redistricting principles, the Carter Petitioners first
claim that their Plan preserves minority voting rights as reflected in the 2018
Remedial Plan. The Carter Petitioners maintain that their Plan complies with
Mellow and the VRA, because “[i]t closely follows the boundaries of the 2018
Remedial Plan with regard to those areas of the state with sizeable minority
populations, thus preserving [the 2018] minority opportunity districts . . . .” Id.at
10-11. They also point out that their expert, Dr. Rodden, did not take racial data into
account when making adjustments for population changes. Id. at 11. The Carter
Petitioners next assert that their Plan “creates districts that represent the natural and
well-defined communities of interest” and, where changes were required, “follows
natural and political subdivision boundaries with a focus on keeping communities
together.” Id. at 12 (noting District 7 needed more population, so Carbon County
added to unify the Allentown-Bethlehem-Easton metropolitan area consisting of
entirety of Northampton, Lehigh, and Carbon Counties; and new District 15 that
avoids split of Centre County that previously separated State College from some
suburbs, resulting from loss of District 12). Finally, the Carter Petitioners assert that
their Plan reflects Pennsylvania voters’ partisan preferences because it essentially
matches the 2018 Remedial Plan, while also containing “truly competitive districts.”
Id. at 13-14.
                In their response brief, the Carter Petitioners add that the Court should
not select a plan that overly favors one party or another and/or that splits
communities of interest, including the plans of the House and Senate Republican
Intervenors and the Republican Congressional Intervenors, and Amici Participants


                                           119
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 126 of 228




Voters of the Commonwealth and Citizen Voters. (Resp. Br. in Support of Carter
Plan at 6-11.) Last, the Carter Petitioners contend that this Court owes no deference
to any of the submitted plans, including that of the House and Senate Republican
Intervenors. Id. at 12-17.
2.     Gressman Petitioners
              In their supporting brief, the Gressman Petitioners, who characterize
themselves “[a]s the only nonpartisan party before this Court,” first explain the
guiding legal principles that this Court must consider in reviewing the various plans
submitted to the Court for consideration, which include the neutral criteria of LWV
II, article II, section 16 of the Pennsylvania Constitution, and the VRA. (Br. in
Support of Gressman Pet’rs’ Plan at 2, 12-14.) The Gressman Petitioners also note
that there are other permissible factors the Court may consider, such as metrics,
which include a plan’s maximum population deviation and compactness measures.
Id. at 14. The Gressman Petitioners assert that their proposed Plan is superior
because it “achieves or approaches the best metrics that can be attained on all of
Pennsylvania’s legal requirements, while appropriately considering the additional
permissible redistricting factors.” Id.
              Specifically, the Gressman Petitioners assert that their Plan, which has
5 districts with 764,864 residents and 12 districts with 764,865 residents, has the
best population equality compared to the other proposed plans. Id. at 15-16. The
Gressman Petitioners also claim that their Plan outperforms the 2018 Remedial Plan,
the House Republican Intervenors’ Plan, and the Governor’s Plan in terms of
splitting political subdivisions, as it splits only 15 counties, 19 municipalities, 1 city,
3 boroughs, 15 townships, and 15 wards. Id. at 17-24. The Gressman Petitioners
also claim their Plan is contiguous in accordance with LWV II. Id. at 24. The


                                           120
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 127 of 228




Gressman Petitioners further assert that their Plan is compact, and they focus on their
Plan’s mean scores for Polsby-Popper (0.33), Reock (0.40), and Convex Hull (0.80),
as well as the Plan’s cut edges score (5,546). Id. at 25-29. In doing so, the Gressman
Petitioners contend that their Plan substantially outperforms the House Republican
Intervenors’ Plan on compactness, the 2018 Remedial Plan on three of the four
measure, and is equal to or comparable to the Governor’s Plan. Id. at 27.
             The Gressman Petitioners further assert that their plan exhibits partisan
fairness under the Free and Equal Elections Clause, which is measured by a number
of metrics including direct majority responsiveness (resulting in larger vote share
being rewarded with larger seat share), the efficiency gap (achieving a gap near zero
for each election analyzed), and the mean-median score (scoring very close to zero).
Id. at 29-40. The Gressman Petitioners also argue that their Plan complies with the
Fourteenth Amendment to the United States Constitution and section 2 of the VRA,
because it contains three districts in the Philadelphia area in which minority-group
members constitute 51%, 52%, and 57% of the voting age population. (Br. in
Support of Gressman Pet’rs’ Plan at 40-46.) Moreover, the Gressman Petitioners
point out, their Plan would, for the first time, create a Latino majority-minority
district. Id. at 43-46. The Gressman Petitioners also claim their Plan is superior
based upon on other factors, such as pairing zero incumbents in the same districts
and maintaining respect for communities of interest, as recognized in Mellow. Id. at
47-48; see also id. at 49-63 (demonstrating preserved communities of interest). For
all of the above reasons, the Gressman Petitioners urge this Court to adopt their
proposed Plan.




                                         121
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 128 of 228




              In their responsive brief, the Gressman Petitioners largely repeat the
above arguments, but add that they take no position with respect to making changes
to the 2022 Primary Election calendar. (Gressman Pet’rs’ Resp. Br. at 24.)


3.    Governor Wolf Intervenor
              In his Brief in Support, Governor Wolf Intervenor asserts that he “is the
only party to this litigation who has a constituency of, and thus represents the
interests of, all Pennsylvania voters.” (Governor Wolf Intervenor Br. in Support of
Plan at 1.)      Acknowledging that the Free and Equal Elections Clause of the
Pennsylvania Constitution (article I, section 5), the principles announced in the
Supreme Court’s LWV II decision, the Supreme Court’s and this Court’s prior
decisions in Mellow, and Article I, Section 2 of the U.S. Constitution (one person,
one vote) govern this Court’s analysis, Governor Wolf argues that his Plan complies
with all of the above requirements. (Governor Wolf Intervenor Br. in Support of
Plan at 7-11.)
              Specifically, Governor Wolf asserts that his Plan contains districts that
are essentially equal in population, as “no district has more than 764,865 persons
and no district has fewer than 764,864 persons . . . .” Id. at 18. Further, he claims
that the compactness of his Plan is shown by its Polsby-Popper (0.381), Reock
(0.431), and voting district cut edges (5185) scores, which demonstrate that his Plan
is more compact than other proposed plans, such as HB 2146. Id. at 19-20.
Governor Wolf additionally asserts that his plan is contiguous, similar to the 2018
Remedial Plan. Id. at 20. Regarding splits, Governor Wolf points out this his plan
splits only 16 counties, which is comparable to the 2018 Remedial Plan’s 13 split
counties and the 19 split counties in Mellow. Id. He claims that the splits were


                                         122
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 129 of 228




necessary in both Philadelphia and Allegheny Counties because their “populations
[are] too large to subsume in a single congressional district.” Id. Governor Wolf
further asserts that his Plan is superior because it “carefully considered decisions to
ensure that cohesive communities of interest are preserved” based on feedback he
received “via the Governor’s Public Comment Portal[,]” “testimony received in
listening sessions held by the Governor’s Redistricting Advisory Council[,]” and the
nearly 500 submissions to the Redistricting Public Comment Portal. Id. at 20-21.
As examples, Governor Wolf points to numerous comments received requesting that
the City of Reading and Centre County be kept whole, which requests the Plan
honored. Id. at 22.
             Governor Wolf next contends that his plan is superior because it does
not entrench a structural partisan advantage and promotes accountability and
responsiveness to voters, which is shown by his expert Dr. Duchin’s overlay method
analysis. Id. Governor Wolf asserts that Dr. Duchin’s analysis shows that his Plan
results in a “level ‘partisan playing field,’ while the House Map ‘entrenches a
Republican advantage.’” Id. at 24-25. Therefore, according to Governor Wolf, his
Plan provides voters of this Commonwealth with an equally effective power to select
the representatives of their choice. Id. at 25. Governor Wolf further contends that
Dr. Duchin’s ensemble analysis of randomly drawn plans compared to his Plan, as
well as her use of the efficiency gap (+0.10), Eguia artificial partisan advantage (-
0.05), the mean-median score (-0.01), and the partisan bias score (-0.018) as
measurements, confirms that Governor Wolf’s Plan does not create any systematic
partisan advantage, but rather “creates a level electoral playing field and promotes
accountability and responsiveness to voters” and “districts [that] are responsive to
Pennsylvania political trends and prevailing voter preference.” Id. at 26-27. Overall,


                                         123
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 130 of 228




the Governor contends, using both methods reflects that his Plan: “reflects the
Majority Rule Principle, as the political party winning the majority of votes
statewide is predicted, as a general matter, to win a majority of congressional seats”;
“adheres to the Close-Votes-Close-Seats Principle, meaning an electoral climate
with a roughly 50-50 split in partisan preference should produce a roughly 50-50
representational split”; and “preserves ‘swing’ districts that can be won by members
of either major political party under recent voting patterns.” Id. at 27. Accordingly,
Governor Wolf requests that this Court choose his proposed Plan, as it comports
with redistricting principles of LWV II. Id. at 28.
             In his responsive brief, Governor Wolf repeats his arguments,
summarized above, and additionally observes that this case is more similar to
Mellow than LWV II, and, as such, “goes beyond simply asking whether each plan
satisfies the requirements of” LWV II. (Governor Wolf’s Resp. Br. at 3.) Further,
Governor Wolf responds to the Senate and House Republican Legislative
Intervenors’ argument that HB 2146 is entitled to special deference, asserting that
no special deference is due. Id. at 6-11.


4.     Republican Legislative Intervenors (Senate and House Leaders)
     a. Senate Republican Intervenors (Corman & Ward)
             Senate Republican Intervenors Corman and Ward acknowledge in their
opening brief that the traditional, constitutionally-derived redistricting principles set
forth in LWV II govern this matter. (Pre-hearing Opening Br. of Senate Republican
Intervenors at 1-5.) They also contend that additional principles and factors must be
considered, including the VRA (citing Gingles, 478 U.S. at 71), the Fourteenth
Amendment to the United States Constitution (citing Shaw v. Reno, 509 U.S. 630,


                                            124
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 131 of 228




641 (1993)), and other political factors, such as protection of incumbents and the
maintenance of political balance that existed after the prior reapportionment. (Pre-
hearing Opening Br. of Senate Republican Intervenors at 5-8.) Senate Republican
Intervenors further point out that, while the LWV II Court stated, in dicta, that
subordinate factors utilized as part of creating a redistricting plan “may not ‘unfairly
dilute the power of a particular group’s vote for a . . . representative[,]’” “[i]t did not
attempt to define the contours of ‘unfair’ vote[ ]dilution.” (Pre-hearing Opening Br.
of Senate Republican Intervenors at 8.)          Senate Republican Intervenors then
recognize the principle that a court is permitted to intervene when the General
Assembly and Governor reach an impasse in enacting a restricting scheme. Id. at
10. However, given that “there is no doubt that redistricting remains a fundamentally
legislative act[,]” Senate Republican Intervenors contend that their proposed Plan,
i.e., HB 2146, is “entitled to deference and special weight as a reflection of the
legislative process (given that the House has passed it and it is making its way
through the Senate) and the will of the people’s elected representatives.” Id. at 10-
12 (citing numerous federal and U.S. Supreme Court cases). On this basis, Senate
Republican Intervenors request that this Court choose their proposed Plan, HB 2146,
“in order to honor the General Assembly’s constitutional prerogative to engage in
redistricting.” Id. at 12.


   b. House Republican Intervenors (Cutler & Benninghoff)
              House Republican Intervenors Cutler and Benninghoff, who have
submitted the same plan as the Senate Republican Intervenors, assert that the
traditional redistricting principles of LWV II should guide this Court in selecting an
appropriate congressional districting plan.           (House Republican Intervenors


                                           125
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 132 of 228




Corrected Opening Br. at 5.) The House Republican Intervenors contend that HB
2146 was passed by the House following “the most open and transparent
Congressional redistricting process in recent history” and “is nearly identical to the
map drawn by a citizen and good government advocate[,]” Amanda Holt. Id. The
House Republican Intervenors point out that Ms. Holt’s proposal was selected
because “it was drawn without political influence, met constitutional standards,
limited the splits of townships and other municipalities, and offered districts that
were company and contiguous.” Id. at 6. They note that the proposal was amended
to its current form, and subsequently amended based upon 399 comments from
citizens. Id. at 6-7.
              Acknowledging that congressional redistricting is unquestionably the
prerogative of the General Assembly, the House Republican Intervenors observe that
nearly all impasse cases generally involve a disagreement between the legislature
and the governor on an appropriate redistricting plan. Id. at 10. However, the House
Republican Intervenors contend that “impasse does not mean that the General
Assembly’s plan—despite the failure to the Governor to sign it into law—is entitled
to no special consideration when the judiciary must take up the unwelcome
obligation of redistricting the Commonwealth.” Id. Stated otherwise, the House
Republican Intervenors urge this Court to give HB 2146 special consideration,
notwithstanding the Governor’s veto thereof, “because it best reflects state policies
and the people’s preferences.” Id. at 11.
              Moreover, the House Republican Intervenors contend that HB 2146
closely adheres to, and does exceptionally well on, traditional redistricting principles
and was drawn without any partisan data. Id. at 12-13. In this regard, the House
Republican Intervenors highlight that HB 2146 has a population deviation of plus or


                                          126
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 133 of 228




minus one, which is the best that can be achieved, and it is also contiguous and
compact. Id. at 13. Specifically, HB 2146 achieved a 0.324 Polsby-Popper score,
which is similar to the 2018 Remedial Plan’s 0.327 and, thus, comparable to that
plan in terms of compactness. Id. at 13-14. The House Republican Intervenors
further highlight that HB 2146 only splits 15 counties with 18 total splits, which is
also very similar to the 2018 Remedial Plan that split 14 counties 19 times. Id. at
14. Further, HB 2146 splits only 16 municipalities with a total of only 18 splits,
while the 2018 Remedial Plan split 18 municipalities a total of 19 times. Id. The
House Republican Intervenors additionally highlight that HB 2146 creates two
districts with a minority voting age population greater than 50%, including one with
a black voting age population over 50%. Id. at 15.
             The House Republican Intervenors next assert that, although not
required by the Constitution, HB 2146 “is demonstrably fair under numerous
partisan fairness measures.” Id. Specifically, the House Republican Intervenors
contend that HB 2146’s partisan fairness was established via its expert’s, Dr.
Barber’s, comparison of the bill to a set of simulated maps following only the
traditional criteria, which not only accounts for partisan fairness but also the
geographic distribution of voters across the Commonwealth. Id. at 15-16. The
House Republican Intervenors further highlight the results of Dr. Barber’s analysis,
which “demonstrate that the House Plan follows the[] traditional redistricting criteria
similar to that of the simulated plans” and “that, if anything, the House Plan is more
favorable to Democrats.” Id. at 16. In particular, they point out that HB 2146 “is
predicted to result in 9 Democratic-leaning seats and 8 Republican-leaning seats
using an index of statewide elections from 2012 to 2020”; “[t]he most common
outcome, however, is 9 Republican-leaning seats and 8 Democratic-leaning seats.”


                                         127
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 134 of 228




Id. at 16-17. This, the House Republican Intervenors contend, shows how HB 2146
“is fair and can flip seats depending on different election outcomes.” Id. at 17.
             The House Republican Intervenors further highlight HB 2146’s mean-
mean score of -0.015, which is close to zero, its efficiency gap of -0.02, which is
also close to zero, and its uniform string analysis, all of which revealed that HB 2146
is fair. Id. at 17-18. The House Republicans also point out that HB 2146 creates
five competitive districts, four of which are Democratic-leaning, and, in using race-
conscious simulations, a map with 9 Democratic-leaning seats is the most common
outcome. Id. at 20-21. Finally, the House Republican Intervenors suggest that this
Court should reject any maps that subordinate traditional redistricting criteria in
favor of a map that seeks proportional representation. Id. at 21-24. For the above
reasons, the House Republican Intervenors request that this Court adopt HB 2146.


5.    Congressional Intervenors
             Congressional Intervenors argue that this Court’s decision in this matter
is guided by the same constitutional requirements as the General Assembly. (Brief
of Congressional Intervenors at 9.) In particular, Congressional Intervenors contend
that their two plans, Reschenthaler 1 or Reschenthaler 2, submitted to this Court for
consideration, both meet the U.S. Constitution’s one person, one vote requirement,
comply with the VRA, and comport with the Free and Equal Elections Clause of the
Pennsylvania Constitution. Id.
             Citing Mellow, Congressional Intervenors first assert that both of their
plans have a maximum total deviation of one voter, and thus, they meet the equal
population requirement. Id. at 10. Further, Congressional Intervenors’ plans both
comply with the VRA “because sufficiently polarized voting does not exist and, thus,


                                         128
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 135 of 228




the VRA is simply not implicated.” Id. at 12. Citing the three Gingles factors, which
are threshold conditions for demonstrating vote dilution under section 2 of the VRA,
Congressional Intervenors explain that only “[i]f the Gingles factors are met[ is]
there [] good reason to believe that Section 2 of the VRA mandates the creation of a
minority-majority district, but, as succinctly put by the [United States] Supreme
Court, ‘if not, then not.’” (Br. of Congressional Intervenors at 12-13.) They further
explain that if one of the factors, such as white bloc voting, cannot be established,
“then the requisite good reason for drawing a minority-majority district does not
exist.” Id. at 13. As applied to their two plans, Congressional Intervenors contend
that the data analyzed by their expert, Dr. Brunell, does not indicate racially
polarized voting, which would necessitate the creation of a minority-majority
district. Id. at 14-15. Therefore, Congressional Intervenors assert that in the absence
of the third Gingles factors showing racially polarized voting that would preclude a
minority from electing the candidate of their choice, the VRA is not implicated. Id.
at 15-16.
             Congressional Intervenors next contend that their plans satisfy the
traditional redistricting criteria of LWV II. Id. at 17. Specifically, the plans amply
satisfy the compactness requirements, with Reschenthaler 1’s Reock score of 0.435
and Polsby-Popper score of 0.363, which exceeds the 2018 Remedial Plan’s score
by 0.28 units. Id. at 19. Further, Reschenthaler 2’s yields similar scores, with a
Reock score of 0.424, and a Polsby-Popper score of 0.352, both of which are better
than the 2018 Remedial Plan. Id. Congressional Intervenors also contend that their
plans are contiguous. Id. at 19-20. Further, according to Congressional Intervenors,
their plans maintain the integrity of municipalities because they only split 13
counties into fewer than 29 segments and 16 municipal splits into 33 segments,


                                         129
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 136 of 228




compared to the 2018 Remedial Plan, which contains 13 split counties into 30
segments and 19 municipal splits into 39 segments. Id. at 21.
             Congressional Intervenors focus, at length, on how their plans properly
account for communities of interest under the Free and Equal Elections Clause.
While acknowledging this concept “often proves difficult to measure,”
Congressional Intervenors contend that “perhaps most relevant with respect to the
Court’s compactness and political subdivision split analysis because a fair map will,
at times, sacrifice mathematical exactitude to maintain contiguity of communities
that share similar interests.” Id. at 23-24. According to Congressional Intervenors,
the term encompasses “school districts, religious communities, ethnic communities,
geographic communities which share common bonds due to locations of rivers,
mountains and highways,” “a community’s circulation arteries, its common news
media . . . , its organization and cultural ties, its common economic base, and the
relationship among schools of higher education as well as others.” Id. at 24-25
(citing Mellow and Holt I). Congressional Intervenors contend that the Court should
consider this and any evidence, objective and subjective, consistent with the
Commonwealth’s precedent. Id. at 27. Notably, they point out that their plan keeps
Pittsburgh intact, it keeps certain areas intact based on transportation corridors;
shared school districts; shared commercial commuter connections; shared
manufacturing interests, a public transit authority, and a regional health system;
commuter suburbs, universities and hospital networks, and a camp and resort region;
commercial centers and communities; shared commercial, cultural, and
transportation connections; a manufacturing sector versus a more rural area without
manufacturing. Id. at 29-33. Congressional Intervenors contend that mathematical




                                        130
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 137 of 228




“compactness scores will not fully that Reschenthaler 1 and 2 attempt to keep
political subdivisions whole—consistent with communities of interests.” Id. at 33.
             Finally, Congressional Intervenors acknowledge the Court’s ability to
consider other subordinate factors, including competitiveness, incumbency
protection, and partisan fairness. In this regard, they contend, Reschenthaler 1 and
2 are substantially similar to the 2018 Remedial Plan, in that each Reschenthaler
map creates eight Republican, five Democrat, and four toss-up districts, compared
to the 2018 Plan’s seven-six-five breakdown. Id. at 38. Moreover, Congressional
Intervenors note, the mean-median index across different elections ranges from 0 to
3.8, while the average mean-median indexes are 1.85 and 1.89, showing the plans
are sufficiently competitive. Id. at 39-40. Congressional Intervenors further claim
the map creates a fair partisan balance. Id. at 41-42. On these bases, Congressional
Intervenors request that this Court adopt either Reschenthaler 1 or Reschenthaler 2.
             Finally, Congressional Intervenors assert that “Petitioners have
attempted to create a number of false ‘deadlines’ by which . . . this Court must
purportedly act to either enact or select a congressional reapportionment plan before
the date of the 2022 General Primary Election. Id. at 43. In doing so, Congressional
Intervenors suggest that the Court has until at least February 22, 2022, to review,
consider, and select an appropriate congressional reapportionment plan before the
2022 General Primary Election would be impacted, which is similar to what
occurred in LWV II. Id. at 43-45.


6.    House Democratic Caucus Intervenor (McClinton)
             House Democratic Caucus Intervenor McClinton asserts that the House
Democratic Caucus Plan should be accepted by the Court because it meets the


                                        131
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 138 of 228




constitutional requirements governing congressional redistricting, as set forth by the
Supreme Court in LWV II. (House Democratic Caucus Intervenor Br. in Support at
5.) House Democratic Caucus Intervenor McClinton specifically asserts that, under
the Caucus’s Plan, “populations between districts are as equal as practicable and
reflect population shifts in the 2020 Census[,]” noting that they reflect “a population
deviation of only two people between the largest and smallest districts.” Id. at 7-8.
House Democratic Caucus Intervenor McClinton also maintains that the Caucus’s
Plan is compact, with a Reock score of 0.43 and a Polsby-Popper score of 0.28,
which scores are in line with the 2018 Remedial Plan, and contiguous. Id. at 8.
Further, the Plan minimizes splits of political boundaries, with 16 counties, 18
municipalities, and 16 voting precincts that are divided. Id. at 9. For these reasons,
House Democratic Caucus Intervenor McClinton requests that this Court accept the
House Democratic Caucus’s Plan.


7.    Senate Democratic Caucus Intervenors (Costa et al.)
             The Senate Democratic Caucus Intervenors, like other Parties and
Amicus Participants, acknowledge that the traditional redistricting criteria of LWV
II, the Free and Equal Elections Clause, and the VRA guide this Court’s analysis in
choosing a map. (Senate Democratic Caucus’s Br. in Support at 8-14.) The Senate
Democratic Caucus contends that its Proposed Plan 1 complies with the above
requirements because it creates districts of equal population, maintains a majority-
minority district, and employs the traditional redistricting criteria to avoid vote
dilution. Id. at 14-18. Specifically, the Senate Democratic Caucus’s Proposed Plan
1 achieves equal population, with 12 districts with 764,865 residents, and 5 districts
with 764,864 residents; provides minorities with equal opportunity to elect the


                                         132
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 139 of 228




candidate of their choice under the VRA and create a number of potential coalition
district to increase the voices of minorities; is compact, contiguous, and does not
split any political subdivisions unnecessarily; and avoids partisan vote dilution, as
evidenced by its partisan bias metric score, efficiency gap metric score, the mean-
median difference metric, and a declination metric, and the number of competitive
districts in the Plan. Id. at 14-16; see Senate Democratic Caucus’s Expert’s Report
at 11-18. While the Plan, and Proposed Plan 2, splits the City of Pittsburgh, the
Senate Democratic Caucus contends it does so in a way so as to preserve
communities of interest. Id. at 16. As for its Proposed Plan 2, the Senate Democratic
Caucus informs that the primary difference between Plan 1 and Plan 2 is that Plan 2
creates an expanded minority coalition in District 2 in Philadelphia. Id. at 19-20.
Accordingly, the Senate Democratic Caucus requests that this Court adopt one its
redistricting plans.
             In its response brief, the Senate Democratic Caucus responds to the
Senate and House Republican Leaders’ argument that HB 2146 is entitled to
deference, finding such argument to be without merit. (Senate Democratic Caucus
Resp. Br. at 9-12.) Further, with respect to the various arguments set forth about
changing the 2022 Primary Election calendar, the Senate Democratic Caucus
indicates it would defer to the executive branch ability to determine its needs in terms
of administering the election laws. Id. at 13.


8.    Khalif Ali et al.
             Amicus Participants Khalif Ali et al. assert that any new redistricting
plan must make use of the Legislative Reapportionment Commission’s (LRC)
adjustments to the United States Census Bureau’s data, which “returns nearly 30,000


                                          133
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 140 of 228




state prisoners to their home addresses from their [prison] cell addresses.” (Br. of
Amici Khalif Ali et al. at 9-10.) Accordingly, Ali et al. inform that their proposed
Plan is drawn based on the prisoner-adjusted data used by the LRC. Id. at 10. Ali
et al. claim that counting prisoners in their cells unfairly distorts districts in violation
of the Pennsylvania Election Code44 and the Free and Equal Elections Clause of the
Pennsylvania Constitution. Id. at 10-13. Moreover, Ali et al. claim that districting
plans can be based on adjusted census data because there is nothing in federal or
state law that prohibits the Commonwealth from doing so. Id. at 14-16. Although
Ali et al. used the prisoner-adjusted data in creating their Plan, they agree that any
redistricting plan should preserve, and in fact give precedence to, communities of
interest in accordance with Mellow. (Br. of Amici Khalif Ali et al. at 16-23.) Ali et
al. further agree with the other Parties and Amicus Participants that the neutral
redistricting criteria are paramount, not impermissible partisan or political criteria.
Id. at 24-27. Finally, Ali et al. assert that their Plan meets the threshold neutral
redistricting criteria and is comparable to the Governor’s Plan. Id. at 28-29. For
these reasons, Ali et al. suggest that the Court should choose their Plan.


9.     Voters of the Commonwealth
                Voters of the Commonwealth assert that their Plan is contiguous,
because “[e]ach precinct within each district borders at least one other precinct
within that same district; no part of any district is wholly physically separate from
any other part.” (Br. of Amici Curiae Voters of the Commonwealth in Support of
Plan at 11-12.) Further, Voters of the Commonwealth state that their Plan achieves
equal population amongst districts, in that 5 districts contain 764,864 residents and


       44
            Act of June 3, 1937, P.L. 1333, as amended, 25 P.S. §§ 2600-3591.
                                               134
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 141 of 228




the other 12 districts contain 764,865. Id. at 13. Regarding compactness, Voters of
the Commonwealth claim that their Plan has higher mean, median, and minimum
Reock, Polsby-Popper, and Schwartzeberg measure scores than the 2018 Remedial
Plan, and also compares favorably to the Governor’s Proposed Plan. Id. at 13-16
(see Tables 3 and 8). Voters of the Commonwealth further assert that their Plan
minimizes splits of political subdivisions, with only 15 county splits, and keeps
intact both Bucks County and Montgomery County each in one congressional
district, as has historically been the norm. Id. at 16-17. Further, Voters of the
Commonwealth point out that their Plan splits only 17 municipalities, while keeping
intact the state’s largest cities including Pittsburgh, Allentown, Reading, and Erie.
Id. at 19.
             Voters of the Commonwealth additionally argue that their Plan
accounts for VRA principles, in that the Plan “creates at least one district in which
Black voters comprise a majority of the Voting Age Population[, which] is the same
number of such districts in the existing plan.” Id. at 21-22. They also highlight that
“minority groups comprise almost 65% of the Voting Age Population in another
district . . . .” Id. at 22. Voters of the Commonwealth further assert that their Plan
places most incumbents in districts by themselves, which assures that neither
political party is adversely affected. Finally, noting that the Supreme Court in LWV
II did not adopt a particular measure to determine the extent to which partisan
considerations may be taken into account but that numerous measures have since
been used therefor, Voters of the Commonwealth contend that their Plan’s mean-
median gap of between 2% and 3% is within the normal range, as is their Plan’s
efficiency gap of between 3% and 5.6%, which is comparable to the 2018 Remedial




                                         135
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 142 of 228




Plan. Id. at 24-25. Accordingly, Amicus Participants Voters of the Commonwealth
would like this Court to consider their proposed Plan.
10.    Draw the Lines PA
             In its Statement submitted in support of its proposed 17-district
congressional district map submitted to this Court for consideration, Amicus
Participant Draw the Lines PA informs that its Plan is a “nonpartisan Citizens’ Map
. . . that aggregates what over 7,200 Pennsylvanians, representing 40 of
Pennsylvania’s 67 counties, collectively mapped” via a group of citizen mappers
from throughout the Commonwealth, which group was formed following Draw the
Lines PA’s public mapping competition.            (Proposed Redistricting Plan and
Supporting Statement of Amici Curiae Draw the Lines PA Participants at 2.) Draw
the Lines PA asserts that its Plan is superior in terms of the traditional redistricting
criteria of LWV II, and further complies with the VRA, “and other metrics important
to Pennsylvanians, including competitiveness, partisan fairness, and representation
of communities of interest.” Id. Draw the Lines PA informs that it presented its
Plan to leaders of the General Assembly, “as a potential starting point[,]” and they
claim that Governor Wolf has also “touted the Citizens’ Map as meeting the
principles proposed by his Pennsylvania Redistricting Advisory Council[.]” Id. at
2-3. On these bases, Draw the Lines PA would like for this Court to consider their
proposed Plan.


11.    Citizen Voters
             Amicus Participants Citizen Voters have submitted a proposed 17-
district congressional district plan for this Court’s consideration. (Citizen Voters’
Proposed Map of Congressional Districts at 1.) Citizen Voters contend that their


                                          136
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 143 of 228




proposed Plan “restores the following counties which were split by Pennsylvania’s
2018 Congressional District Map: Washington, Cambria, Butler, and Centre.” Id.
Citizen Voters maintain that their proposed Plan “endeavors to maintain
communities of interest in one congressional district[,]” and, as an example, they
point to their Plan’s inclusion of “the City of Pittsburgh and the South Hills of
Allegheny County in one district in District 17.” Id. Citizen Voters further asserts
that their proposed Plan splits less municipalities than the 2018 Remedial Plan with
fewer than 16 municipality splits, as compared to the 19 municipality splits in the
2018 Remedial Plan. Id. at 1-2. Citizen Voters also note that their Plan splits only
14 counties, with 3 counties splitting into 3 congressional districts and 11 counties
split into 2 congressional districts. Id. at 2. On these bases, Citizen Voters would
like for this Court to consider their proposed Plan.


 V.    ANALYSIS AND FINDINGS OF FACT AND CONCLUSIONS OF
       LAW45
       A. Traditional Neutral Criteria
1.     Contiguity
               CL1. All plans presented to the Court met the contiguous requirement.
All plans proposed districts of contiguous territory. See Duchin Expert Rebuttal 2;
see also DeFord Expert Rebuttal 9.
               CL2. No part of any district in any plan was wholly separated from any
other part and the configuration of the districts in all plans allows travel from any
point within the district to another point without leaving the district.




       45
         The Concerned Citizens for Democracy’s proposed redistricting plan was filed late, the
group was thus denied amicus status, and its proposed plan therefore will receive no consideration.
                                               137
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 144 of 228




             CL3. Accordingly, all 13 plans presented to the Court satisfy the
contiguity requirements.


2.    Population Equality

             CL1. Each and every proposed plan in this case satisfies the command
in the Free and Equal Elections Clause that congressional districts be created “as
nearly equal in population as practicable.” See Pa. Const. art. II, § 16 (stating that
“representative districts . . . shall be composed of compact and continuous territory
as nearly equal in population as practicable . . . .”).
             CL2. Every plan contains districts that have a maximum population
deviation of one person, with the exception of the Carter Plan and the House
Democratic Plan, which both yield districts that have a two-person deviation.
             FF1. It has been argued by the Congressional Intervenors and others
that a two-person deviation renders the above plans flawed.
             CL3. The “one person, one vote” principle is not literal, and the U.S.
Supreme Court has held that where the maximum population deviation between the
largest and smallest district is less than 10%, a state or local legislative map
presumptively complies with the one person, one vote rule. See Abbott, 136 S. Ct.
at 1124; see also Mellow, 607 A.2d at 207.
             FF2. All the experts agree that the ideal district population for each of
the Commonwealth’s 17 reapportioned congressional districts is approximately
764,864 or 764,865 persons.
             CL4. While a two-person district might in itself be statistically
insignificant and was apparently the byproduct of legitimate efforts to limit the
number of municipal splits, most of the maps were able to achieve a one-person


                                           138
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 145 of 228




deviation. See Mellow, 607 A.2d at 207; Larios v. Cox, 300 F. Supp. 2d 1320, 1338
(N.D. Ga.) (three-judge court), aff’d mem., 542 U.S. 947 (2004).
             FF3. The Court finds that because all parties, but two, were able to
produce maps with a one-person deviation, the maps that were unable to do so will
be given less weight.
             FF4. With the exception of one Amicus Participant, Ali, all Parties and
Amici relied on Pennsylvania’s Legislative Reapportionment Commission (LRC)
Data Set #1, which takes the 2020 Census Redistricting Data (Public Law 94-171)
Summary File for Pennsylvania and adjusts it “to contain the most recent voting
precinct boundaries in Pennsylvania, reflecting any boundary changes that occurred
after the data was last submitted to the Census Bureau.” Pennsylvania Redistricting:
Maps, https://www.redistricting.state.pa.us/maps/#congressional-districts.        (last
visited Jan. 30, 2022.) See Dr. Duchin N.T., 1/27/22 Tr. 331:25-332:17.
             FF5. The Ali Plan instead relied on the LRC’s Data Set #2, which
“contains the same updated geography as Data Set #1, but also contains population
adjustments to account for the reallocation of most prisoners to their last known
addresses prior to incarceration.”         Legislative Reapportionment Comm’n,
Pennsylvania                            Redistricting:                          Maps,
https://www.redistricting.state.pa.us/maps/#congressional-districts. (last visited Jan.
30, 2022); see also Dr. Duchin N.T., 1/27/22 Tr. 332:10-13, 332:17-20.
             CL5. Consistent with the Supreme Court’s approach in LWV III, 181
A.3d at 583, n.8, and in Mellow, 607 A.2d at 218-19, the Court believes that, on
comparison, the most appropriate map for this case would rely on Data Set #1.
             CL6. In seeking to alter the presumptive norm and traditional and
commonly accepted practice of relying on LRC’s Data Set #2, Ali is essentially


                                         139
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 146 of 228




asking the Court to make a determination that prisoners have a constitutional,
statutory, or common law right to have their home residential addresses considered
as the place for calculating the geographical breakdowns in population. These issues
are not properly before the Court.
             CL7. While we appreciate the goals and concerns expressed by Ali,
absent legislation or a constitutional requirement to the contrary, the Court cannot
find that Data Set #2 should be used at this time for congressional districting. See
Pa. House Res. 165 (requiring the use of Data Set #1 in any congressional
redistricting legislation before the 2030 Census).
             CL8. The Ali Plan’s adjustments in population, relocating prisoners to
their residential addresses, would result in a population deviation of 8,676 people.
See, e.g., Gressman Post-Trial Submission at Ex. A, p.3.
             CL9. Given that the Ali Plan relies on Data Set #2, while all the other
plans utilize Data Set #1, this Court ultimately places little to no weight on the Ali
plan or map and, based on its other credibility and evidentiary weight
determinations, discussed below, finds that the Ali plan or map cannot appropriately
be compared to other maps.
             CL10. Applying the traditional neutral criteria, the Court concludes
that the remaining 12 plans are contiguous, and all 12 plans are closely population-
balanced for the 2020 Census population.
             CL11. Accordingly, in agreement with the expert for the Governor, the
neutral criteria most relevant for distinguishing the remaining 12 plans are
compactness and respect for counties and municipalities.

3.    Comparison of Remaining 12 Maps under Traditional Neutral Criteria


                                         140
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 147 of 228




             FF1. Dr. Duchin examined the Governor’s Plan and the other twelve
plans submitted to the Court to determine which plans satisfy an “excellent standard”
regarding the traditional criteria, i.e., the LWV II neutral benchmarks. See Duchin
Report at 2; Amended Post Hearing Submission of Intervenor-Respondent Gov Tom
Wolf (Wolf Post Hearing Submission) ¶40.
             FF2. Applying the traditional criteria, Dr. Duchin concluded that “[a]ll
13 plans are contiguous, and all 13 plans are closely population-balanced for either
Census PL population or prisoner-adjusted population.” (Duchin Resp. Report at 2;
Wolf Post Hearing Submission ¶47.)
             FF3. Dr. Duchin stated that, “the neutral criteria most relevant for
distinguishing the plans are compactness and respect for counties and
municipalities.” Id. (emphasis in original); Wolf Post Hearing Submission ¶48.
             FF4. Dr. Duchin included the following chart showing a comparison
of compactness and splitting metrics for each of the plans submitted to the Court.




4.    Political Subdivision Splits


                                        141
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 148 of 228




              CL1.     As noted repeatedly throughout this opinion, a central
consideration is the degree to which a proposed districting plan respects the
boundaries of political subdivisions.
              CL2.     According to LWV II, when applying the Pennsylvania
Constitution to a congressional districting plan, courts must look to article II, section
16, which provides that, unless necessary to ensure equality of population, the plan
must not divide any “county, city, incorporated town, borough, township or ward.”
Pa. Const. art. II, §16.
              FF1. Although many of the experts who provided analysis of the
proposed plans identified the number of political subdivision splits present in each
plan, it is noteworthy that the numbers that these experts reported do not always
agree.
              FF2. By and large, the Parties also did not offer much in the way of
evidence challenging the numbers of political subdivision splits that each Party
reported with respect to its own plan, or the methodology by which the experts
counted such splits.
              CL3. Accordingly, in this Court’s view, the fairest way to assess the
number of political subdivision splits in the proposed plans is to generally accept the
figures offered by each Party’s expert with respect to that Party’s plan.
              FF3. There are two caveats to this approach. First, the Court notes that
the political subdivision numbers reported by Dr. Duchin and Dr. Barber are highly
consistent, and have only a few small differences. (See Duchin Resp. Report at 2;
Barber Resp. Report at 8.)
              FF4. Accordingly, where a Party or Amicus Participant fails to identify
a relevant figure, or a number is such an outlier that it strains credulity, the Court


                                          142
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 149 of 228




will look to Dr. Duchin and Dr. Barber’s charts and, if consistent, accept that
number.
                FF5.   Second, numerous Parties and Amicus Participants did not
identify the number of divided wards in their plans, or did not compare the other
proposed plans on that point. Dr. DeFord, however, provided a comprehensive
assessment of the ward splits in all of the proposed plans. (See DeFord Resp. Report
at 8, 27.)
                FF6. Accordingly, where a Party or Amicus Participant fails to identify
the number of divided wards in its proposed plan, or the reported number is a
significant outlier, the Court will accept the number reported by Dr. DeFord.
                a. Carter Plan
                FF7. The Carter Plan divides 13 counties.
                FF8. It divides 19 municipalities. (Rodden Report at 21-22.)
                FF9.   The Carter Petitioners do not identify the number of ward
divisions, but Dr. DeFord reports that the Carter Plan splits 25 wards. (DeFord Resp.
Report at 8.)
                b. Gressman Plan
                FF10. The Gressman Plan divides 15 counties, 19 municipalities, and
15 wards. (DeFord Report at 9, 13-15, 16-17.)
                c. Governor’s Plan
                FF11. The Governor’s Plan divides 16 counties.
                FF12. It further divides 18 municipalities. (Duchin Report at 8.)
                FF13. The Governor does not identify the number of ward divisions,
but Dr. DeFord reports that the Governor’s Plan splits 25 wards. (DeFord Resp.
Report at 8.)


                                           143
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 150 of 228




                d. HB 2146
                FF14. HB 2146 divides 15 counties.
                FF15. Dr. Memmi reports that HB 2146 divides 19 municipalities, but
Dr. Barber reports that it divides 16. (Memmi Report at 5; Barber Report at 16.)
                FF16. Dr. Duchin also reports that it divides 16 municipalities, which
agrees with Dr. Barber, and this number is therefore accepted. (Duchin Resp. Report
at 2.)
                FF17. Dr. Memmi reports that HB 2146 divides 9 wards, but this
number is a significant outlier in comparison to all other proposed plans. (Memmi
Report at 5.) Dr. DeFord reports that HB 2146 divides 18 wards. (Dr. DeFord Resp.
Report at 8.)
                e. Senate Democratic Caucus Plan 1
                FF18. The Senate Democratic Caucus 1 Plan divides 17 counties, 19
municipalities, and 18 wards. (Schoenberg Decl. ¶¶38-40.)
                f. Senate Democratic Caucus Plan 2
                FF19. The Senate Democratic Caucus 2 Plan divides 16 counties, 16
municipalities, and 14 wards. (Schoenberg Decl. ¶¶48-50.)
                g. House Democratic Caucus Plan
                FF20. The House Democratic Caucus Plan divides 16 counties, 18
municipalities, and 22 wards. (House Democratic Caucus Br., App. B (Legislative
Data Processing Center Report).)
                h. Reschenthaler 1 Plan
                FF21. The Reschenthaler 1 Plan divides 13 counties, 16 municipalities,
and 25 wards. (Brunell Report at 4-6.)
                i. Reschenthaler 2 Plan


                                          144
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 151 of 228




              FF22. The Reschenthaler 2 Plan also divides 13 counties and 16
municipalities, but divides 24 wards. (Brunell Report at 4-6.)
              j. Draw the Lines PA Plan
              FF23.    The Draw the Lines Plan divides 14 counties and 16
municipalities. (Villere Statement at 4.)
              FF24. The Draw the Lines Amici do not identify the number of ward
divisions, but Dr. DeFord reports that the Draw the Lines Plan splits 16 wards.
(DeFord Response Report at 27.)
              k. Ali Plan
              FF25. The Ali Amici’s expert did not expressly identify the number of
political subdivision splits in the Ali Plan.
              FF26. The Ali Amici’s report 19 total splits of counties, but do not
specify the number of counties that are split. (Ali Br. at 28.)
              FF27. They report a remarkably high 177 municipality splits, but this
is an extreme outlier. Id.
              FF28. Dr. Duchin and Dr. Barber both report that the Ali Plan divides
16 counties and 18 municipalities, so the Court accepts these numbers instead.
(Duchin Resp. Report at 2; Barber Resp. Report at 8.)
              FF29. The Ali Amici also do not identify the number of ward divisions,
but Dr. DeFord reports that the Ali Plan splits 33 wards. (DeFord Resp. Report at
27.)
              l. Citizen-Voters Plan
              FF30.     The Citizen-Voters Plan divides 14 counties and 16
municipalities. (Citizen-Voters Br. at 2.)




                                          145
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 152 of 228




             FF31. The Citizen-Voters Amici did not include any expert report in
support of their proposal; however, Dr. Duchin and Dr. Barber both report identical
numbers, so they are accepted as accurate.
             FF32. The Citizen-Voters Amici do not identify the number of ward
divisions, but Dr. DeFord reports that that the Citizen-Voters Plan splits 21 wards.
(DeFord Resp. Report at 27.)
             m. Voters of PA Plan
             FF33.    The Voters of PA Plan divides 15 counties and 17
municipalities. (Trende Report at 13, 16.)
             FF34. The Voters of PA Amici do not identify the number of ward
divisions, but Dr. DeFord reports that the Voters of PA Plan splits 41 wards.
(DeFord Resp. Report at 27.)
             n. Summary
             FF35. With these figures collected, we can begin to draw some
conclusions about which proposed plans perform the best on this criterion.
             FF36. The plans that split the fewest counties are: both Reschenthaler
Plans, and the Carter Plan, all of which divide 13 counties; followed by the Draw
the Lines Plan, which splits 14 counties.
             FF37. The plans that split the fewest municipalities are: HB 2146, both
Reschenthaler Plans, the Senate Democratic Caucus 2 Plan, the Draw the Lines Plan,
and the Citizen-Voters Plan, all of which divide 16 municipalities.
             FF38. The plans that split the fewest wards are: the Senate Democratic
Caucus 2 Plan, which divides 14 wards; the Gressman Plan, which divides 15 wards,
the Draw the Lines Plan, which divides 16 wards, and HB 2146, which divides 18
wards.


                                        146
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 153 of 228




             FF39. In total, then, the plans which divide the fewest counties, cities,
incorporated towns, boroughs, townships, and wards are: the Senate Democratic
Caucus 2 Plan, which divides 46; HB 2146 and the Gressman Plan, which both
divide 49; the Citizen-Voters Plan, which divides 51; and the Reschenthaler 1 and 2
Plans, which divide 53 and 54, respectively.
             FF40. Quite apparently, most of these plans perform quite well in terms
of maintaining the boundaries of political subdivisions.
             FF41. It is worth emphasizing, however, that of all the plans proposed,
only the Reschenthaler Plans were able to divide only 13 counties and 16
municipalities—the lowest number in both categories.
             FF42. Indeed, a number of experts testified that it is possible to create
a 17-district plan that splits only 13 counties and 16 municipalities. (N.T. at 170
(testimony of Dr. Rodden), 287 (testimony of Dr. DeFord), 461 (testimony of Dr.
Duchin).)
             FF43. This is precisely what both Reschenthaler plans managed to do.
5.    Compactness
             FF1. Dr. Duchin concluded that, with respect to compactness, “the
maps [submitted to the Court] are quite good across the board, but that you can still
see some that are better.” (N.T. at 334:15-21.)
             FF2. Dr. Duchin explained:

             By far the two most compact plans, considering these
             metrics overall, are VotersOfPA and GovPlan. The next
             two, some ways behind the leaders, are Reschenthaler1
             and CitizensPlan.

(Duchin Resp. Report at 2.)

             FF3. We find Dr. Duchin’s opinion in this regard to be credible.

                                        147
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 154 of 228




             FF4. Dr. Duchin testified that Governor Wolf’s proposal to split
Pittsburgh into two congressional districts actually allowed his plan to achieve
higher compactness scores, specifically on the Polsby-Popper measure. (N.T. at
216-17 (testimony of Dr. DeFord), 436 (testimony of Dr. Duchin); Villere Report at
4.)
             CL.    This effect on compactness compromises Governor Wolf’s
compactness scores and renders them not comparable to other maps which did not
split Pittsburgh into two congressional districts.
6.     Splitting of Pittsburgh Into Two Congressional Districts
             FF1. Among the considerations addressed by the parties relating to the
splitting of political subdivisions, and an important one in this Court’s view, is
whether a proposed plan divides the City of Pittsburgh into multiple districts.
             FF2. By all accounts, the City of Pittsburgh has remained within a
single congressional district in all previous districting plans, including the existing
plan enacted in 2018.
             CL1. It cannot be gainsaid that, under the standards listed in the
Pennsylvania Constitution and applied to congressional redistricting by our Supreme
Court, boundaries such as those of City of Pittsburgh should not be divided across
multiple districts unless it is absolutely necessary to achieve population equality.
See Pa. Const. art. II, §16 (“Unless absolutely necessary no county, city,
incorporated town, borough, township or ward shall be divided . . . .”); LWV II, 178
A.3d at 816-17 (congressional districts shall not “divide any county, city,
incorporated town, borough, township, or ward, except where necessary to ensure
equality of population”).




                                         148
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 155 of 228




             FF3. As Pennsylvania’s second largest city, Pittsburgh is certainly an
important political unit.
             FF4. Despite its size, however, it is undisputed that Pittsburgh’s
population is not so great that it is necessary to divide the city into multiple
congressional districts, as is the case with Philadelphia.
             FF5. Philadelphia is the only municipality in the Commonwealth that
is larger than a population of a single congressional district.
             FF6. Thus, Philadelphia must be split into districts. See, e.g., N.T. at
270 (testimony of Dr. DeFord), 524 (testimony of Dr. Barber).
             FF7. The splitting of Pittsburgh, then, may achieve certain other ends,
but population equality is not one. For instance, due to its irregular border, the
decision to split Pittsburgh into two districts allows a plan to achieve higher
compactness scores, specifically on the Polsby-Popper measure. (N.T. at 216-17
(testimony of Dr. DeFord), 436 (testimony of Dr. Duchin).)
             FF8. Another end that can be achieved by splitting Pittsburgh is that it
may allow a plan to use Pittsburgh’s Democratic-leaning population to create two
districts in the immediately surrounding area that are likely Democratic-leaning,
instead of only one. (N.T. at 526-27 (testimony of Dr. Barber).)
             CL2. An effort to achieve a partisan advantage through the splitting of
a city is, of course, suspect. See Barber Report at 28 (“the true purpose served by
splitting Pittsburgh in half is likely the achievement of partisan ends”).
             FF9. The Court further heard credible evidence which supports the
conclusion that the City of Pittsburgh in many ways constitutes a community of
interest, such that its division would not be in the best interest of its residents.




                                           149
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 156 of 228




               FF10. Dr. Naughton testified that Pittsburgh voters tend to particularly
favor local candidates in statewide elections. (N.T. at 695-96.) The Court finds this
testimony credible as no other party put forth any evidence that refuted the veracity
of his opinion.
               FF11. Moreover, City of Pittsburgh residents share common interests
in a representative’s advocacy for the acquisition of federal funds and the obtaining
of constituent services. (N.T. at 836-37 (testimony of Dr. Naughton).) The Court
finds this testimony credible as no other party put forth any evidence that refuted the
veracity of his opinion.
               FF12. In addition, splitting the City of Pittsburgh into two districts
would create two districts in which portions of the City would be grouped with
surrounding suburban areas. This could incentivize candidates and representatives
to favor either parts of the City or parts of the suburbs depending upon where they
believe they can get more votes, and thereby place less representational focus on the
disfavored areas. (N.T. at 713-15 (testimony of Dr. Naughton).) The Court finds
this testimony credible as no other party put forth any evidence that refuted the
veracity of his opinion.
               FF13. To the extent that the Declaration of Michael Lamb advocates
for the splitting of the City of Pittsburgh into two congressional districts, this Court
finds the declaration unpersuasive because it is based on Mr. Lamb’s life and
subjective personal experiences, which the Court does not find particularly useful
or credible.      Moreover, Mr. Lamb’s was not presented as an expert and his
declaration does not address why it is absolutely necessary to split the City of
Pittsburgh to achieve population equality in any congressional district.




                                          150
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 157 of 228




              FF14. It is also notable that in Mellow, the City of Pittsburgh had been
and was proposed by all to remain entirely within one district. Mellow, 607 A.2d at
223.
              CL3. In light of all of these considerations, this Court concludes that
the maintenance of the City of Pittsburgh within one district is an important factor,
which is entitled to weight in the ultimate analysis.
              FF15. The Governor’s Plan, the Senate Democratic Caucus Plan 1 and
Plan 2, the Draw the Lines PA Plan, and the plan submitted by Khalif Ali propose
to divide the City of Pittsburgh.
              FF16. None of the parties who split the City of Pittsburgh, including
the Governor, presented any credible evidence as to why it was “absolutely
necessary” to split the second largest city in Pennsylvania, in order to achieve equal
population.
              FF17. Dr. Naughton emphasized the community of interest factor and
opined the City of Pittsburgh should absolutely not be split. The Court finds this
testimony credible as no other party put forth any evidence that refuted the veracity
of his opinion.
              FF18. Without evidence substantiating the absolute necessity to split
the City of Pittsburgh, the Court finds that the end that was to be achieved by doing
so was to divide the City of Pittsburgh’s Democratic leaning population to create
two districts in the immediately surrounding area that are Democratic leaning,
instead of one. See N.T. at 524-25 (Barber); Barber Rebuttal Report at 8, Table 1,
23.
              FF19.   The five plans that split the City of Pittsburgh into two
congressional districts, i.e., the Governor’s Plan, the Senate Democratic Caucus Plan


                                         151
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 158 of 228




1 and Plan 2, the Draw the Lines PA Plan, and the plan submitted by Khalif Ali, will
be given less weight than the plans which did not split the City of Pittsburgh.
              FF20. Although the House Democratic Caucus’s Plan keeps the City
of Pittsburgh whole, it instead draws a Freddy Krueger-like claw district in
Allegheny County to “grab” Pittsburgh to combine it with small Republican-leaning
areas to the north.

7.      Communities of Interest
              The discussion of splitting Pittsburgh is an appropriate segue into the
importance of considering communities of interest relationships in redistricting
efforts. As the Supreme Court has recognized, “redistricting efforts may properly
seek to preserve communities of interest which may not dovetail precisely with the
static lines of political subdivisions.” Holt, 67 A.3d at 1241.
              A common thread running through the Supreme Court’s opinion in
LWV II is that, to the greatest degree practicable, a congressional redistricting plan
should avoid dividing a community with shared interests and concerns.46 In adopting
these “neutral criteria,” the Supreme Court reasoned that “[t]hese standards place the
greatest emphasis on creating representational districts that both maintain the




       46
          Notably, LWV II repeatedly references the significance of communities in its analysis.
178 A.3d at 816 (“When an individual is grouped with other members of his or her community in
a congressional district for purposes of voting, the commonality of the interests shared with the
other voters in the community increases the ability of the individual to elect a congressional
representative for the district who reflects his or her personal preferences.”). Moreover, in
evaluating the historic underpinnings that lead to the development of the neutral criteria it
prescribed, the Court emphasized that the Free and Equal Elections Clause, in its original form,
provided that “all elections ought to be free; and that all free men having a sufficient evident
common interest with, and attachment to the community, have a right to elect officers, or to
be elected into office.” Id. (quoting Pa. Const. of 1776, art. I, § VII) (emphasis added).
                                              152
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 159 of 228




geographical and social cohesion of the communities in which people live and
conduct the majority of their day-to-day affairs[.]” LWV II, 178 A.3d at 814.
              Accordingly, although compactness, contiguity, and respect for
municipal boundaries are undoubtedly the primary tool for evaluating the
constitutionality of a redistricting plan, we understand these principles serve to
advance the Free and Equal Elections Clause’s overarching goal of protecting the
interest of communities. In many ways, redistricting’s most basic objective is to
provide communities with adequate representation. As Dr. Naughton credibly
testified, this is accomplished by joining communities that share one or more
substantial interests that may be the subject of state legislative action. Indeed, “[t]o
be an effective representative, a legislator must represent a district that has a
reasonable homogeneity of needs and interests; otherwise the policies he
supports will not represent the preferences of most of his constituents.” Prosser
v. Elections Board, 793 F. Supp. 859, 863 (W.D. Wis. 1992) (emphasis added); see
also Hall v. Moreno, 270 P.3d 961, 971 (Colo. 2012) (“if an important issue is
divided across multiple districts, it is likely to receive diffuse and unfocused
attention from the multiple representatives it affects, as each is pulled in other
directions by the many other issues confronting their districts. However, if a
discrete and unique issue is placed in one district, that representative may
familiarize herself with the complexities of the issue and the stakeholders it
affects.”).
              The term “communities of interest” encompasses “school districts,
religious communities, ethnic communities, geographic communities which share
common bonds due to locations of rivers, mountains and highways[.]” Holt I, 38
A.3d at 746. In Mellow, the Court considered a community’s “circulation arteries,


                                          153
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 160 of 228




its common news media . . . , its organization and cultural ties[,]” its “common
economic base[,]” and the relationship among “schools of higher education as well
as others.” 607 A.2d at 220-21. “The matching of interests and representation
allows voters with shared interests to have a voice in the legislature that is roughly
correlated to their numbers.” Stephen J. Malone, Recognizing Communities of
Interest in a Legislative Apportionment Plan, 83 VA.L.REV. 461, 465-66 (1997).
See also Michael Li, Yurij Rudensky, Rethinking the Redistricting Toolbox, 62 How.
L.J. 713, 732 (2019) (a communities of interest analysis when, “[w]ielded well,” can
be “powerful in enhancing representation”).
             FF1. Not all Parties provided the Court with evidence or expert opinion
on how their plans maintain the contiguity of communities that share similar
interests.
             FF2. The Congressional Intervenors have provided the Court with an
expert opinion of Dr. Naughton about how the Reschenthaler 1 and 2 Plans
endeavored to keep people with common interests together when considering where
to draw the congressional district lines.
             FF3. The Court finds Dr. Naughton’s testimony, as it pertains to the
importance of keeping of community interests together is based on his professional
and personal experience, to be credible as no other party put forth any evidence or
expert opinion that refuted the veracity of Dr. Naughton’s opinion.
             FF4.       Dr. Naughton’s opinions reflect his established and
comprehensive knowledge of the communities of interest factor, as it pertains to the
political and geographic population and voting tendencies of the people of the
Commonwealth upon which he opined, and no other party put forth any evidence or




                                            154
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 161 of 228




expert opinion that refuted the veracity of Dr. Naughton’s opinions and they are
consistent with the opinions of Dr. Duchin.
             FF5. Dr. Naughton testified that the City of Pittsburgh, and its various
communities, are best served by keeping the City within one congressional district.
(N.T. at 712-15.) The Court finds this testimony credible as no other party put forth
any evidence or expert opinion that refuted the veracity of Dr. Naughton’s opinion.
             FF6. Like Dr. Naughton, Dr. Duchin recognized the significance of
communities in her redistricting analysis. Dr. Duchin credibly described, with
respect to communities of interest, that the fundamental concept is that there is value
to maintaining “geographical areas where the residents have shared interests that
are relevant to their representation. . . . [T]his could be shared history, shared
economics, shared culture, many other examples.” (N.T. at 342-43) (emphasis
added).
             FF7.    We find Dr. Duchin’s testimony about the importance of
considering Pennsylvania’s communities when redistricting to be credible as it is
consistent with Dr. Naughton’s opinions and no other party refuted or challenged
the veracity of Dr. Duchin’s opinion.
             FF8. In the Court’s careful review of the evidence presented, the
Gressman Petitioners did not establish that they considered community interests
when deciding to erect boundary lines across the Commonwealth, which is an
important factor in the Court’s assessment of the evidence.
             FF9. Having heard and reviewed the various experts’ testimony and
reports in this case, the Court has credited the generally accepted proposition that
the division of counties and municipalities is not simply a metric that depends solely
on mathematical calculation and a numerical result, because many variables are at


                                         155
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 162 of 228




play and can be altered or otherwise manipulated in the overall calculus, individually
or collectively.
             FF10. At the hearing, the Gressman Petitioners’ expert, Dr. DeFord,
confirmed that he did not consider communities of interest when splitting counties
and municipalities to compose the map’s districts, and he specifically admitted that
he did not conduct “any analysis with respect to the communities of interest related
to the City of Pittsburgh.” (N.T. at 314-315, 318-22.) In this regard, the Court finds
Dr. DeFord’s methodology should be given less weight.
             FF11. The Citizen Voters did not provide an expert report to support
their map. Consequently, the Court received no expert testimonial or written
explanation concerning why the map drew the lines in the particular manner that it
did and, perhaps, more importantly, to demonstrate why the divides in the maps were
absolutely necessary to achieve population equality as opposed to some other
secondary or impermissible goal. There was no discussion or evidence whatsoever
presented by Citizen Voters that their district lines preserved communities of
interests. Left with this evidentiary mode of speculation, the Court provides little to
no weight to the map submitted by the Citizen Voters.
             FF12. With regard to the Carter Petitioners, their expert, Dr. Rodden,
although utilizing a “least change” approach to redistricting, which is discussed more
fully below, did not explicitly examine or appear to have considered the specific
considerations that need to be taken into account when establishing that splits
maintain the surrounding communities of interest.
             FF13. To the extent the Carter Petitioners try to equate a “least change”
analysis to a community of interest analysis, see Carter’s Br. at 12, the Court
disagrees, because the “least change” method focuses on the preexisting status of a


                                         156
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 163 of 228




map’s boundary lines, and Dr. Rodden admitted in his report and testimony that, in
the past 10 years, there has been dramatic population shifts in Pennsylvania and
fluctuating levels of density in specific areas throughout the Commonwealth, which
presumably would have resulted in differing communities of interest. See Rodden
Report at 6-10; N.T. at 85-87, 115-17. See also discussion infra on the “least
change” doctrine.
              FF14. In his map details online, the Governor included a statement of
the communities of interest he considered when considering where to draw the
congressional district lines.     See https://www.governor.pa.gov/congressional-
districts-map-proposals.
              FF15. Dr. Naughton testified that Bucks County should not be split into
districts but should be entirely within one district and that Bucks County has been
wholly contained within a single district for decades. (N.T. at 715-16; Dr. Naughton
Report at 7) (opining that “[t]he right Bucks County district would have Bucks in its
entirety.”). The Court finds this testimony credible as no other party put forth any
evidence or expert opinion that refuted the veracity of his opinion.
              FF16.     Regarding whether to combine Philadelphia’s surplus
population with Bucks County, Dr. Naughton testified that the communities in
Bucks County are more similar to those in Montgomery County, and thus Bucks
County should add population by extending the district line into Montgomery
County, rather than Philadelphia County. Id. Dr. Naughton testified in this regard
as follows:

              Q. Next split, Philadelphia and Bucks County. Talk to
              us about what you think should be done in Philadelphia
              and Bucks County.


                                         157
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 164 of 228




            A.     Bucks County should absolutely not be combined
            with the city. The right Bucks County district would
            have Bucks in its entirety and then move into
            Montgomery County, as they’ve done for decades as
            they’re used to, as they have common interests. I mean,
            that border between Bensalem and Philadelphia, you
            know, you don't know if you haven’t been there. If you --
            - you know, if you walk across that line, you know
            you're in Bucks County. You know it. It is --- those
            are two different places. And Bucks, even though it is a
            diverse place and there’s diversity between lower Bucks
            and upper Bucks, it’s used to being together. They work
            together. They like being a unit. They don’t want to be
            part of the city. I guarantee you that.

(N.T. at 715-16) (emphasis). The Court finds this testimony credible as no other
party put forth any evidence or expert opinion that refuted the veracity of Dr.
Naughton’s opinion.
            FF17. In his expert report, Dr. Naughton further opines with respect to
Bucks County and Philadelphia’s surplus population:

            Historically, municipalities in eastern Montgomery
            County have been attached to Bucks. These are highly
            similar communities to their Bucks neighbors in
            demography, economics and land use. Commercial and
            commuting flow easily across this boundary. Both
            Counties have robust open space programs.

            Attaching the lower Bucks communities to Philadelphia
            would render these communities “orphans” from an
            interest and advocacy standpoint. I would go as far to say
            they could essentially lose representation. And I repeat,
            the separation of Bensalem and, in one map adjacent lower
            Bucks municipalities, is entirely unnecessary. Note that
            equally unfair is a map that is based in Bucks and draws in
            a portion of northeast Philadelphia – which would, in my


                                       158
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 165 of 228




             opinion, “orphan” the residents of the city and dilute the
             city’s political influence.
(Dr. Naughton Report at 7-8.) The Court finds this testimony credible as no other
party put forth any evidence or expert opinion that refuted the veracity of his opinion.
             FF18. Dr. Naughton opined that Philadelphia’s surplus population
would be best combined with a district with maximum commonality – that is, with
common interests with Philadelphia, such as use of public transit, recipient of federal
transfer payments and common commercial and industrial interests. It for that
reason, Dr. Naughton concluded that the most sensible plan would attach surplus
Philadelphia residences to Delaware County. (Dr. Naughton Report at 7.) The Court
finds this testimony credible as no other party put forth any evidence that refuted the
veracity of his opinion.
             FF19. Dr. Naughton testified that Delaware County and Philadelphia
County share similar communities of interest along their border, and that a map
connecting them was ideal. (N.T. at 786, 840-41.) The Court finds this testimony
credible as no other party put forth any evidence or expert opinion that refuted the
veracity of Dr. Naughton’s opinion.
             FF20.    Dr. Naughton explained credibly that Philadelphia County
should extend into Delaware County to obtain additional population because the
communities along the Philadelphia and Delaware County borders have similar
needs. (N.T. at 786, 840.)
             FF21. This Court finds this is important because, as Dr. Naughton
credibly explained, a great deal of federal funding flows through county government.
(N.T. at 783-84.)




                                          159
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 166 of 228




              FF22. Contrary to Dr. Naughton’s recommendation, Governor Wolf’s
Plan splits Bucks County.             See https://www.governor.pa.gov/congressional-
districts-map-proposals.
              FF23. Consistent with Dr. Naughton’s recommendation, HB2146
does            not           split              Bucks          County.          See
https://www.legis.state.pa.us/CFDOCS/Legis/PN/Public/btCheck.cfm?txtType=PD
F&sessYr=2021&sessInd=0&billBody=H&billTyp=B&billNbr=2146&pn=2541.
              FF24.    Contrary to the recommendation of Dr. Naughton, the
Governor’s Plan connects Philadelphia’s surplus population to the southern Bucks
County/Bensalem area. See https://www.governor.pa.gov/congressional-districts-
map-proposals.
              FF25.   Consistent with Dr. Naughton’s’ recommendation, HB 2146
does not connect Philadelphia’s surplus population to               Bucks County.
https://www.legis.state.pa.us/CFDOCS/Legis/PN/Public/btCheck.cfm?txtType=PD
F&sessYr=2021&sessInd=0&billBody=H&billTyp=B&billNbr=2146&pn=2541.
              FF26. Consistent with Dr. Naughton’s recommendation, HB 4126
connects     Philadelphia’s   surplus       population   with    Delaware     County.
https://www.legis.state.pa.us/CFDOCS/Legis/PN/Public/btCheck.cfm?txtType=PD
F&sessYr=2021&sessInd=0&billBody=H&billTyp=B&billNbr=2146&pn=2541.
              FF27. The Court finds Dr. Naughton’s testimony, as it pertains to the
splitting of City of Pittsburgh and Bucks County, the treatment of the surplus of
population from Philadelphia, and the importance of protecting communities of
interest, to be credible based on his professional and personal experience.
              FF28. Dr. Naughton’s opinions in this regard reflect his established
and credible knowledge of the communities of interest factor, as it pertains to the


                                           160
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 167 of 228




political and geographic population and voting tendencies of the people of the
Commonwealth upon which he opined and no other party put forth any evidence or
expert opinion that refuted the veracity of Dr. Naughton’s opinions.


   B. Extra-Constitutional Considerations
             There    was    considerable       evidence   presented   regarding    the
“competitiveness” or “partisan fairness” of the plans.        Our inquiry into these
subordinate considerations is strictly circumscribed.         Specifically, while the
Supreme Court in LWV II “recognize[d] that other factors have historically played a
role in the drawing of legislative districts, such as the preservation of prior district
lines, protection of incumbents, or the maintenance of the political balance which
existed after the prior reapportionment[,]” it cautioned that it “view[s] these factors
to be wholly subordinate to the neutral criteria of compactness, contiguity,
minimization of the division of political subdivisions, and maintenance of
population equality among congressional districts.” 178 A.3d at 817.
             As the Supreme Court stated in LWV II, meeting the floor of the Free
and Equal Elections Clause traditional criteria, “is not the exclusive means by which
a violation of article I, section 5 may be established.” Id. The Court repeatedly
emphasized that the overarching objective of this provision of our constitution “is to
prevent dilution of an individual’s vote by mandating that the power of his or her
vote in the selection of representatives be equalized to the greatest degree possible
with all other Pennsylvania citizens.” Id. In LWV II, the Supreme Court noted that
there exists the possibility that advances in map drawing technology and analytical
software can potentially allow mapmakers to engineer congressional districting
maps, which although minimally comporting with this neutral “floor” criteria


                                          161
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 168 of 228




nonetheless unfairly dilute the power of a particular group’s vote for a congressional
representative. Id.
1.    Partisan Fairness
      a. Political Geography
             In LWV II, Dr. Chen addressed the impact of the structural or political
geography of Pennsylvania upon the measures of partisan bias and considered the
impact of Pennsylvania’s political geography on the 2011 Plan. Dr. Chen explained
that he measured the partisan bias of the 2011 Plan by utilizing a common scientific
measurement referred to as the mean-median gap. LWV II, 178 A.3d at 774. As the
Supreme Court stated, “Dr. Chen recognized that ‘Republicans clearly enjoy a small
natural geographic advantage in Pennsylvania because of the way that Democratic
voters are clustered and Republican voters are a bit more spread out across different
geographies of Pennsylvania.” Id. at 774.
             FF1. Democratic voters in Pennsylvania are clustered in cities and
urban areas, but Republican voters are more evenly distributed in rural areas.
             FF2. Based upon the evidence credited, the Court finds that
Pennsylvania’s unique “political geography” affects the analysis of partisan
advantage in any proposed map.
             FF3. In a 2013 article authored by Dr. Rodden regarding unintentional
gerrymandering, his results “illustrate[d] a strong relationship between the
geographic concentration of Democratic voters and electoral bias favoring
Republicans.” (N.T. at 178-80.) The Court finds the article be credible as no other
party put forth any evidence that refuted the veracity of his opinions therein.
             FF4. To overcome this natural geographic disadvantage, “Democrats
would need a redistricting process that intentionally carved up large cities like pizza


                                         162
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 169 of 228




slices or spokes of a wheel, so as to combine some very Democratic urban
neighborhoods with some Republican exurbs in an effort to spread Democrats more
efficiently across districts.” (House Republican Intervenors’ Br. at 23, n.20 (quoting
Barber Report at 10 (quoting Jonathan A. Rodden, Why Cities Lose: The Deep Roots
of the Urban-Rural Political Divide, at 155 (Basic Books 2019))).)
             FF5. Dr. Rodden also concluded in this article that “proving such intent
in court will be difficult in states where equally egregious electoral bias can emerge
purely from human geography.” (N.T. at 181.)
             FF6. Dr. Rodden believes these statements to be true today about
Pennsylvania. (N.T. at 181.) The Court finds this opinion to be credible as no other
party put forth any evidence that refuted the veracity of his opinion.
             FF7.     The Gressman Petitioners’ expert, Dr. DeFord, credibly
concurred, opining that there is a “partisan advantage to Republicans based on the
political geography of the state[,]” so it is “not necessarily a surprise to see a slight
tilt favoring Republicans” on the metrics he used. (Dr. DeFord Report ¶104; N.T.
at 291.) The Court finds this opinion to be credible as no other party put forth any
evidence that refuted the veracity of his opinion, and in fact all parties agreed that
the political geography of Pennsylvania favors Republicans.
             FF8. Analyzing the 2020 presidential election, Dr. DeFord credibly
found that “there is not a part of the state where Republican voters are as heavily
concentrated as Democratic voters are in the Philadelphia and Pittsburgh areas.”
(Dr. DeFord Report ¶104; N.T. at 291-92.) The Court finds this opinion to be
credible as no other party put forth any evidence or expert opinion that refuted the
veracity of his opinion.




                                          163
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 170 of 228




             FF9.     The Court finds that Dr. Duchin’s report compellingly
demonstrates the partisan political geography of the Commonwealth.
             FF10. In her expert report, Dr. Duchin credibly found that 100,000
randomly drawn districting plans “tend[ed] to exhibit pronounced advantage to
Republicans across this full suite of recent elections.” (Duchin Report at 18.) Dr.
Duchin further found in metrics from the partisan symmetry family, including the
mean-median score, “random plans favor Republicans,” while the Governor’s Plan
“temper[s] that tendency.” (Duchin Report at 19.)


       b. Simulations
             FF1. One way to evaluate partisan fairness of a map is by comparing
it to a set of simulated maps that follow only traditional criteria. See generally LWV
II.
             FF2. This set of simulated districts is helpful because it provides a set
of maps to which one can compare the proposed map that also accounts for the
geographic distribution of voters in the state.
             FF3. Because voters are not distributed evenly across Pennsylvania,
one cannot evaluate the fairness of a proposed plan with an apples-to-apples
comparison. In other words, if a plan is not evaluated against a non-partisan set of
maps, the potential issues or red flags in the maps may not at all be due to partisan
gerrymandering, but rather the geographic distribution of the voters in the state.
(Barber Report at 11.)
             FF4.    Dr. Barber conducted a simulation analysis that compared
proposed maps with a set of 50,000 simulated maps, a common practice in
redistricting and redistricting litigation. (Barber Report at 11-12; N.T. at 352.)


                                         164
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 171 of 228




             FF5.    Dr. Barber identified the methodology for the algorithmic
creation of simulated maps in his reports. (N.T. at 350-52.)
             FF6. The parameters of the simulation analysis conducted by Dr.
Barber included only the traditional redistricting criteria, not partisan data. (N.T. at
350.)
             FF7. The simulation analysis performed by Dr. Barber demonstrates
that HB 2146 is predicted to result in nine Democratic-leaning seats and eight
Republican-leaning seats using an index of statewide elections from 2012-2020,
whereas the most likely outcome in his 50,000 simulated maps, created without
using partisan data, is eight Democratic-leaning seats and nine Republican-leaning
seats.
             FF8. The Court credits the opinions and methodology of Dr. Barber,
an associate professor of political science at Brigham Young University and faculty
fellow at the Center for the Study of Elections and Democracy in Provo, Utah, who
received his PhD in political science from Princeton University in 2014 with
emphasis in American politics and quantitative methods/statistical analyses.
             FF9. Dr. Barber’s dissertation was awarded the 2014 Carl Albert
Award for best dissertation in the area of American Politics by the American
Political science Association.
             FF10.    Dr. Barber teaches a number of undergraduate courses in
American politics and quantitative research methods, including political
representation, Congressional elections, statistical methods and research design.
             FF11. Dr. Barber served as an expert in a number of cases relating to
redistricting and election issues where he was asked to analyze and evaluate various
political and elections related data and statistical methods.


                                          165
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 172 of 228




             FF12. Dr. Barber has conducted research on a variety of election and
voting related topics, including advanced statistical methods for the analysis of
quantitative data.
             FF13. Dr. Barber has published nearly 20 peer-reviewed articles,
including in the American Political Science Review.


      c. Mean-Median Scores
             In LWV II, Dr. Chen observed that the range of the mean/median gaps
created in any of the Simulated Set 1 plans was between “a little over 0 percent to
the vast majority of them being under 3 percent,” with a maximum of 4 percent. Id.
at 262-63. Dr. Chen further explained that this a “normal range,” and that a 6% gap
“is a statistically extreme outcome that cannot be explained by voter geography or
traditional redistricting principles alone.” LWV Trial, 12/11/17, at 263-64, N.T.
             FF1. In computing mean-median values, the experts provide varying
numbers, although most are within the variation that Dr. Chen described as normal
in LWV II. See LWV II, 178 A.3d at 774 (Dr. Chen noting that the normal range of
the mean-median gap is 0-4%, or 0.04).
             FF2. Not all of the experts state which election data they used to
compute their partisan metrics, such as mean-median scores and efficiency gaps.
However, even where the experts do so specify, the expert data used varies
significantly from expert to expert.
             FF3. Dr. Rodden (for the Carter Petitioners) used only certain years
and select races identified as the 2012 Presidential, Senate, Attorney General,
Auditor General, and Treasurer races; the 2014 Governor race; the 2016 Presidential,
Senate, Attorney General, Auditor General, and Treasurer races; the 2018 Senate


                                         166
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 173 of 228




and Governor races; and the 2020 Presidential, Attorney General, 2020 Auditor
General, and Treasurer races. (Rodden Report at 3-4.)
             FF4. Dr. DeFord (for the Gressman Petitioners) used statewide election
data from all races, including Lieutenant Governor and Supreme Court, from 2012-
2020. However, for one of his measures that he calls majority-responsiveness, Dr.
DeFord does not include Lieutenant Governor information. (DeFord Response
Report, Appendix B.)
             FF5. Dr. Duchin (for the Governor) does not specify precisely what
elections she used; however, it appears from the charts in her report that she
potentially used the 2014 Governor race; the 2016 Presidential, Senate, Attorney
General, Auditor, and Treasurer races; the 2018 Governor and Senate races; and the
2020 Presidential, Attorney General, Auditor General, and Treasurer races. (Duchin
Report at 18-19.)
             FF6. Dr. Barber (for the Republican Legislators) used 50,000 simulated
models to compare data and used data from statewide races from 2012-2020.
(Barber Report at 6.)
             FF7.   Dr. Caughey (for the Senate Democratic Caucus) used the
partisan bias factors and data from the PlanScore website, which he describes as
using the 2020 Presidential election as a baseline. (Caughey Report at 2.) Additional
details   concerning     PlanScore’s     methodology      may      be    found     at
https://planscore.campaignlegal.org/models/data/2020/ (last visited February 4,
2020).
             FF8. Dr. Brunell (for Congressional Intervenors) used all Presidential,
Senate, and Governor races from 2012-2020. (Brunell Report at 9.)




                                        167
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 174 of 228




              FF9. Sean Trende states that he used data obtained from Redistricting
Data Hub, but he does not specify the years or elections used. (Trende Report at 7-
8.)
              FF10. The following figures are taken from the expert reports of Dr.
Rodden, Dr. DeFord, Dr. Duchin, Dr. Barber, Dr. Caughey, Dr. Brunell, and Sean
Trende. (See Rodden Resp. Report at 11; DeFord Resp. Report at 15, 33; Duchin
Resp. Report at 4; Barber Resp. Report at 21; Caughey Resp. Report at 22; Brunell
Report at 9; Trende Report at 24.)
         i.   Carter Plan
              FF11.   For the Carter Plan, Dr. Barber reports a mean-median
difference of -0.006 (-0.6%), favoring Republicans. Dr. DeFord reports -0.0.016
(1.6%), favoring Republicans. Dr. Rodden reports 0.005 (0.5%) (party advantage
unspecified). Dr. Duchin reports -0.113 (-11.3%), favoring Republicans.
        ii.   Gressman Plan
              FF12. For the Gressman Plan, Dr. Barber reports a mean-median
difference of 0.014 (1.4%), favoring Democrats. Dr. DeFord reports -0.008 (-
0.08%), favoring Republicans. Dr. Rodden reports 0.005 (0.5%) (party advantage
unspecified). Dr. Duchin reports -0.0385 (-3.85%), favoring Republicans.
       iii.   Governor’s Plan
              FF13. For the Governor’s Plan, Dr. Barber reports a mean-median
difference of -0.0004 (-0.04%), favoring Republicans. Dr. DeFord reports -0.010 (-
1%), favoring Republicans. Dr. Rodden reports 0.006 (0.6%) (party advantage
unspecified). Dr. Duchin reports -0.0077 (0.77%), favoring Republicans. Dr.
Caughey reports 0.01 (1%), favoring Republicans. Mr. Trende reports -0.011 (-




                                        168
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 175 of 228




1.1%) based on 2020 elections, and 0.003 (0.3%) based on 2016-2020 elections
(party advantage unspecified).
      iv.    HB 2146
             FF14. For HB2146, Dr. Barber reports a mean-median difference of -
0.015 (-1.5%), favoring Republicans, which he explains “is more favorable to
Democrats than 85% of the plans in his simulations.” See Barber Report at 21. Dr.
DeFord reports -0.029 (-2.9%), favoring Republicans. Dr. Rodden reports 0.024
(2.4%). Dr. Rodden specified that this figure favors Republicans. (Rodden Resp.
Report at 10.) Dr. Duchin reports -0.2927 (-29.27%), favoring Republicans. Dr.
Caughey reports 0.023% (2.3%), favoring Republicans.
       v.    Senate Democratic Caucus 1 Plan
             FF15. For the Senate Democratic Caucus 1 Plan, Dr. Barber reports a
mean-median difference of -0.005 (-0.5%), favoring Republicans. Dr. DeFord
reports -0.019 (-1.9%), favoring Republicans. Dr. Rodden reports 0.007 (0.7%)
(party advantage unspecified). Dr. Duchin reports -0.1382 (-13.82%), favoring
Republicans. Dr. Caughey reports 0.007 (0.7%), favoring Republicans.
      vi.    Senate Democratic Caucus 2 Plan
             FF16. For the Senate Democratic Caucus 2 Plan, Dr. Barber reports a
mean-median difference of -0.0003 (-0.03%), favoring Republicans. Dr. DeFord
reports -0.003 (-0.3%), favoring Republicans. Dr. Rodden reports 0.007 (0.7%)
(party advantage unspecified).   Dr. Duchin reports 0.0106 (1.06%), favoring
Democrats.
Dr. Caughey reports 0.005 (0.5%), favoring Republicans.
      vii.   House Democratic Caucus Plan




                                      169
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 176 of 228




             FF17. For the House Democratic Caucus Plan, Dr. Barber reports a
mean-median difference of 0.007 (0.7%), favoring Democrats. Dr. DeFord reports
-0.009 (-0.9%), favoring Republicans. Dr. Rodden reports 0.004 (0.4%) (party
advantage unspecified).      Dr. Duchin reports -0.0071 (-0.71%), favoring
Republicans.
     viii.   Reschenthaler 1 Plan
             FF18. For the Reschenthaler 1 Plan, Dr. Barber reports a mean-median
difference of -0.021 (-2.1%), favoring Republicans. Dr. DeFord reports -0.027 (-
2.7%), favoring Republicans. Dr. Rodden reports 0.01 (1%). Dr. Rodden specified
that this figure favors Republicans. (Rodden Resp. Report at 10.) Dr. Duchin reports
-0.2524 (-25.24%), favoring Republicans.      Dr. Brunell reports 0.0186 (1.6%),
favoring Republicans.
       ix.   Reschenthaler 2 Plan
             FF19. For the Reschenthaler 2 Plan, Dr. Barber reports a mean-median
difference of -0.022 (-2.2%), favoring Republicans. Dr. DeFord reports -0.026 (-
2.6%), favoring Republicans. Dr. Rodden reports 0.01 (1%). Dr. Rodden specified
that this figure favors Republicans. (Rodden Resp. Report at 10.) Dr. Duchin reports
-0.2534 (-25.34%), favoring Republicans. Dr. Caughey reports 0.024 (2.4%),
favoring Republicans. Dr. Caughey noted that he reviewed the Reschenthaler 2
Plan, rather than the Reschenthaler 1 Plan, because it was the only one that was
provided to him. (N.T. at 897-98.) Dr. Brunell reports 0.0189 (1.89%), favoring
Republicans.
        x. Draw the Lines Plan
             FF20. For the Draw the Lines Plan, Dr. Barber reports a mean-median
difference of -0.006 (-0.6%), favoring Republicans. Dr. DeFord reports -0.012 (-


                                        170
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 177 of 228




1.2%), favoring Republicans. Dr. Rodden reports 0.006 (0.6%) (party advantage
unspecified). Dr. Duchin reports -0.1042 (-10.42%), favoring Republicans.
       xi.   Ali Plan
             FF21. For the Ali Plan, Dr. Barber reports a mean-median difference
of -0.012 (-1.2%), favoring Republicans. Dr. DeFord reports -0.018 (-1.8%),
favoring Republicans.     Dr. Rodden reports 0.004 (0.4%) (party advantage
unspecified). Dr. Duchin reports -0.1209 (-12.09%), favoring Republicans.
      xii.   Citizen-Voters Plan
             FF22. For the Citizen-Voters Plan, Dr. Barber reports a mean-median
difference of -0.013 (-1.3%), favoring Republicans. Dr. DeFord reports -0.02 (-2%),
favoring Republicans.     Dr. Rodden reports 0.014 (1.4%) (party advantage
unspecified). Dr. Duchin reports -0.1847 (-18.47%), favoring Republicans.
     xiii.   Voters of PA Plan
             FF23. For the Voters of PA Plan, Dr. Barber reports a mean-median
difference of -0.012 (-1.2%), favoring Republicans. Dr. DeFord reports -0.027 (-
2.7%), favoring Republicans. Dr. Rodden reports 0.026 (2.6%). Dr. Rodden
specified that this figure favors Republicans. (Rodden Resp. Report at 10.) Dr.
Duchin reports -0.2734 (-27.34%), favoring Republicans. Mr. Trende reports 0.020
(2%) based on all statewide 2020 elections, and 0.022 (2.2%) based on all statewide
2016-2020 elections (party advantage unspecified).
             FF24. As Dr. Chen stated in LWV II, mean-median values should fall
within 0-3% due to the political geography of the Commonwealth favoring
Republicans. All of the maps do so here.




                                       171
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 178 of 228




              FF25.    The slight deviations from map to map, all within a few
percentage points is not significant to disregard any particular map because it has an
overly partisan mean-median calculation.
              FF26.      Dr. Duchin’s mean-median numbers for HB 2146,
Reschenthaler Plan 1, Reschenthaler Plan 2, Citizen Voters Plan, Voters of PA Plan,
and Senate Democratic Caucus Plan 1 are such extreme outliers that the Court finds
them to be not credible. As such none of Dr. Duchin’s numbers in the mean-median
metric can be considered.

2.      Efficiency Gap
                   FF1. Like the mean-median values, the experts provide a range of
     numbers relating to the efficiency gap for the various plans, although most
     likewise fall within the variation that Dr. Warshaw described as normal in LWV
     II. See LWV II, 178 A.3d at 777 (Dr. Warshaw noting that the range of efficiency
     gaps is between -20% and +20% over 96% of the time, and between -10% and
     +10% approximately 75% of the time).
                   FF2. The data sets identified above with respect to mean-median
     values are the same data sets the experts used in reporting efficiency gap figures.
                   FF3. The following figures are taken from the expert reports of Dr.
     DeFord, Dr. Duchin, Dr. Barber, Dr. Caughey, and Sean Trende. (See DeFord
     Resp. Report at 15, 34; Duchin Response Report at 4; Barber Response Report at
     21; Caughey Resp. Report at 22; Trende Report at 24.)
        a. Carter Plan
                   FF4. For the Carter Plan, Dr. Barber reports an efficiency gap of
     0.034 (3.4%), favoring Democrats. Dr. DeFord reports -0.004 (-0.4%), favoring
     Republicans. Dr. Duchin reports -0.0058 (-0.58%), favoring Republicans.

                                          172
 Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 179 of 228




   b. Gressman Plan
             FF5. For the Gressman Plan, Dr. Barber reports an efficiency gap
of 0.034 (3.4%), favoring Democrats. Dr. DeFord reports 0.008 (0.8%), favoring
Democrats. Dr. Duchin reports 0.1394 (13.94%), favoring Democrats.
   c. Governor’s Plan
             FF6. For the Governor’s Plan, Dr. Barber reports an efficiency gap
of 0.034 (3.4%) favoring Democrats. Dr. DeFord reports 0.006 (0.6%), favoring
Democrats. Dr. Duchin reports 0.1007 (10.07%), favoring Democrats. Dr.
Caughey reports 0.035, (3.5%), favoring Republicans. Mr. Trende reports -0.035
(-3.5%) based on all statewide 2020 elections, and -0.010 (-1.0%) based on all
statewide 2016-2020 elections (party advantage unspecified).
   d. HB 2146
             FF7. For HB 2146, Dr. Barber reports an efficiency gap of -0.025
(-2.5%), favoring Republicans. Dr. DeFord reports -0.063 (-6.3%), favoring
Republicans. Dr. Duchin reports -0.8336 (-83.36%), favoring Republicans. Dr.
Caughey reports 0.066 (6.6%), favoring Republicans.
   e. Senate Democratic Caucus 1 Plan
             FF8. For the Senate Democratic Caucus 1 Plan, Dr. Barber reports
an efficiency gap of -0.025 (-2.5%), favoring Republicans. Dr. DeFord reports -
0.025 (-2.5%), favoring Republicans. Dr. Duchin reports -0.2601 (-26.01%),
favoring Republicans. Dr. Caughey reports 0.023 (2.3%), favoring Republicans.
   f. Senate Democratic Caucus 2 Plan
             FF9. For the Senate Democratic Caucus 2 Plan, Dr. Barber reports
an efficiency gap of 0.034 (3.4%), favoring Democrats. Dr. DeFord reports 0.010




                                    173
 Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 180 of 228




(1%), favoring Democrats.       Dr. Duchin reports 0.1221 (12.21%), favoring
Democrats. Dr. Caughey reports 0.024 (2.4%), favoring Republicans.
   g. House Democratic Caucus Plan
               FF10. For the House Democratic Caucus Plan, Dr. Barber reports
an efficiency gap of 0.093 (9.3%), favoring Democrats. Dr. DeFord reports 0.033
(3.3%), favoring Democrats. Dr. Duchin reports 0.1814 (18.14%), favoring
Democrats.
   h. Reschenthaler 1 Plan
               FF11.    For the Reschenthaler 1 Plan, Dr. Barber reports an
efficiency gap of -0.025 (-2.5%), favoring Republicans. Dr. DeFord reports -
0.078 (-7.8%), favoring Republicans. Dr. Duchin reports -1.1024 (-110.24%),
favoring Republicans.
   i. Reschenthaler 2 Plan
               FF12.    For the Reschenthaler 2 Plan, Dr. Barber reports an
efficiency gap of -0.025 (-2.5%), favoring Republicans. Dr. DeFord reports -
0.078 (-7.8%), favoring Republicans. Dr. Duchin reports -1.1042 (-110.42%),
favoring Republicans. Dr. Caughey reports 0.063 (6.3%), favoring Republicans.
Dr. Caughey noted that he reviewed the Reschenthaler 2 Plan, rather than the
Reschenthaler 1 Plan, because it was the only one that was provided to him. (N.T.
at 897-98.)
   j. Draw the Lines Plan
               FF13. For the Draw the Lines Plan, Dr. Barber reports an efficiency
gap of 0.034 (3.4%), favoring Democrats. Dr. DeFord reports -0.016 (-1.6%),
favoring Republicans.       Dr. Duchin reports -0.1678 (-16.78%), favoring
Republicans.


                                      174
 Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 181 of 228




   k. Ali Plan
               FF14. For the Ali Plan, Dr. Barber reports an efficiency gap of
0.034 (3.4%), favoring Democrats. Dr. DeFord reports -0.027 (-2.7%), favoring
Republicans. Dr. Duchin reports -0.3166 (-31.66%), favoring Republicans.
   l. Citizen-Voters Plan
               FF15. For the Citizen-Voters Plan, Dr. Barber reports an efficiency
gap of 0.034 (3.4%), favoring Democrats. Dr. DeFord reports -0.026 (-2.6%),
favoring Republicans.       Dr. Duchin reports -0.4074 (-40.74%), favoring
Republicans.
   m. Voters of PA Plan
               FF16. For the Voters of PA Plan, Dr. Barber reports an efficiency
gap of -0.025 (-2.5%), favoring Republicans. Dr. DeFord reports -0.048 (-4.8%),
favoring Republicans.       Dr. Duchin reports -0.5658 (-56.58%), favoring
Republicans.     Mr. Trende reports 0.030 (3%) based on all statewide 2020
elections, and 0.056 (5.6%) based on all statewide 2016-2020 elections (party
advantage unspecified).
               FF17. Although the majority of these figures are within a relatively
consistent range, the Court notes that Dr. Duchin’s reported efficiency gap
numbers are extreme outliers, and so far exceed the figures reported by all other
experts that the Court does not find them credible and, therefore, the Court cannot
consider any of the numbers she submitted in this metric.
               FF18.   Dr. Warshaw noted in LWV II that 75% of the time,
efficiency gap falls between -10% and 10%. Dr. Warshaw stated that the
efficiency gap should be fairly close to zero. LWV II, 178 A.3d at 777. No map
has an efficiency gap over 10%.


                                      175
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 182 of 228




                   FF19. Therefore, all of the maps are within a reasonable and
     acceptable range.
                   FF20. We also consider Dr. Barber’s calculation in determining
     what is a fair map.
                   FF21. Dr. Barber compared his calculations in percentiles for
     where these maps were in relation to his 50,000 simulated maps.
                   FF22. All of the maps, according to Dr. Barber, are at least 54%
     more favorable to Democrats than the simulated maps he calculated. (Barber
     Report at 21.) The Court finds this opinion credible because we find he used
     commonly used measures of redistricting fairness.
                   FF23. According to Dr. Barber, the map proposed by the House
     Democratic Caucus has a more favorable efficiency gap outcome for Democrats
     than 100% of his simulated maps. (Barber Report at 21.) The Court finds this
     opinion credible because Dr. Barber used commonly used measures of measuring
     redistricting fairness.


3.      Other Partisan Considerations
        a. Proportionality Is Not a Requirement or Goal of Redistricting
               As clearly stated by the Pennsylvania Supreme Court, in analyzing
constitutional     criteria    for   legislative   redistricting,   “[t]he   constitutional
reapportionment scheme does not impose a requirement of balancing the
representation of the political parties; it does not protect the ‘integrity’ of any party’s
political expectations. Rather, the construct speaks of the ‘integrity’ of political
subdivisions, which bespeaks history and geography, not party affiliation or
expectations.” Holt I, 67 A.3d at 1235-36.


                                             176
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 183 of 228




             Neutral criteria explicitly provided for by the Constitution cannot be
subordinated to partisan concerns or considerations. See Holt I, 67 A.3d at 1239;
see also LWV II, 178 A.3d at 816-17. A plan which prioritizes the neutral criteria
incorporated by LWV II from the Pennsylvania Constitution—equal population,
compactness, and avoidance of county, municipality, and ward splits unless
absolutely necessary—might not result in a proportional congressional delegation
due to the spatial dispersion of the political groups throughout the state. (Rodden
Report at 9; Barber Report at 5-8, N.T. at 506-10, 627-28; Duchin testimony, N.T.
at 441-42 (“in Pennsylvania, there is a structural advantage towards Republicans and
getting to better partisan fairness does require you to overcome that”).
             If a plan prioritizes proportional election outcomes, like negating a
natural geographic disadvantage to achieve proportionality at the expense of
traditional redistricting criteria, such map will violate the Pennsylvania
Constitution’s Free and Equal Elections Clause. The U.S. Supreme Court in Vieth,
a Pennsylvania redistricting case, stated that “[t]he Constitution provides no right
to proportional representation.” 541 U.S. at 268, 288 (emphasis added). “It
guarantees equal protection of the law to persons, not equal representation . . .
to equivalently sized groups. It nowhere says that farmers or urban dwellers,
Christian fundamentalists or Jews, Republicans or Democrats, must be
accorded political strength proportionate to their numbers.”               Id. at 288
(emphasis added).
             Dr. Wasserman, a renowned nonpartisan redistricting expert, noted
developing a congressional map that provides proportional election outcomes, in
Pennsylvania at least, “requires conscious pro-Dem[ocrat] mapping choices.”




                                         177
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 184 of 228




(House        Republican        Intervenors’        Br.       at      22        (citing
https://twitter.com/redistrict/status/965719652188991488 (tweet dated 2/29/2018)).
             CL1. In light of this, the Court recognizes that proportionality is not a
requirement or a goal of redistricting under federal or state law.
             FF1. Thus, any plan that attempts to achieve proportionality and does
not comply with traditional redistricting criteria must be disregarded.
             FF2 The Gressman Plan was purposefully created using an algorithm
that sought to optimize on partisan fairness. See Gressman Pet’rs’ Br. at 14.
             FF3 The Draw the Lines Plan admittedly split Pittsburgh into two
congressional districts to maximize political competitiveness. (Villere Report at 4.)


      b. Protection of Incumbents
             CL1. Although it is not a constitutionally required, or necessarily
dispositive consideration, among the factors that a court may consider in evaluating
a redistricting plan is the extent to which it protects incumbents from competing
against each other. See LWV II, 178 A.3d at 817 (listing “protection of incumbents”
among the factors that “historically played a role in the drawing of legislative
districts” which may be considered but are “wholly subordinate” to the neutral
factors of compactness, contiguity, population equality, and minimization of the
division of political subdivisions); Mellow, 607 A.2d at 207 (listing the avoidance
of contests between incumbents as a legitimate objective in districting).
             FF1. Notably, because Pennsylvania has lost one seat in the U.S. House
of Representatives, one set of incumbents necessarily must be paired in a single
district. (N.T. at 240 (testimony of Dr. DeFord), 348-49 (testimony of Dr. Duchin).)




                                         178
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 185 of 228




             FF2. The decision of where to create an incumbent pairing, however,
can be relevant in assessing whether a proposed plan favors one political party over
another. Pairing incumbents necessarily forces them to compete for a single seat.
(N.T. at 348 (testimony of Dr. Duchin).)
             FF3. It follows that a proposed plan may be able to favor one party by
pairing incumbents from the other party, effectively eliminating one of them. (N.T.
at 240 (testimony of Dr. DeFord), 349 (testimony of Dr. Duchin).)
             FF4. In practice, however, an important consideration in the present
proposals is that two of Pennsylvania’s current Representatives are not seeking
reelection. Representative Conor Lamb (D), of the current 17th District, is running
for a seat in the U.S. Senate, and is therefore not running for reelection.
Representative Michael Doyle (D), of the current 18th District, is retiring and not
seeking reelection.
             FF5. Accordingly, proposed plans that pair one of those incumbents
with another, or with each other, are less indicative of any unfair distribution of the
burden of incumbent pairing.
             FF6. Not all of the Parties and Amici have discussed incumbent pairing
in their submissions or supporting expert reports.
             FF7. Dr. DeFord, however, compared all of the proposed plans to
evaluate the number of incumbent pairings in each. (DeFord Resp. Report at 21,
39.) Thus, to the extent that a Party does not identify incumbent pairings, the Court
will consider Dr. DeFord’s report.
             FF8. The Gressman Plan includes no significant incumbent pairings.
Although its single necessary pairing places Representative Conor Lamb (D) into a




                                         179
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 186 of 228




district with Representative Guy Reschenthaler (R), Representative Lamb is not
seeking reelection, rendering this pairing insignificant. (DeFord Resp. Report at 21.)
              FF9. The Carter Plan, HB 2146, the Senate Democratic Caucus 1 Plan,
and the Reschenthaler 2 Plan all have one significant pairing.
              FF10. The Carter Plan places Representatives Fred Keller (R) and
Glenn Thompson (R) within a single district. (Rodden Report at 23.)
              FF11. Although the Carter Plan also places Representatives Lamb and
Doyle in the same district, neither are seeking reelection. (DeFord Resp. Report at
21.)
              FF12. HB 2146 pairs Representatives Daniel Meuser (R) and Matthew
Cartwright (D) into a single district.
              FF13. Although HB 2146 places Representatives Lamb and Doyle in
a single district, neither are seeking reelection. (DeFord Resp. Report at 21.)
              FF14. The Senate Democratic Caucus 1 Plan places Representatives
Meuser (R) and Keller (R) into a single district. (DeFord Resp. Report at 21.)
              FF15. The Reschenthaler 2 Plan places Representatives Keller (R) and
Cartwright (D) into in a single district. (DeFord Resp. Report at 21.)
              FF16. The remaining plans all have two significant pairings.
              FF17. However, among those plans, several stand out as pairing more
incumbents from one party than another.
              FF18. The Senate Democratic Caucus Plan 2 pairs Representatives
Brian Fitzpatrick (R) and Brendan Boyle (D) in a single district, along with
Representatives Meuser (R) and Keller (R). (DeFord Resp. Report at 21.)
              FF19. Dr. DeFord cited the Senate Democratic Caucus Plan 2 as an
example of one that particularly favors Democrats, as three Republican incumbents


                                         180
       Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 187 of 228




are paired with another incumbent, but only one Democrat is so paired. (N.T. at
241.)
              FF20. The Reschenthaler 1 Plan pairs Representatives Keller (R) and
Cartwright (D) into a single district, along with Representatives Mary Scanlon (D)
and Chrissy Houlahan (D). (DeFord Resp. Report at 21.)
              FF21. Dr. DeFord cited the Reschenthaler 1 Plan as an example of one
that particularly favors Republicans, as it pairs three Democratic incumbents, but
only one Republican. (N.T. at 241.)
              FF22. The same imbalance appears in the House Democratic Caucus’s
two Plans, which pair Representatives Meuser (R) and Cartwright (D), along with
Representatives Scott Perry (R) and Lloyd Smucker (R). (DeFord Resp. Report at
21.)
              FF23. This is another example of a plan that favors Democrats by
pairing three Republican incumbents, but only one Democrat incumbent.
              FF24.   Likewise, the Draw the Lines Plan pairs Representatives
Fitzpatrick (R) and Boyle (D), along with Representatives Meuser (R) and Keller
(R). (DeFord Resp. Report at 39.)
              FF25.   This plan, thus, also favors Democrats by pairing three
Republican incumbents but only one Democrat.
              FF26. By contrast, the Citizen-Voters Plan favors Republicans by
pairing Representatives Scanlon (D) and Dean (D), along with Representatives
Meuser (R) and Cartwright (D)—three Democratic incumbents but only one
Republican incumbent. (DeFord Response Report at 39.)
              FF27. In sum, as it concerns incumbent protection, the Gressman Plan
appears to have zero significant pairings, followed by HB 2146, the Reschenthaler


                                        181
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 188 of 228




2 Plan, the Carter Plan, and the Senate Democratic Caucus 1 Plan, all of which
include one significant pairing.
             FF28. The remaining plans are largely on equal footing, but the Senate
Democratic Caucus 2 Plan, the House Democratic Caucus Plan, the Draw the Lines
Plan, the Reschenthaler 1 Plan, and the Citizen-Voters Plan have three incumbent
pairings and as such will be given less weight in this regard.
      c. VRA Considerations
             FF1. Many Parties specify the number of districts in their proposed
plans in which racial or language minority make up a majority of the voting-age
population, so as to guard against potential liability under section 2 of the VRA.
             FF2. Although not all of the Parties and Amici specifically identify the
number of majority-minority districts created by their proposed plans, Dr. DeFord
analyzed each proposal to identify the number of districts in which a majority of the
voting-age population would constitute a minority. (DeFord Resp. Report at 20, 38.)
             FF3.    The 2018 Remedial Plan contained two majority-minority
districts—one majority-Black district and one in which multiple minorities together
formed a majority. (Duchin Report at 5.)
             FF4. The Gressman Plan is the only plan that creates three majority-
minority districts. Its proposed Districts 2, 3, and 5 have minority group populations
of 52%, 57%, and 51%, respectively. (DeFord Report at 44.) In one of those
districts, Latinos would be the largest minority group, which differs from previous
districting plans. (DeFord Report at 56-57.)
             FF5. All of the remaining proposed plans would create two majority-
minority districts. (DeFord Resp. Report at 20, 38.)




                                         182
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 189 of 228




              FF6. All of the remaining proposed plans are therefore comparable
with the 2018 Remedial Plan with respect to the creation of majority-minority
districts.
              CL1. As noted above, Pennsylvania is subject to section 2 of the VRA.
However, the Parties have not presented evidence or expert opinions specifically
directed toward the establishment of the Gingles requirements with respect to any
particular minority population in Pennsylvania. Moreover, this is not a situation in
which a party has lodged a challenge to an existing districting plan under section 2
of the VRA.
              CL2. The Court is thus unable to determine that any specific number
of majority-minority districts is strictly necessary in any particular location in
Pennsylvania.
              CL3. The Court accordingly cannot conclude that any plan would be
likely to violate section 2 of the VRA or any other requirements of federal law.


       d. The Carter Plan’s Least Change Approach
              CL1. The preservation of prior district lines, or “least change,” is
another “subordinate” factor the Court may consider in determining which plan to
adopt. LWV II, 178 A.3d at 817.
              CL2. In LWV II, the Pennsylvania Supreme Court held that “the
preservation of prior district lines” is a consideration that is “wholly subordinate to
the neutral criteria of compactness, contiguity, minimization of the division of
political subdivisions, and maintenance of population equality among congressional
districts. LWV II, 178 A.3d at 817.




                                         183
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 190 of 228




             FF1. In his report and testimony, Dr. Rodden, the expert witness for
the Carter Petitioners, prioritized, to a remarkable extent, the preservation of the
cores and boundaries of the 2018 Remedial Plan. (Rodden Report at 1; N.T. at 84.)
             CL3. The Court finds that using least-change metrics here is of limited
utility because an 18-district plan is being replaced by a 17-district plan.
             CL4. The Court concludes that evaluating redistricting plans against
the traditional criteria, instead of similarity to a previous court-drawn plan, protects
the integrity of the redistricting process by ensuring that the new plan is scrutinized
every redistricting cycle against the applicable constitutional and statutory standards,
and with reference to population and other changes.
             FF2. Dr. Rodden states that the Carter Petitioners’ “Least Change” Plan
deviates the least amount from the 2018 Remedial Plan adopted by the Supreme
Court in LWV III. (Rodden Resp. Report at 2.)
             FF3. According to Dr. Rodden, the Carter Plan retains 86.6% of the
population share as compared to the Supreme Court-drawn 2018 Remedial Plan. He
also provides calculations on the other submitted maps in Table 1 of his Response
Report:

       1: Retained Population Share in 14 Submitted PA Congressional Plans

                                                       Retained
                       Plan                           Population
                                                        Share

                       Carter                               86.6
                       CCFD                                 76.1
                       Citizen Voters                       82.4
                       HB2146                               78.5
                       Draw the Lines PA                    78.8
                       GMS                                  72.8
                       Governor Wolf                        81.2


                                           184
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 191 of 228



                         Ali                               81.5
                         PA House Dem. Caucus              73.3
                         Reschenthaler 1                   76.5
                         Reschenthaler 2                   76.5
                         Senate Dem. Plan 1                72.5
                         Senate Dem. Plan 2                72.5
                         Voters of PA                      80.6




(Rodden Resp. Report at 2.)
             FF4. Dr. Rodden calculated the average retained population share
across all of the districts (in percentages) in each of the other plans, and reported a
single percentage figure for each of the plans, as opposed to a breakdown by district
for each plan like he did with the Carter Plan. (Rodden Resp. Report at 1-2, Table
1.)
             FF5. Based on his review of the other plans’ numbers, Dr. Rodden
opined that the Carter Plan retained more of the districts’ former population (86.6%)
compared to the other 13 plans (which ranged from 72.5% to 82.4%). (Rodden Resp.
Report at 2, Table 1.)
             FF6. Dr. Rodden further opined that the Senate Democratic Caucus’s
Plans 1 and 2 (72.5% for both), the Gressman Petitioners’ Plan (72.8%), and the
House Democratic Caucus’s Plan (73.3%) made the largest boundary changes, and
thus had the lowest percentages, with respect to maintaining districts’ population as
compared to the 2018 Remedial Plan. (Rodden Resp. Report at 2, Table 1.)
             FF7. Dr. Rodden does not explain the extent to which the percentages
of retained population share is either acceptable or so disparate so as to justify the
elimination of any of the other plans or conversely to prioritize the Carter Plan based
on this criterion. Consequently, this Court is left with attempting to decipher
enigmatic data.

                                           185
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 192 of 228




              CL5. The Court concludes that choosing a plan based on its similarity
to a previously court-drawn redistricting plan is not constitutionally sound.
              CL6. The 2018 Remedial Plan adopted by the Supreme Court in LWV
III was based on 2010 Census data.
              CL7. The Court concludes that the 2020 U.S. Census results have made
the current plan, i.e., the 2018 Remedial Plan, unusable and violative of voters’ rights
due to population reductions and shifts resulting in unequal districts.
              FF8. The Carter Plan’s decrease along some compactness measures
results from efforts to deviate the least amount from the 2018 Remedial Plan. See
Rodden Report at 22.
              FF9. The Carter Plan opted to draw less compact districts instead of
disrupting the Supreme Court’s 2018 Remedial Plan. Id. at 8.
              CL8. The Court concludes that nothing in LWV or the Constitution
states that adherence to a previous court-drawn plan outweighs compactness.
              CL9. The “Least Change” doctrine was set forth by the U.S. Supreme
Court in Perry v. Perez, 565 U.S. 388, 392-397 (2012), suggesting judges should use
maps drawn by legislators as strong indicators of legislative intent and should strive
to alter them as little as possible.
              CL10. Specifically, the U.S. Supreme Court held that it was error for a
district court to displace “legitimate state policy judgments with the court's own
preference” by neglecting a recently enacted, but not Department of Justice-
precleared, legislative redistricting plan. 565 U.S. at 396. In so holding, the U.S.
Supreme Court stated that “a district court should take guidance from the state’s
recently enacted plan” when drafting its own plan, since the state’s plan “provides
important guidance that helps ensure that the district court appropriately confined


                                          186
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 193 of 228




itself to drawing interim maps that comply with the Constitution and the Voting
Rights Act, without displacing legitimate state policy judgments with the court’s
own preferences.” 565 U.S. at 394.
             CL11. This Court concludes that the “Least Change” doctrine does not
require, or sanction, a court to defer to its own prior redistricting map in drafting the
new plan.
             CL12. The U.S. Supreme Court has held that districts should reflect
legislative intent to the highest degree which is statutorily and constitutionally
permitted. Nothing in Perry suggests that a court, when drafting its own plan, should
adhere to a plan it previously drew.
             CL13. The Pennsylvania Supreme Court rejected a similar Least
Change argument in legislative reapportionment litigation in Holt I, reiterating that
“the governing ‘law’ for redistricting” is “applicable constitutional and statutory
provision and on-point decisional law,” not “the specifics of a prior reapportionment
plan ‘approved’ by the Court.” Holt I, 28 A.3d at 735.
             CL14. In Holt I, the Pennsylvania Supreme Court again criticized
arguments about the “supposed constitutionalization of prior redistricting plans” and
emphasized the “limited constitutional relevance” of maintaining the outcomes of
previous plans. Holt I, 67 A.3d at 1236.
             FF10. The Court finds that the Carter Petitioners, in essence, have
attempted to elevate a subordinate factor into a dominate one and therefore their plan
and map violate the Free and Equal Elections Clause as a matter of law.
             CL15.      The Court concludes that the Carter Petitioners have
misconstrued and misapplied the “Least Change” doctrine, which does not apply in
this circumstance.


                                          187
          Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 194 of 228




                   FF11. This Court is deeply troubled by the prospect of any court, let
      alone a court of this Commonwealth, applying the “Least Change” doctrine, where
      the existing plan was drafted by that court itself, because that court could
      theoretically continuously adopt features of its prior plans, effectively rendering
      impossible any future challenge to the plan.
                   FF12. The Court concludes that any number of the court’s choices
      from its prior plan would be frozen into future plans, which has nothing to do with
      applying constitutional redistricting principles to ever changing population changes.
                   CL16. This Court concludes that by applying the “least change”
      approach in these circumstances, a court would be prioritizing the court’s own 2018
      Remedial Plan, which was adopted four years ago, which was based on the 2010
      U.S. Census data.
                   CL17. For these reasons, this Court recommends that the Supreme
      Court not adopt the Carter Petitioners’ “Least Change” Plan on the basis that,
      comparatively, it is most similar to the 2018 Remedial Plan’s boundary lines for the
      congressional districts in the Commonwealth.


VI.      RECOMMENDATION
         A. Proposed Findings of Fact, Conclusions of Law, and Adoption of Map
            Recommendation
                   To start, the Court incorporates through reference its proposed findings
      of fact and conclusions of law as made previously and reflected above. In an attempt
      to synthesis and consolidate those determinations and, in support of its proposed
      report and recommendation to the Supreme Court, the Court, having conducted a
      bench trial in which it received evidence from the parties, has rendered credibility


                                              188
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 195 of 228




and weight determinations with respect to and in light of its previously suggested
findings of fact and conclusions of law.47 Based on those credibility and weight
determinations, as more fully explained below, the Court recommends that the
Supreme Court ultimately adopt the following findings of fact, conclusions of law,
and/or mixed findings of fact and conclusions of law:48


1.     The Petitions for Review filed in this consolidated case by the Carter
Petitioners and the Gressman Petitioners generally allege that the Supreme Court’s
2018 Remedial Plan is unconstitutional as a result of the recent 2020 Census because
the 2018 Remedial Plan was based on data collected from the 2010 Census.
2.     More specifically, the Petitions for Review correctly aver that the
Commonwealth of Pennsylvania is currently allotted 17 seats in the House of
Representative, while under the 2010 Census, it was bestowed with 18 seats and,
therefore, the 2018 Remedial Plan is presently unconstitutional in that it fails to
reflect the Commonwealth’s population loss and/or boundary lines that account for
the lost seat.
3.     As a matter of fact and law, the Court concludes that the 2018 Remedial Plan
is constitutionally deficient and cannot be implemented to represent the

       47
            Generally speaking, in making credibility and weight determinations, a tribunal resolves
conflicts in the evidence and may accept or reject the testimony of any witness, including an expert
witness, in whole or in part, and is free to reject even uncontradicted testimony as not being
credible. See, e.g., A & J Builders, Inc. v. Workers’ Compensation Appeal Board (Verdi), 78 A.3d
1233, 1238 (Pa. Cmwlth. 2013); Kelly v. Unemployment Compensation Board of Review, 776 A.2d
331, 336 (Pa. Cmwlth. 2001); Teitell v. Unemployment Compensation Board of Review, 546 A.2d
706, 711 (Pa. Cmwlth. 1988); see also supra note 25 (explaining the standard of review and the
posture of this case as it pertains to the functional role that it is typically associated with a fact
finder).
         48
            The United States Supreme Court has described a mixed question of law and fact as one
in which the facts are established, the law is determined, but the issue involves whether the facts
were correctly applied to the law. Pullman-Standard v. Swint, 456 U.S. 273, n.19 (1982).
                                                189
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 196 of 228




congressional districts for the Commonwealth from this moment forward because it
created boundary lines for 18 congressional districts and seats, and the
Commonwealth now has only 17 available seats.
4.     Given the procedural history and posture of this case, including interim orders
from our Supreme Court, it is apparently an unremarkable and undisputed
proposition that the 2018 Remedial Plan violates at least one of various
constitutional provisions and, as such, the creation and adoption of a new
congressional redistricting map is an absolute imperative as a matter of state law.
5.     Under Pennsylvania law, and the Constitutions of the United States and
Pennsylvania, it is the responsibility of the Pennsylvania legislature to duly enact a
law incorporating a map that indicates the specific boundary lines for each respective
congressional district that the Commonwealth has been afforded according to the
most recent Census, subject to approval by the governor.
6.     Here, the Governor took initiative, apart from the statutory and constitutional
procedure for enacting a law. See Article IV, section 15 of the Pennsylvania
Constitution, Pa. Const. art. IV, §15 (“Every bill which shall have passed both
Houses shall be presented to the Governor; if he approves he shall sign it, but if he
shall not approve he shall return it with his objections to the House in which it shall
have originated . . . .”).
7.     In September 2021, the Governor issued an Executive Order creating the
Pennsylvania Redistricting Advisory Council (Advisory Council), a six-member
council comprised of redistricting experts formed to provide guidance to the
Governor and assist his review of any congressional redistricting plan passed by the
General Assembly. (Governor Opening Brief at 4.)




                                         190
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 197 of 228




8.     The Governor’s Advisory Council drafted a set of so-called “Redistricting
Principles.”   See Pennsylvania Redistricting Advisory Council, Redistricting
Principles,                                       https://www.governor.pa.gov/wp-
content/uploads/2021/11/Redistricting-Advisory-CouncilFinal-Principles.pdf
9.     On January 15, 2022, the Governor published on his website “the Governor’s
Map” proposing new congressional district boundaries, which he claimed were
consistent with the United States and Pennsylvania Constitutions and with the
redistricting principles recommended by the Redistricting Advisory Council.
https://www.governor.pa.gov/congressional-districts-map-proposals
10.    Although both the Pennsylvania State House of Representatives and Senate
(collectively, the General Assembly), the policy-making branch of our government,
devised, considered, and passed a bill, HB 2146, that accomplished this goal, the
Governor vetoed it on January 26, 2022.
11.    The Governor vetoed HB 2146 because, in his view, “it fundamentally fails
to meet the test of fairness set forth by the Pennsylvania Supreme Court in League
of Women Voters I and does not comply with the Redistricting Principles outlined
by the Redistricting Advisory Council.” (Governor Wolf Opening Brief at 6.)
12.    Upon review of the evidence of record, the Court has already concluded that
HB 2146 does not contravene, and in fact sufficiently satisfies, the standards of the
Free and Equal Election Clause of the Pennsylvania Constitution, the other criteria
discussed by our Supreme Court in LWV, and further, reflects a non-partisan tilt in
favor of Democrats.
13.    As of the filing date of this report and recommendation, February 7, 2022, the
Generally Assembly and the Governor have not agreed upon a congressional
redistricting plan to replace the 2018 Remedial Plan.


                                        191
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 198 of 228




14.    Ergo, this Court, as part of the judicial branch of government, and pursuant to
the directives of our Supreme Court, has collected evidence and held a hearing in
order to recommend a plan and/or map to serve as a substitute for the breakdown in
the political process.
15.    In the context of this consolidated case, there were 13 maps submitted by the
parties and amici for the Court’s review and consideration.
16.    On their face, and as supported by the evidence of record, all the maps in the
proposed plans contain districts that are comprised within a contiguous territory and
comply with the “contiguity” requirement of the Pennsylvania Constitution.
17.     Each and every proposed plan satisfies the command in the Free and Equal
Elections Clause that congressional districts be created “as nearly equal in
population as practicable.” Pa Const. art. II, §16.
18.     However, unlike the other plans that have a maximum population deviation
of one person, the Carter Plan and the House Democratic Plan both result in districts
that have a two-person deviation.
19.    The Ali Plan, unlike all of the other maps submitted, and contrary to Pa. House
Res. 165, relied on the LRC’s Data Set #2 and, for the reasons, findings, and
conclusions stated above and below, the Court must recommend that the Ali Plan is
thus entitled to little or no evidentiary weight and does not proffer a map that is
suitable for redistricting, or for comparison with the other submitted maps.
20.    Given the credible testimony of all the experts who testified or tendered
reports regarding this aspect of the Ali Plan, the Court finds that the plan most likely
alters population density and raises a host of subsidiary issues that should be
resolved by the federal or state legislature and hence cannot be utilized for
comparison of the other parties and amici maps submitted in this case.


                                          192
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 199 of 228




21.    The Court notes that the Ali Plan was the only plan whose map’s entire
construction depended upon the population figures as set forth in Data Set #2 and
seeks to alter the requirement in a resolution, Pa. House Res. 165, stating that Data
Set #1 be used in any congressional redistricting legislation before the 2030 Census.
All the other parties and amici utilized and relied upon LRC’s Data Set #1 in accord
with the commonly accepted practice in the expert field of redistricting and, in
essence, Ali is asking the Court to make a determination regarding geographical
breakdowns in population which is not properly before the Court.
22.    Based on the credible testimony and charts provided by Governor Wolf’s
expert, Dr. Duchin, regarding the metrics used to evaluate compactness, as
corroborated by various other experts in their testimony and submissions, the Court
finds that the following plans and maps fulfill the constitutional requirement that a
map be composed of compact territory: the Republican Legislative Intervenors’ Plan
(HB-2146), both of the Congressional Intervenors’ maps (Reschenthaler 1 and 2),
the Carter Petitioners’ Plan, the Gressman Petitioners’ Plan, Governor Wolf’s Plan,
both of the Senate Democratic Caucus Plans (Maps 1 and 2), and the maps submitted
by the Voters of PA Amici, Draw the Lines Amici, and the Citizen-Voters Amici.
23.    Overall, the plans which divide the fewest counties, cities, incorporated
towns, boroughs, townships, and wards are the Senate Democratic Caucus Map 2
(46 splits total), the Republican Legislative Intervenors’ Map (HB 2146) and the
Gressman Plan, (each with 49 splits total), the Reschenthaler 2 Plan (53 splits), and
the Reschenthaler 1 Plan (54 splits).
24.    The Reschenthaler Plans remarkably divide only 13 counties and 16
municipalities, which is the lowest numbers in both categories.




                                        193
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 200 of 228




25.    In reviewing the number of splits, the Court is mindful that is not simply a
numbers game and that a boundary divide, first and foremost, must be done to
guarantee equality in population, second (and most relatedly), should preserve the
commonality of the interests of the communities and, third, should not be done to
achieve an ulterior motive, such as racial discrimination or unlawful partisan
gerrymandering.
26.    That said, the following plans propose to split the City of Pittsburgh into two
districts, apparently for the first time in history of the Commonwealth:           the
Governor’s Plan, the Senate Democratic Caucus Plan 1 and Plan 2, the Draw the
Lines PA Plan, and the plan submitted by Khalif Ali.
27.    However, upon review of the record, the Court determines that these parties
have failed to present any credible evidence as to why it was “necessary” to split the
second largest city in Pennsylvania in order to achieve equal population, especially
considering that such an approach is seemingly a novel proposition, and experts
credibly testified that there was no legitimate rationale or reason to apportion the
city into two separate segments.
28.    Given the weight it has afforded the evidence, the Court expresses grave
concerns that the maps dividing the City of Pittsburgh do so with the objective of
obtaining an impermissible partisan advantage, by effectively attempting to create
two Democratic districts out of one traditionally and historically Democratic district.
29.    The Court further finds, based on the credible evidence of record that, by
dividing the City of Pittsburgh into two districts, the above-mentioned maps have
failed preserve the shared interest of the communities in the Pittsburgh area and the
distinctive cultural fabric that has been shaped and formed within the city’s limits.




                                         194
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 201 of 228




30.    Therefore, the Court respectfully recommends that the above-mentioned maps
are not, as a matter of comparative evidentiary weight, an appropriate choice to
represent Pennsylvania’s congressional districts in upcoming elections because they
divide the City of Pittsburgh.
31.    The Court further respectfully recommends that any map that divides Bucks
County for the first time since the 1860s, including Governor Wolf’s map, is not an
appropriate choice to represent Pennsylvania’s congressional districts in upcoming
elections. In so determining, the Court credits and provides great weight to the
unrefuted testimony of Dr. Naughton who, as explained more fully below, opined
that Bucks County should not be split into two congressional districts.
32.    Regarding the issue of incumbent pairings, the Court finds and places
persuasive weight on the fact that, contrary to every other map submitted, the Senate
Democratic Caucus 1 Plan and the Carter Plan include two Republican incumbents
in one congressional district, which effectively eliminates a Republican from
continued representation in the United States House of Representatives.
33.    As such, although Pennsylvania has already lost one congressional seat as a
result of decreased population, the Senate Democratic Caucus 1 Plan and the Carter
Plan, in effect, seek to preemptively purge a Republican Congressman from the 17
seats that are remain available for office.
34.    Viewing the record as a whole, the Court finds that the plan submitted by the
Carter Petitioners is given less weight in that it utilizes the “least change” analysis,
and the underlying methodology and methods employed by Dr. Rodden to construct
the proposed maps based on the 2018 map which was based on an entirely different
census population and 18 versus 17 districts, and contrary to Pennsylvania and
United States Supreme Court precedent.


                                          195
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 202 of 228




35.    Consequently, any figures, features, or characteristics in the Carter
Petitioners’ plan and map that could possibly be deemed to support the validity of
that plan and map have been developed in contravention of controlling precedent.
36.    Based on the current record, and caselaw and when considered alongside and
constructively with the other maps, the Court simply cannot conclude that the Carter
Petitioners’ map is otherwise entitled to a degree of evidentiary weight such that it
outweighs, by a preponderance, the evidentiary value of the other, proposed maps.
As such, for this reason and those stated within, the Court must recommend that the
Carter Petitioners’ map be given less evidentiary weight in its global assessment of
all the plans and proposals.
37.    Upon review, the Court finds credible and extremely persuasive the various
experts’ testimonies and reports explaining that there is a strong relationship
between the geographic concentration of Democratic voters and electoral bias in
favor of Republicans.
38.    Particularly, Dr. Duchin, Governor Wolf’s expert, confirmed that the political
geography of Pennsylvania is partisan by its very nature. Dr. Duchin testified,
credibly, that in generating 100,000 random plans with a computer programmed that
was designed only to honor Pennsylvania’s minimum constitutional requirements,
the random plans tended to exhibit a pronounced advantage to Republicans across
the full suite of elections, throughout the Commonwealth as a whole, and that
random plans must naturally and necessarily favor Republicans.
39.    Indeed, in terms of the metrics used to gauge partisan fairness, the mean-
median scores provided by each and every expert with respect to each and every
single district of the various maps confirms that an overwhelming supermajority of
the maps possess a notable difference that favor Republicans and, thus, confirms the


                                        196
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 203 of 228




natural state of political voting behavior and tendencies in the entirety of the
Commonwealth with respect to congressional districting.
40.       On record as presented, the Court finds that when lines are purposely drawn
to negate a natural and undisputed Republican tilt that results from the objective,
traditional, and historical practice whereby Democratic voters are clustered in dense
and urban areas, such activity is tantamount to intentionally configuring lines to
benefit one political party over another. The Court considers this to be a subspecies
of unfair partisan gerrymandering and is legally obligated, pursuant to LWV II, to
look up such a practice with suspicious eyes.
41.     That said, on a comparative scale, the Court gives less weight to the maps that,
due to their credited mean-median scores, yield a partisan advantage to the
Democratic Party, namely the Gressman Plan and the House Democratic Caucus
Plan.
42.     Similarly, on a comparative scale, the Court provides less weight to the maps
that, due to their credited efficiency gap scores, yield a partisan advantage to the
Democratic Party, namely the Carter Plan, the Gressman Plan, the Governor’s Plan,
the Senate Democratic Caucus 2 Plan, the House Democratic Caucus Plan, and the
Draw the Lines Plan.
43.     Regardless of whether there was sufficient, credible evidence to establish that
any of the other proffered plans violate the Free and Equal Elections clause because
they subordinate the neutral factors pronounced in LWV II and place unlawful,
paramount emphasis on gerrymandering for unfair partisan political advantage, the
Court considers the degree of partisan fairness reflected within the maps as a
substantial factor that is entitled to appreciable weight in the final calculus.




                                          197
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 204 of 228




44.    In so doing, the Court notes, as previously explained, one of the overriding
constitutional precepts applied in redistricting cases is that any map that prioritizes
proportional election outcomes, for example, by negating the natural geographic
disadvantage to achieve proportionality at the expense of traditional redistricting
criteria, violates the Pennsylvania Constitution’s Free and Equal Elections Clause.
As the United States Supreme Court stated in Vieth v. Jubelirer, concerning a
Pennsylvania redistricting plan, “[t]he Constitution provides no right to proportional
representation.” 541 U.S. at 268.       Instead, the Constitution “guarantees equal
protection of the law to persons, not equal representation . . . to equivalently sized
groups. It nowhere says that farmer or urban dwellers, Christian fundamentalists or
Jews, Republicans or Democrats, must be accorded political strength proportionate
to their numbers.” Id. at 288
45.    There was insufficient evidence of record to establish that any of the proposed
maps violated the Voting Rights Amendment or the “one person, one vote” principle
in the Equal Protection clause of the United States Constitution. While voicing no
opinion as to the future prospect of such claims, the Court notes that they were not
sufficiently developed or argued during the proceedings below.
46.    Having received and considered the evidence in the manner of a trial court,
the Court has fully vetted the plans and maps to assess their compliance with the
neutral criteria of the Free and Equal Elections Clause of the Pennsylvania
Constitution, as interpreted and applied in LWV II.
47.    From this perspective, the Court discounts the plans that it already determined
failed to adequately satisfy those criteria, otherwise jeopardized the purposes and
goals inherent in the “floor” standard adopted by our Supreme Court, and/or contain




                                         198
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 205 of 228




characteristics that render them patently not credible or comparatively deserving of
lesser weight.
48.    Particularly, the Court submits the following recommendations as to which
plans should not be adopted by the Supreme Court and, for support, supplies the
accompanying reasons for its specific recommendations:


Ali Plan
              Based on all of the foregoing, the Court does not recommend adopting
the Ali Plan for the congressional districts in the Commonwealth of Pennsylvania
because:
       1) it relied on the LRC’s Data Set #2, which contains population adjustments
           to account for the reallocation of most prisoners to their last known
           addresses prior to incarceration, is not based on the figures in Data set #1,
           and is not in accord with Pa. House Res. 165;

       2) the Court finds that Data Set #2 should not be used at this time for
           congressional districting;

       3) the Plan’s adjustments in population, relocating prisoners to their
           residential addresses, would result in a population deviation of 8,676
           people;

       4) it splits the City of Pittsburgh into two congressional districts for the first
           time without any convincing or credible expert explanation as to why this
           was absolutely necessary to achieve population equality or to refute other
           expert opinions that the City of Pittsburgh does not need to be split in order
           to achieve population equality between districts;


                                          199
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 206 of 228




     5) the City of Pittsburgh in many ways constitutes a community of interest,
        such that its division would not be in the best interest of its residents.



Governor Wolf’s Plan
            Based on all of the foregoing, the Court does not recommend adopting
the Governor’s map for the congressional districts in the Commonwealth of
Pennsylvania because:
  1) it splits the City of Pittsburgh into two congressional districts for the first time
     without any convincing or credible expert explanation as to why this was
     absolutely necessary to achieve population equality or to refute other expert
     opinions that the City of Pittsburgh does not need to be split in order to achieve
     population equality between districts;
  2) the Governor’s map also for the first time in 150 years, splits Bucks County,
     and joins Philadelphia’s surplus population with Bucks County. Again, the
     Governor has not provided any convincing or credible expert explanation as
     to why this is absolutely necessary to achieve population equality between
     districts;
  3) the Governor’s Plan splits the City of Pittsburgh in order to create another
     Democratic congressional district solely for partisan gain by creating another
     Democratic district;
  4) the City of Pittsburgh in many ways constitutes a community of interest, such
     that its division would not be in the best interest of its residents and has never
     before been split;




                                         200
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 207 of 228




   5) based on its credited efficiency gap score, it provides a partisan advantage to
      the Democratic party in contravention to the natural state of political voting
      behavior and bias towards Republicans in Pennsylvania.


The Draw the Lines Plan
            Based on all of the foregoing, the Court does not recommend adopting
the Draw the Lines Plan for the congressional districts in the Commonwealth of
Pennsylvania because:
      1) like the Governor’s Plan, it splits the City of Pittsburgh across two
         congressional districts for the first time without any convincing or credible
         expert explanation as to why this was absolutely necessary to achieve
         population equality or to refute other expert opinions that the City of
         Pittsburgh does not need to be split in order to achieve population equality
         between districts;

      2) the City of Pittsburgh in many ways constitutes a community of interest,
         such that its division would not be in the best interest of its residents;

      3) Draw the Lines admittedly split Pittsburgh into two to maximize political
         competitiveness. See Villere Report at 4;

      4) based on its credited efficiency gap score, it provides a partisan advantage
         to the Democratic party in contravention to the natural state of political
         voting behavior and bias towards Republicans in Pennsylvania.



Senate Democratic Caucus Plans 1 or 2



                                         201
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 208 of 228




           Based on all of the foregoing, the Court does not recommend adopting
either Senate Democratic Caucus Plan for the congressional districts in the
Commonwealth of Pennsylvania because:
     1) both Plans split the City of Pittsburgh across two congressional districts
        for the first time without any convincing or credible expert explanation as
        to why this was absolutely necessary to achieve population equality or to
        refute other expert opinions that the City of Pittsburgh does not need to be
        split in order to achieve population equality between districts;

     2) the City of Pittsburgh in many ways constitutes a community of interest,
        such that its division would not be in the best interest of its residents;

     3) the Senate Democratic Caucus’ Plans split Pittsburgh in order to create
        another Democratic congressional district which appears to be solely for
        partisan gain by creating another Democratic district;

     4) without any explicit or apparent justification, it pairs two Republican
        incumbents in one congressional district and effectively eliminates a
        Republican from continued representation in the United States House of
        Representatives;

     5) based on its credited efficiency gap score, it provides a partisan advantage
        to the Democratic party in contravention to the natural state of political
        voting behavior and bias towards Republicans in Pennsylvania



House Democratic Caucus Plan




                                        202
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 209 of 228




            Based on all of the foregoing, the Court does not recommend adopting
the House Democratic Caucus’ Plan for the congressional districts in the
Commonwealth of Pennsylvania because:
      1) it was not accompanied by an expert report or testimony consequently, the
         Court received no testimonial or written explanation concerning why the
         map drew the lines in the particular manner that it did and to demonstrate
         why the divides in the maps were absolutely necessary to achieve
         population equality as opposed to some other secondary or impermissible
         goal;

      2) while keeping Pittsburgh whole, as asserted by one of the parties, it draws
         an oddly shaped “Freddy-Krueger like claw” district in Allegheny County
         to “grab” Pittsburgh to combine it with Republican areas leaning to the
         North without any explanation of the reasons for doing so;

      3) it has a two-person difference in population from the largest to their
         smallest districts, while the majority of other plans were able to achieve a
         one person deviation;

      4) based on both its credited efficiency gap score and credited mean-median
         score, it provides a partisan advantage to the Democratic party in
         contravention to the natural state of political voting behavior and bias
         towards Republicans in Pennsylvania.



The Citizen Voters Plan




                                        203
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 210 of 228




              Based on all of the foregoing, the Court does not recommend adopting
the Citizen Voters’ Plan for the congressional districts in the Commonwealth of
Pennsylvania because:
      1) it was not accompanied by an expert report or testimony consequently, the
           Court received no testimonial or written explanation concerning why the
           map drew the lines in the particular manner that it did and to demonstrate
           why the divides in the maps were absolutely necessary to achieve
           population equality as opposed to some other secondary or impermissible
           goal;

      2) it has a two-person difference in population from the largest to their
           smallest districts, while the majority of other plans were able to achieve a
           one person deviation.



The Carter Plan
              Based on all of the foregoing, this Court does not recommend adopting
the Carter Plan for the congressional districts in the Commonwealth of Pennsylvania
because:
      1) it has a two-person difference in population from the largest to their
           smallest districts, while the majority of other plans were able to achieve a
           one person deviation;

      2) it utilized the “least-change” approach, and lacked any analysis of the
           percentage differences as discussed more fully herein;

      3) without any explicit or apparent justification, it pairs two Republican
           incumbents in one congressional district and effectively eliminates a

                                          204
    Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 211 of 228




        Republican from continued representation in the United States House of
        Representatives;

     4) based on its credited efficiency gap score, it provides a partisan advantage
        to the Democratic party in contravention to the natural state of political
        voting behavior and bias towards Republicans in Pennsylvania.



The Gressman Plan
           Based on all of the foregoing, this Court does not recommend adopting
the Gressman Plan for the congressional districts in the Commonwealth of
Pennsylvania because:
     1) the algorithm used to prepare the Gressman Plan was specifically looking
        to optimize on partisan fairness, which as explained above, is not one of
        the traditional neutral criteria of redistricting and because the constitutional
        reapportionment scheme does not impose a requirement of balancing the
        representation of the political parties;

     2) the Gressman Petitioners did not adequately establish that they considered
        community interests when deciding to erect boundary lines across the
        Commonwealth;

     3) based on both its credited efficiency gap score and credited mean-median
        score, it provides a partisan advantage to the Democratic party in
        contravention to the natural state of political voting behavior and bias
        towards Republicans in Pennsylvania.




                                        205
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 212 of 228




49.    Although the Court could conceivably find that quite a few, if not all, of the
remaining maps, are entirely consistent with the Free and Equal Elections Clause, it
faces the task of having to choose and recommend only one map to our Supreme
Court and effectively usurp the role and function of the law-making bodies of this
Commonwealth.
50.    In navigating this “rough terrain” and undertaking this “unwelcomed
obligation,” which is “a notoriously political endeavor,” Carter v. Chapman (Pa.,
No. 7 MM 2022, order filed Feb. 2, 2022), __ A.3d ___, at __ (Dougherty, J.,
concurring statement at 3-5) (internal citations omitted), the Court specifically
credits the evidence of Governor Wolf’s expert, Dr. Duchin, in part, and in the
following regards.
51.    The Court accepts as credible Dr. Duchin’s opinion to the extent she
concluded that, among other submissions, the map of the Voters of PA Amici and
Reschenthaler 1 both evince a “first tier” standard of excellence and easily satisfy
the baseline “floor” standard or neutral criteria under LWV II.
52.    The Court accepts as credible Dr. Duchin’s opinion insofar as she opined that
Reschenthaler 2 falls within a “second tier” standard of excellence and also satisfies
the baseline “floor” standard or neutral criteria under LWV II.
53.    The Court further accepts as credible Dr. Duchin’s testimony and statements
in her report that HB 2146 is population balanced and contiguous, shows strong
respect for political boundaries, is reasonably compact, and has better “splits” than
Governor Wolf’s plan.
54.    Regarding Reschenthaler 1 and Reschenthaler 2, the Court accepts as credible
Dr. Duchin’s admissions and concessions that the Reschenthaler maps had the




                                         206
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 213 of 228




lowest “county pieces” (29) and municipal splits (16), and were tied for the lowest
with respect to “municipal pieces” (33).
55.      Additionally, the Court credits Dr. Rodden’s testimony explaining that his
analysis of the partisan nature of the proposed maps showed that the estimated seats
for Democrats and Republicans between the Carter Map, on one hand, and the
Reschenthaler 1 and 2 maps, on the other hand, differed by just one seat out of 17.
56.    Concerning the map submitted by the Voters of PA Amici, the Court credits
the evidence demonstrating that it had the best Popper-Polsby score of 0.3951 and,
in this particular respect, is superior in terms of the metrics used to evaluate
compactness.
57.    As a result of its credibility and weight determinations, the Court finds that
the map submitted by the Voters of PA Amici, the Congressional Intervenors’ maps
(especially Reschenthaler 1), and the map of the Republican Legislative Intervenors
(known as HB 2146) are consistent with the Free and Equal Elections Clause of the
Pennsylvania Constitution, and, also, the aspirations and ideals expressed by that
constitutional provision as pronounced by the Court in LWV II due to their
compactness, degree of partisan fairness, and specific development of congressional
districts.
58.    For further support of this recommendation, the Court finds that the proposed
congressional districts within the map proposed by Voters of PA Amici,
Reschenthaler 1, and HB 2146 credibly and persuasively comply with the various
experts’ universal recognition that the surface areas comprising the districts should
be in accord with the natural, political, and structural geography of those areas.
59.    The Court also finds that the proposed congressional districts within the map
proposed by Voters of PA Amici, Reschenthaler 1, and HB 2146 credibly and


                                           207
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 214 of 228




persuasively create a sufficient number of competitive, “toss up” congressional
districts which could go either way, depending upon the particular election and/or
office at issue and the qualifications and political platforms of the individual
candidates.
60.    On a vis-à-vis comparison, the Court finds that Reschenthaler 1 would slightly
exceed the map of Voters of PA Amici in that it provided a more extensive report on
the preservation of communities of interest, a precept recognized by the courts as a
heavy, if not mandatory, factor in this type of assessment.
61.    Although the Republican Legislative Intervenors requested the Court to
provide some degree of presumptive deference to HB 2146, because the enactment
had gone through the proper legislative process and was passed by the General
Assembly, the Court declined to do so summarily and instead assessed HB 2146
evenly and through the same rigorous scrutiny, against all the traditional
constitutional criteria and measures and on the same plane and footing as the other
parties and amici and their respective maps.
62.    The Court finds it is the General Assembly’s prerogative, rather its
constitutional mandate, to redraw the state’s congressional districts under Article 1,
section 4 of the United States Constitution and its related provisions in the
Pennsylvania Constitution and state statutes.
63.    Following this duty, HB 2146 was passed by the General Assembly, both the
House of Representatives and Senate and, as such, constitutes a valid bill that cleared
through and was enacted by Pennsylvania’s bicameral, legislative branch of
government.
64.    The Court finds that HB 2146 originated as a plan proposed and drawn by a
well-known nonpartisan citizen, Amanda Holt, and, after being made available for


                                         208
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 215 of 228




public comment, underwent the scrutiny and consideration necessary to reflect
policy choices that are bestowed to the General Assembly as the legislative branch
of government.
65.      Having conducted a separate and independent review of HB 2146, in and of
itself and alongside the other plans and maps, the Court credits all the evidence of
record demonstrating the statistical soundness, partisan impartiality, and overall
strengths of the figures and methods supporting HB 2146, including the manner and
mode through which it was devised, contemplated, and passed by the legislative
bodies and branch of the Commonwealth of Pennsylvania.
66.    More specifically, the Court finds the methodology and reasoning employed
by Dr. Barber to be credible and persuasive. Dr. Barber, who received his Ph.D. in
political science from Princeton University in 2014 with emphases in American
politics and quantitative methods/statistical analyses, was one of two experts who
conducted a simulation analysis that compared proposed maps with a set of 50,000
simulated maps; he sufficiently articulated and identified the variables for the
algorithmic creation of simulated maps; the parameters of his simulation analysis
included only the traditional redistricting criteria, and not partisan data; and, in
separately considering the partisan lean of districts, Dr. Barber analyzed a set of all
statewide elections from 2012 to 2020, thereby accounting for a relatively greater
amount of elections during a longer timeframe than the other experts.
67.    Based on the credible evidence of record, the Court finds that, in dividing 15
counties, 16 municipalities and 9 precincts, HB 2146 performs very well regarding
political subdivision splits.   The Court especially notes that, while the range of
precinct splits in the other submitted plans varies from 9 to 38, HB 2146 splits only




                                         209
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 216 of 228




9 precincts, which is the lowest of any plan by a total of 7 precincts. Further, these
splits are consistent and on par with the 2018 Remedial Plan.
68.    The Court notes and provides evidentiary weight to the fact that HB 2146
places only two incumbents, a Democrat and a Republican, in one district and, when
considered with the other competitive proposals, does not relatively seek to obtain
an unfair partisan advantage through incumbent pairings.
69.    The Court notes and provides great evidentiary weight to the fact that the
district compositions of HB 4126 are consistent with Dr. Naughton’s credited and
unrefuted testimony, in the regards that follow.
70.    Dr. Naughton credibly and undisputedly testified that the residents of Bucks
County share the same community interests; Bucks County has been wholly
contained within a single district for decades; and, therefore, Bucks County should
be located entirely within one district.
71.    Consistent with Dr. Naughton’s recommendation, HB2146, unlike the map
proposed by Governor Wolf, does not split Bucks County.
72.    Dr. Naughton credibly and undisputedly testified that, regarding whether to
combine Philadelphia’s surplus population with Bucks County, the communities in
Bucks County are more similar to those in Montgomery County and, thus, Bucks
County should add population to its district by extending the district line into
Montgomery County, rather than Philadelphia County.
73.    Dr. Naughton credibly and undisputedly testified and opined that
Philadelphia’s surplus population would be best combined with a district with
maximum commonality; on comparison, Delaware County and Philadelphia County
share similar communities of interest; the most sensible plan in this respect would




                                           210
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 217 of 228




attach surplus Philadelphia residences to Delaware County; and, hence, Philadelphia
County should extend into Delaware County to obtain additional population.
74.    Consistent with Dr. Naughton’s’ recommendation, HB 2146 does not connect
Philadelphia’s surplus population to Bucks County.
75.    Consistent with Dr. Naughton’s’ recommendation, HB 2146 connects
Philadelphia’s surplus population to Delaware County.
76.    Furthermore, according to credible evidence of record, although Dr. Barber
did not explicitly consider race in his analysis, he determined, as confirmed by other
experts in this case, that HB 2146 maintains two minority-majority congressional
districts, including 1 district where a majority of the population was comprised of
African-Americans, as did the 2018 Remedial Map.
77.    Having reviewed the experts’ various testimonies and reports, the Court
accepts and credits a 0.324 Polsby-Popper score, which is remarkably similar to the
2018 Remedial Plan’s Polsby-Popper score of 0.327, to accurately reflect and
indicate the compactness measure for HB 2146.
78.    Given the credible evidence of record, HB 2146 is predicted to result in 9
Democratic-leaning seats and 8 Republican-leaning seats and, consequently, is more
favorable to Democrats than the most likely outcome of 50,000 computer drawn
simulated maps that used no partisan data, which resulted in 8 Democratic-leaning
seats and 9 Republican-leaning seats.
79.    Unlike other maps that leaned Democrat, here, it is the Republican majority
in the General Assembly that developed and proposed a plan, HB 2146, that favors
Democrats, which ultimately underscores the partisan fairness of the plan.
80.    The Court finds, as a result of the credible experts’ opinions, reports, and
concessions made during cross-examinations, that HB 2146 falls well within the


                                         211
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 218 of 228




acceptable constitutional ranges and indicia used to measure partisan fairness, in the
following particulars.
81.      H.B. 2146, when analyzed with districts that have a Democratic vote share
of .48 to .52, which is a common range for assessing competitive elections, creates
5 competitive seats, 4 of which lean Democratic, and, ultimately, has more
competitive districts than any other plan.
82.    H.B. 2146 possesses a mean-median of -0.015, which is very close to zero
and virtually unbiased, and demonstrates that HB 2146 is more favorable to
Democrats than 85% of the simulation results.
83.    H.B. 2146 has an efficiency gap of -0.02, which, again, is very close to zero
and virtually unbiased, and, furthermore, demonstrates that Democratic votes are not
much more likely than Republican votes to be “wasted” across districts.
84.    As a matter of fact, HB 2146 maintains the City of Pittsburgh within one
congressional district and, unlike the plans proposed the Governor, the Senate
Democratic Caucus, the Draw the Lines Amici, and the Ali Amici, preserve the
shared interests of the communities located within the City.
85.    Even without the testimony of Drs. Naughton and Barber, other experts agreed
that HB 2146 satisfies the baseline floor for constitutionality under LWV II.
86.    Based on all of the above, the Court finds and recommends that HB 2146
meets all the neutral, traditional redistricting criteria, as announced in LWV II, noting
that none of the parties have meaningfully contested or otherwise disputed this fact.
87.    Based on these features, facets, and characteristics detailed previously, the
Court finds as fact and law that the “neutral criteria” in HB 2146 is paramount to
any extraneous considerations. More specifically, the Court finds that there is no




                                          212
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 219 of 228




credible evidence of record to establish that the neutral criteria have been
subordinated, in whole or in part, to another factor or other factors.
88.    As such, the Court concludes that HB 2146 passes constitutional muster under
the Free and Equal Elections Clause. See LWV II, 178 A.3d at 816 (“[W]e find these
neutral benchmarks to be particularly suitable as a measure in assessing whether a
congressional districting plan dilutes the potency of an individual’s ability to select
the congressional representative of his or her choice, and thereby violates the Free
and Equal Elections Clause.”).
89.    As explained above, HB 2146 was subject to vigorous scrutiny and was passed
by a majority of assemblypersons in both chambers of the General Assembly. In
Pennsylvania, the General Assembly has 253 members, consisting of a Senate with
50 members and a House of Representatives with 203 members, and it is beyond
cavil that the breadth and diversity of the assemblypersons’ uniquely defined
constituency reflect and represent, on the whole, the will of the people.
90.    Consequently, HB 2146 properly redistricted the Commonwealth into 17
congressional districts in accordance with the constitutional process for lawmaking
as vested in the legislative branch, and the Court must find that the decisions and
policy choices expressed by the legislative branch are presumptively reasonable and
legitimate, absent a showing of an unconstitutional defect or deficiency. Cf. Upham
v. Seamon, 456 U.S. 37, 41-42.
91.    Although Governor Wolf vetoed HB 2146 and that bill never obtained the
official status of a duly enacted statute, neither Governor Wolf nor any other party
herein has advanced any cognizable legal objection to the constitutionality of the
congressional districts contained therein.




                                         213
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 220 of 228




92.      Admittedly, due to the breakdown or stalemate in the legislative process, and
the failure of the General Assembly and Governor to pass a redistricting statute to
serve as the boundary lines and composition of congressional districts in the United
States House of Representatives, this Court has been directed to assess the evidence
and ultimately recommend a map to our Supreme Court to serve that very purpose.
93.      In absence of any cognizable legal or constitutional objection to the
congressional districts in HB 2146 by the Governor and, without there being any
basis upon which the Court could reasonably conclude or recommend that HB 2146
contravenes a constitutional or statutory violation, it is the considered judgment of
the Court that the best course of action is to recognize and place appreciable weight
to the fact that, on balance, HB 2146 represents “[t]he policies and preference of the
state,” Upham, 456 U.S. at 41; see Perry, 132 S. Ct. at 941, and constitutes a
profound depiction of what the voters in the Commonwealth of Pennsylvania desire,
through the representative model of our republic and democratic form of
government, when compared to the Governor or any other of the parties or their
amici.
94.      The Court believes that in, the context of this case, where it must recommend
one map of many, as a matter of necessity, the interests of the Commonwealth as a
sovereign state and political entity in its own right, would best be served by factoring
in and considering that HB 2146 is functionally tantamount to the voice and will of
the People, which, as a matter of American political theory since its founding, is a
device of monumental import and should be honored and respected by all means
necessary.
95.      Therefore, with all things being relatively equal with regard to the maps that
the Court has not previously discounted or recommended not be adopted, the Court


                                          214
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 221 of 228




respectfully recommends that our highest and most honorable institution in the
judicial branch of government, our Supreme Court, recognize and revere the
expressed will of the People, and the “policies and preferences of our State,” Upham,
456 U.S. at 41; see Perry, 132 S. Ct. at 941, as previously stated, and adopt HB 2146
to represent the boundary lines for the Commonwealth of Pennsylvania in its
creation of geographically-unique congressional districts so that the citizens of our
great Commonwealth are ensured fair and equal representation in the United States
House of Representatives.
96.    In so recommending, the Court notes that, in times like these, other courts
throughout the nation, including the United States Supreme Court, have appeared to
promote and head such an admonition. For example, as the United States Supreme
Court said in Perry: “Experience has shown the difficulty of defining neutral legal
principles in this area, for redistricting ordinarily involves criteria and standards that
have been weighed and evaluated by the elected branches in the exercise of their
political judgment.” 565 U.S. at 941. And, as the United States Supreme Court
instructed in another case:

             Just as a federal district court, in the context of legislative
             reapportionment, should follow the policies and
             preferences of the State, as expressed in statutory and
             constitutional provisions or in the reapportionment
             plans proposed by the state legislature, whenever
             adherence to state policy does not detract from the
             requirements of the Federal Constitution, we hold that a
             district court should similarly honor state policies in the
             context of congressional reapportionment. In fashioning a
             reapportionment plan or in choosing among plans, a
             district court should not pre-empt the legislative
             task nor intrude upon state policy any more than
             necessary.



                                          215
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 222 of 228




Upham v. Seamon, 456 U.S. 37, 41-42 (1982) (per curiam) (emphasis added). The
Court believes that these underlying principles are no less applicable to a state
court’s examination of the policies and preferences enunciated by a state’s
legislative branch of government and reflect a proper exercise of judicial restraint in
not pre-empting this otherwise legislative task.
97.    For the above-stated reasons, and as its penultimate suggestion, the Court
respectfully, yet firmly, recommends that our Supreme Court adopt and
implement HB 2146 as a matter of state constitutional law as it meets all of the
traditional criteria of the Free and Equal Elections Clause, and does so in
respects even noted by the Governor’s expert, as well as the other
considerations noted by the courts, it compares favorably to all of the other
maps submitted herein, including the 2018 redistricting map, it was drawn by
a non-partisan good government citizen, subjected to the scrutiny of the people
and duly amended, it creates a Democratic leaning map which underscores its
partisan fairness and, otherwise, is a reflection of the “policies and preferences
of the State, as expressed in statutory and constitutional provisions or in the
reapportionment plans proposed by the state legislature.” Perry, 132 S. Ct. at
941. (underlining added) See also Upham, 456 U.S. at 42 (reaffirming that a federal
district court “erred when, in choosing between two possible court-ordered plans, it
failed to choose that plan which most closely approximated the state-proposed plan”
because “[t]he only limits on judicial deference to state apportionment policy [] were
the substantive constitutional and statutory standards to which such state plans are
subject”); Donnelly, 345 F. Supp. at 965 (adopting the legislature’s proposed plan,
explaining that “[t]he legislative adoption of [redistricting plan] tips the scales in
favor of the plan . . . which provides districts essentially as outlined by the legislature


                                           216
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 223 of 228




. . .” and observing that the plan had “the added advantage that it is basically the plan
adopted by the legislature”).


     B. Revised 2022 Primary Election Calendar Recommendations


2022 Pennsylvania Election Schedule
             FF1. Under the current election schedule, Pennsylvania’s 2022 General
Primary Election, which will include the next congressional primary election, is
scheduled for May 17, 2022. See Section 603(a) of the Election Code, 25 P.S.
§2753(a);
ttps://www.dos.pa.gov/VotingElections/CandidatesCommittees/RunningforOffice/
Documents/2022%20Important%20Dates.pdf (last visited Feb. 2, 2022).
             FF2. Under the current election schedule, the first day to circulate and
file nomination petitions is February 15, 2022. See Section 908 of the Election Code,
25                                      P.S.                                     §2868;
https://www.dos.pa.gov/VotingElections/CandidatesCommittees/RunningforOffice
/Documents/2022%20Important%20Dates.pdf (last visited Feb. 2, 2022).
             FF3. Under the current election schedule, the last day to circulate and
file nomination petitions is March 8, 2022. See Section 977 of the Election Code,
25                         P.S.                         §                         2937;
https://www.dos.pa.gov/VotingElections/CandidatesCommittees/RunningforOffice
/Documents/2022%20Important%20Dates.pdf (last visited Feb. 2, 2022).
             FF4. Under the current election schedule, the last day to file objections
to nomination petitions is March 15, 2022. See Section 977 of the Election Code,
25                         P.S.                         §                         2937;


                                          217
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 224 of 228




https://www.dos.pa.gov/VotingElections/CandidatesCommittees/RunningforOffice
/Documents/2022%20Important%20Dates.pdf (last visited Feb. 2, 2022).


1.    Parties’ Positions on Revisions to 2022 General Primary Election
      Calendar
      Senate Democratic Caucus Intervenors
             FF5. The Senate Democratic Caucus Intervenors suggested that the
2022 General Primary Election schedule “is essentially unworkable at this point in
time.” (N.T. at 1025.) They claim “[i]t will disenfranchise millions of Pennsylvania
voters and severely prejudice candidates running for public office if [the schedule]
is not modified by the Pennsylvania Supreme Court.” Id. at 1025. They point to the
fact the Legislative Reapportionment Commission has not yet approved a final
legislative redistricting map, the instant litigation regarding a congressional district
plan, and this Court’s decision in McLinko v. Department of State, __ A.3d __ (Pa.
Cmwlth., No. 244, 293 M.D. 2021, filed Jan. 28, 2022), as further support that the
2022 General Primary Election schedule should be adjusted, including postponing
the primary. (N.T. at 1025-26.)
      House Democratic Caucus Intervenors
             FF6. The House Democratic Caucus Intervenors suggested that the
Court should follow Judge Craig’s decision in Mellow, in which he talked about “the
idea of maintaining a single day for the primary as a paramount consideration in
order [] to avoid confusion of potentially having a primary for congressional and a
primary for everybody else on different timelines with different petitioning
periods[.]” (N.T. at 1042.)
      Congressional Intervenors


                                          218
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 225 of 228




             FF7. The Congressional Intervenors indicated their belief that “there is
absolutely no reason to move the” 2022 General Primary Election calendar, with
respect to the primary itself, as its “premature.” (N.T. at 1055.) However, the
Congressional Intervenors do think that the dates for circulating nomination
petitions, among other dates, should be moved, and have been in the past, citing the
LWV III case from 2018. Id. at 1055-56.
      House Republican Intervenors
             FF8. The House Republican Intervenors “would prefer to [sic] a least
possible change to any election calendar[,]” and they “do not believe changing the
primary date would be appropriate.” (N.T. at 1068.)
      Senate Republican Intervenors
             FF9. The Senate Republican Intervenors take the position that any
changes to the 2022 General Primary Election calendar could be addressed by the
General Assembly, if necessary.      (N.T. at 1077-78.)     The Senate Republican
Intervenors recognized that the Court has changed the dates in the past; however,
“they feel that conditions are such that they must change now because of the legal
posture of this matter.” Id. at 1078. The Senate Republican Intervenors further
believe that “changes should be limited only to what’s absolutely necessary[,]” and
they do not “support a shortening of the petition circulation and signature gathering
window.” Id. The Senate Republican Intervenors otherwise took no specific
position as to this litigation’s effect on the three pertinent dates that exist on the
calendar. Id.


      Respondents




                                         219
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 226 of 228




             FF10. The Acting Secretary of the Commonwealth noted at the hearing
that the election “calendar situation at the moment is --- rather complicated[.]” (N.T.
at 1092-93.) Her counsel also informed that it would not be in the people of the
Commonwealth’s best interest to have two separate primaries. Id. at 1093. As such,
the Acting Secretary thinks “it would be preferable to have three weeks between the
[] time of the final map, and really by final map we mean including the resolution
and the appeal is adopted and the first date in the primary calendar.” She continued,
“if we had to we think we could probably do that in two weeks that in two weeks if
we could transfer resources. And there are other ways in which we could condense
the existing calendar as well.” Id. at 1094-95.
      Governor Wolf
             FF11. Counsel indicated at the hearing that Governor Wolf “feels very
strongly we should not divide the primary and we should end up with a primary date
ultimately that will accommodate both redistricting processes that are currently still
proceeding.” (N.T. at 1096.)
      Gressman Petitioners
             FF12. The Gressman Petitioners indicated that they do not believe
moving the 2022 General Primary Election is necessary at this point. (N.T. at 1106.)
Moreover, the Gressman Petitioners “would defer to the election administrators who
are the professionals in that space, but [they] do recognize that there can be some
compression of the preprimary schedule.” Id.
      Carter Petitioners
             FF13. The Carter Petitioners do not dispute that “the Court has the
authority to change deadlines, including the primary deadline[,]” if necessary. (N.T.




                                         220
      Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 227 of 228




at 1118.) However, the Carter Petitioners did not think it was necessary at the time
of the hearing. Id.
              The Court notes and recommends for adoption by the Supreme Court
the Congressional Intervenors’ proposed revisions to the 2022 General Primary
Election calendar, which suggest February 22, 2022, as the deadline for adopting
and implementing a congressional redistricting plan. Specifically, the Congressional
Intervenors propose that the following dates be changed: (1) the first day to circulate
and file nomination petitions; (2) the last day to circulate and file nomination
petitions; and (3) the last day to file objections to nomination petitions. According
to the Congressional Intervenors, using February 22, 2022, as the deadline by which
the state judiciary must adopt any congressional reapportionment plan, the
Congressional Intervenors assert that it would still be feasible to hold the 2022
General Primary Election on its currently scheduled date of May 17, 2022, which is
a similar course of action the Supreme Court followed in LWV III. The current and
revised election dates appear below:
2.      Current 2022 General Primary Election Schedule
      First day to circulate/file nomination petitions – Tuesday, February 15, 2022
      Last day to circulate and file nomination petitions – Tuesday, March 8, 2022
      Last day to file objections to nomination petitions – Tuesday, March 15, 2022
      2022 General Primary Election – Tuesday, May 17, 2022


3.      Proposed REVISED 2022 General Primary Election Schedule
      First day to circulate/file nomination petitions – Tuesday, March 1, 2022
      Last day to circulate and file nomination petitions – Tuesday, March 15, 2022
      Last day to file objections to nomination petitions – Tuesday, March 22, 2022


                                         221
     Case 1:22-cv-00208-JPW Document 49-9 Filed 02/27/22 Page 228 of 228




    2022 General Primary Election – Tuesday, May 17, 2022


              The Court notes that the first two proposed revised dates, appearing
immediately above, reflect a shift of exactly two weeks from the originally
scheduled deadlines to the proposed revised deadlines. The third proposed revised
date listed immediately above reflects a shift of exactly one week from the originally
scheduled objection deadlines. The Court further notes that the above dates reflect
the exact schedule adopted by the Supreme Court in LWV III, albeit two years later.
              However, in light of the changed circumstances of this litigation
prompted by the Supreme Court’s February 2, 2022 order, granting Petitioners’
Emergency Application for Extraordinary Relief and invoking its extraordinary
jurisdiction, designating the undersigned as a Special Master in this matter and
directing the filing of a Report and Recommendation, and further directing, inter
alia, that oral argument on any exceptions filed to the Special Master’s Report is
scheduled to be held on February 18, 2022, before the Supreme Court, this Court
recognizes that further and/or different changes to the election calendar than those
recommended above may be necessary under the circumstances.49


                                                 s/ Patricia A. McCullough
                                                 PATRICIA A. McCULLOUGH, Judge
                                                 of the Commonwealth Court of
                                                 Pennsylvania Appointed as Special
                                                 Master

       49
           Amicus Participants Voters of the Commonwealth’s Application for Leave to File
Responsive Expert Report, filed on January 26, 2022, is denied. See 1/14/2022 Cmwlth. Ct. Order.
This Court additionally notes that it will not consider the Amici Curiae Brief of NAACP
Philadelphia Branch and Black Clergy of Philadelphia & Vicinity in Support of Senate Democratic
Caucus’ Proposed Redistricting Plan 2, filed on January 31, 2022, which was after the evidentiary
hearing in this matter.
                                              222
